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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
             v.                                 )   17-cr-64-DWF-KMM
                                                )
EDWARD S. ADAMS,                                )
                                                )
                           Defendant.           )
                                                )
                                                )



                     DEFENDANT’S POST-HEARING BRIEF
                    IN SUPPORT OF MOTION TO SUPPRESS

                                   INDEX OF EXHIBITS

Ex. #    Description
         Order Adopting Report and Recommendation of Magistrate Judge, U.S. v. Heppner
         (D. Minn. 2005), No. 05-cr-00094, at 4 n.1 (D. Minn. Nov. 23, 2005), ECF 79
  1
         (Tunheim, J.)

         Order, United States v. Vision Sys. Grp., Inc., No. 4:09-cr-00004-RP-CFB, at 33–41
  2      (S.D. Iowa Mar. 24, 2010), ECF 116

         Government’s Opposition to Michael Cohen’s Motion for a Temporary Restraining
  3      Order, Cohen v. United States, No. 18-mj-03161, ECF 1, (S.D.N.Y. 2018)

         February 2, 2018 Email from AUSA A. Bildtsen to L. Wade, G. Maier re:
  4      documents provided to Investigator Belich

         (intentionally omitted)
  5

  6      January 31, 2009 email transmitted by Inspector Kroells to Investigator Belich




                                           1
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Ex. #    Description
         Excerpts from Relativity log reflecting documents in the “Entirely Unrelated –
         Personal or Family” category (see Maier Supp. Decl. Ex. 2) that were viewed three
  7
         or more times by members of the prosecution team

         Excerpts from Relativity log reflecting documents in the “Entirely Unrelated –
         Non-Apollo Business” category (see Maier Supp. Decl. Ex. 3) that were viewed
  8
         three or more times by members of the prosecution team

         Excerpts from Relativity log reflecting documents in the “Warrants or Bank
         Accounts” category (see Maier Supp. Decl. Ex. 5) that were viewed three or more
  9
         times by members of the prosecution team

         (intentionally omitted)
 10
         February 22, 2018 Email from AUSA D. Maria to L. Wade, G. Maier, cc: AUSA T.
 11      Rank, AUSA J. Kokkinen re: post-hearing discovery

         Excerpt of Mr. Adams’s May 15, 2015 Revised Privilege Log for three
         communications between Mr. Adams and Murry LLC (Doc. IDs 00224269 &
 12
         00224270 (attachment); 00224366; 00224368)

         October 29, 2014 email from E. Adams to P. Murry and A. Miller, attaching Mr.
         Adams’s 2007, 2008, 2009, and 2010 amended tax returns, as well as
 13      correspondence with the Minnesota Department of Revenue (attachments omitted)
         (forwarded by AUSA Maria to Belich)

         January 5, 2018 AUSA M. Bildtsen Emails Transmitting 24 Yahoo! emails that she
 14      could identify as having been used with witnesses

         Excerpt of Relativity log showing Inspector Kroells’s “Update” activity
 15
         Excerpt of Relativity log showing prosecution team’s “Print” activity
 16
         Excerpt of Mr. Adams’s privilege log for Doc. IDs 00210651 and 00210652 (in
 17      camera Ex. A), and corresponding excerpt of Relativity log

         Excerpt of Mr. Adams’s privilege log for Doc. IDs 00219514 and 00219515 (in
 18      camera Ex. J), and corresponding excerpt of Relativity log




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Ex. #   Description
        Excerpt of Mr. Adams’s privilege log for communications with Mr. Hartman (in
 19     camera Ex. U), and corresponding excerpt of Relativity log

        Excerpt of Mr. Adams’s privilege log for draft email to Latham (in camera Ex. D),
 20     and corresponding excerpt of Relativity log

        Excerpt of Mr. Adams’s privilege log for draft analysis for Latham (in camera Ex.
 21     G), and corresponding excerpt of Relativity log

        Excerpt of Mr. Adams’s privilege log for certain Murry LLC documents (in camera
        Exs. M-P, R), and corresponding excerpt of Relativity log for such documents, that
 22
        were viewed or converted after December 6, 2016




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                  EXHIBIT 1
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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                        Criminal No. 05-94 (JRT/FLN)

                              Plaintiff,

v.                                               ORDER ADOPTING REPORT
                                                 AND RECOMMENDATION OF
(1) ANTHONY HEPPNER and                             MAGISTRATE JUDGE
(2) THOMAS ANDERSON,

                           Defendants.



      Frank Magill, Assistant United States Attorney, OFFICE OF THE
      UNITED STATES ATTORNEY, 600 United States Courthouse, 300
      South Fourth Street, Minneapolis, MN 55415, for plaintiff.

      Dean S. Grau, GRAU LAW OFFICE, 80 South Eighth Street, Suite 1919,
      Minneapolis, MN 55402, for defendant Heppner.

      Thomas G. Dunnwald, DUNNWALD & PETERSON PA, 412 South
      Fourth Street, Suite 1150E, Minneapolis, MN 55415, for defendant
      Anderson.


      Defendants are charged with twenty counts of mail fraud, in violation of 18 U.S.C.

§§ 2 and 1341. Defendants jointly move to dismiss the indictment. Following a hearing,

United States Magistrate Judge Franklin L. Noel recommended denying defendants’

motion.    The defendants jointly object to the Magistrate Judge’s Report and

Recommendation dated October 12, 2005. The Court has conducted a de novo review of

defendants’ objections pursuant to 28 U.S.C. § 636(b)(1)(C) and D. Minn. LR 72.2(b),




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and for the reasons set forth below, overrules defendants’ objections and adopts the

Report and Recommendation of the Magistrate Judge.


                                   BACKGROUND

       The Indictment alleges that defendants Heppner and Anderson formed an

investment club called Skyward Group and solicited individuals to become members and

investors. It further alleges that from January 1999 until February 2001, defendants aided

and abetted each other to devise a scheme to defraud and obtain money and property by

means of materially false and fraudulent representations, which defendants knowingly

caused to be sent and delivered by the United States Postal Service mail for the purpose

of executing the scheme.

       On June 20, 2004, Postal Inspector Agnew attempted to serve Anderson with a

subpoena to appear before the Grand Jury. The subpoena requested Anderson to produce

documents referring or relating to various entities, including the Skyward Group. Agnew

met with Anderson at Agnew’s office on July 20, 2004. Anderson claims he brought the

documents with him and offered them to Agnew at that time, but that Agnew refused

them, and Anderson brought the documents back home with him. Agnew denies that

Anderson brought any documents with him, and also states that Anderson informed her

that he would not be producing the documents. Regardless of what happened at that

meeting, it is undisputed that Agne w did not take possession of the documents or review

them at that time.




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       On August 23, 2005, Agnew sought a search warrant for Anderson’s home. At

that time, the trial was scheduled to begin in just over a month – on September 26, 2005.

When Agnew applied for the search warrant, she knew defendants were represented by

counsel, and that the trial had originally been scheduled for September 26, 2005.

Moreover, Agnew acknowledged in her affidavit submitted in support of the warrant

application that she believed that the execution of the warrant so close to trial might

implicate the Sixth Amendment.

       The search warrant was executed on August 24, 2005.                  At that time, and

unbeknownst to Agnew, Anderson and Heppner had scheduled a meeting with their

lawyers for August 26, 2005, to discuss their defense. In preparation for that meeting,

Anderson’s lawyer had told him to gather the documents he believed relevant to the

defense. At the time the documents were seized, Anderson had been in the process of

preparing them at the request of his lawyer.

       The search of Anderson’s home yielded fifteen boxes of documents, which were

seized and removed from Anderson’s home. One of the boxes contained documents that

were determined to be “potentially privileged” by the “tai nt” inspector.1 At a hearing


       1
          Agnew arranged for a “taint team,” led by Postal Inspector Gloria Faust as “taint
reviewer,” to review any confidential or privileged documents uncovered during the execution of
the search warrant to determine whether the document should be seized, and if so, to ensure that
the document was segregated from the non-privileged documents seized. Agnew testified at the
hearing before the Magistrate Judge that Faust received no instruction on how to determine
whether a document was privileged or not, and stated that she herself did not know upon what
basis Faust made any such determination. During the execution, Faust designated one box of
documents as potentially privileged. The record is silent with respect to why Faust believed these
documents were potentially privileged.
                                                                 (Footnote continued on next page.)


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before the Magistrate Judge, Agnew testified that she had not reviewed any of the

potentially privileged documents. Agnew also testified that she began to review the

remaining documents, but that she stopped all review once defendants filed their motion

to dismiss. It is the Court’s understanding that the prosecution is currently in possession

of all the documents seized, except for two documents, which were returned to

defendants by Assistant United States Attorney Cheever.                  (Mem. Opp’n Defs.’

Objections, 5.) At the time of the hearing before the Magistrate Judge, the prosecution

had refused to return the rest of the seized documents to defendants or to provide them

with copies, although it had offered to let defendants inspect the documents.                 The

prosecution has informed the Court that it has now provided defendants with copies of all

the documents. (Id. at 5 n.4.)

       Defendants now object to the Magistrate Judge’s report and recommendation,

arguing that the search of Anderson’s residence and seizure of documents violated



__________________________________
(Footnote continued.)


        The Court shares the Magistrate Judge’s skepticism regarding the prosecution’s
suggestion that use of a “taint reviewer” was adequate to protect defendants’ Sixth Amendment
rights. (October 12, 2005 Report and Recommendation, 11 n.3 (stating that employing a taint
team is “not unlike assigning the fox to guard the henhouse.”) The Court also notes that,
contrary to the prosecution’s assertion in its Memorandum in Opposition to Defendants’ Motion
to Dismiss, the prosecution has failed to identify any case from this District approving the use of
a “taint reviewer,” nor has the Court’s own research uncovered any. Nevertheless, the Court
need not reach the issue of the propriety of a “taint reviewer” today, as defendants have not yet
identified any privileged document reviewed by the prosecution team.




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defendants’ rights under the Fourth, Fifth, and Sixth Amendments, and that the only

remedy for such violations is dismissal of the indictment. The Court disagrees.


                                       ANALYSIS

I.    MOTION TO DISMISS INDICTMENT

      Although they invoke the Fourth, Fifth, and Sixth Amendments, defendants’

primary concern is that they were deprived of documents they intended to use in

preparation of their defense. Notably, defendants do not appear to argue that the warrant

was not supported by probable cause in violation of the Fourth Amendment, or that the

warrant was otherwise invalid.     In addition, defendants do not appear to raise any

argument in support of a Fifth Amendment violation. Rather, defendants argue that the

deprivation of the documents caused them harm by preventing them from preparing their

defense, by permitting the prosecution an unfair “peek” into their legal strategy, and also

by functionally granting the prosecution a “continuance” of the trial, which defendants

would have opposed. These concerns are best analyzed under the Sixth Amendment.

      The Sixth Amendment provides that an accused shall enjoy the right “to have the

Assistance of Counsel for his defense.” This right is meant to assure fairness in the

adversary criminal process. Gideon v. Wainwright, 372 U.S. 335, 344 (1963). To

establish a Sixth Amendment violation, a criminal defendant must show two things: first,

that the government knowingly intruded into the attorney-client relationship; and second,

that the intrusion demonstrably prejudiced the defendant or created a substantial threat of




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prejudice. United States v. Singer, 785 F.2d 228, 234 (8th Cir. 1985); United States v.

Morrison, 449 U.S. 361, 366 (1980).

       Identification of a Sixth Amendment violation alone does not require dismissal of

the indictment. The interests supporting the Sixth Amendment right, meant to assure

fairness in the adversary criminal process, must be reconciled with society’s competing

interest in prosecuting criminal conduct.     Singer, 785 F.2d at 234.      Therefore, the

appropriate remedy for a Sixth Amendment violation is not necessarily dismissal, but

rather a remedy tailored to the injury suffered: “absent demonstrable prejudice, or

substantial threat thereof, dismissal of the indictment is plainly inappropriate, even

though the violation may have been deliberate.” Morrison, 449 U.S. at 365.

       For example, in Morrison, the defendant had retained private counsel to represent

her in a criminal proceeding. Id. at 362. Thereafter, two agents of the Drug Enforcement

Agency, aware that she had been indicted and had retained counsel, sought to obtain her

cooperation in a related investigation. They met and conversed with her without the

knowledge of her counsel. During the conversation the agents disparaged the defendant’s

counsel and indicated that she would receive a stiff jail term if she did not cooperate. The

agents visited the defendant again, but at no time did she agree to cooperate with them,

and she continued to rely upon the services of the attorney whom she had retained. Id. at

362-63. The Supreme Court, assuming arguendo that the defendant’s Sixth Amendment

rights were violated, held that absent a showing of any adverse consequence to the

representation she received or to the proceedings leading to her conviction, dismissal of

the indictment was not appropriate. Id. at 366-67.


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       Similarly, in Singer, the Eighth Circuit upheld a remedy short of dismissal where

the defendant asserted a Sixth Amendment violation. Singer, 785 F.2d at 234-37. In that

case, the prosecution obtained and reviewed privileged defense documents, including

documents from the defense lawyer’s trial strategy file. The District Court determined

that although Singer’s Sixth Amendment rights had been violated, the violation did not

warrant dismissal of the indictment, and instead ordered the prosecution to return the

privileged documents, and prohibited the prosecuting attorney with knowledge of the

privileged documents from participating in retrial of case. On appeal, the Eighth Circuit

upheld the District Court’s order under Morrison, finding that the District Court properly

fashioned a remedy that removed any prejudice to the defendant. Id. at 237.

       Therefore, even if a Sixth Amendment violation occurs, a defendant is not entitled

to dismissal of the indictment if a less drastic remedy can eliminate any potential

prejudice. Morrison, 449 U.S. at 366; Singer, 785 F.2d 228 at 236. Based on the

circumstances of this case, the Court holds that a less drastic remedy can eliminate any

potential prejudice and remedy or avoid any Sixth Amendment violation, and accordingly

dismissal of the indictment is not warranted.

       Here, defendants were deprived of documents they believed were necessary to

prepare their defense one month before trial was initially scheduled to begin.       The

documents seized included documents that defendants intended to review with their

lawyers at a meeting that had been scheduled to occur two days after the execution of the

search warrant, as well as potentially privileged documents.         The seizure of the

documents clearly interfered with counsel’s preparation of the defense. Execution of the


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search warrant so close to trial, which denied counsel the opportunity to review the

documents with their clients in confidence, could potentially prejudice defendants’ rights

to prepare their defense and to a fair trial.

       Although the timing of the seizure before the meeting, as well as the seizure of

potentially privileged documents, clearly implicates defendants’ Sixth Amendment rights,

the Court concludes any potential prejudice resulting from the seizure under these

circumstances may be remedied by the return of the “potentially privileged” documents

without review by the prosecution, and by counsel for defendants now having the

opportunity to review the documents with their clients in confidence. Morrison, 449 U.S.

at 366; Singer, 785 F.2d 228 at 236; Nat’l City Trading Corp., 635 F.2d at 1026.

Accordingly, the Court will order the prosecution to return the “potentially privileged”

documents without review, and to copy the rest of the documents at its own expense and

deliver a complete set of the documents in the order in which they are currently organized

to the defendants. See Fed. R. Crim. P. 16(a)(1)(E); United States v. Freedman, 688 F.2d

1364, 1366 (11 th Cir. 1982) (trial court has considerable discretion regarding discovery

matters under Rule 16, including the discretion to determine which parties should bear

the cost of copying documents). Additionally, the Court notes that if, after having

reviewed the copies of the non-“potentially privileged” documents, defendants believe

that the prosecution has retained documents that are covered by the attorney-client or

work-product privileges, the Court will permit defendants to bring a motion regarding

such documents at that time, as necessary.




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      Defendants’ final objection to the report and recommendation is that the

prosecution’s conduct, in seizing the documents, functionally granted the prosecution a

continuance of the trial, which defendants would have opposed. Even assuming this is

the case, the trial will be “continued” no more than a few months, and defendants do not

allege that this “continuance” caused them any prejudice.


                                        ORDER

      Based on the foregoing, all the records, files, and proceedings herein, the Court

OVERRULES defendants Heppner’s and Anderson’s objections [Docket No. 74] and

ADOPTS the Report and Recommendation [Docket Nos. 71 and 72]. Accordingly, IT

IS HEREBY ORDERED that defendants Heppner’s and Anderson’s Joint Motion to

Dismiss [Docket No. 54] is DENIED.

      IT IS FURTHER ORDERED that, to the extent the prosecution has not already

complied with the Order in the Report and Recommendation, the prosecution must return

those documents it has identified as “potentially privileged” without inspection, and must

copy the remaining documents at its own expense and deliver the copies to the

Defendants in the order in which they are currently organized.




DATED: November 23, 2005                             s/ John R. Tunheim         _
at Minneapolis, Minnesota.                           JOHN R. TUNHEIM
                                                   United States District Judge




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                  EXHIBIT 2
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

                                               *
UNITED STATES OF AMERICA,                      *
                                               *     4:09-cr-00004
       Plaintiff,                              *
                                               *
       v.                                      *
                                               *
CHANDRA MOHAN RAO MANDALAPU,                   *    ORDER
VISWA MOHAN MANDALAPU, and                     *
VISION SYSTEMS GROUPS, INC.,                   *
                                               *
       Defendants.                             *
                                               *

       Before the Court are two Motions filed by the above captioned Defendants (individually

“Defendant” or collectively “Defendants”). The first is a Motion to Dismiss and Strike Portions

of the Second Superseding Indictment, filed on September 21, 2009. Clerk’s No. 81. The

second is a Motion to Suppress, filed on October 16, 2009.1 Clerk’s No. 87. Defendants filed an

accompanying overlength brief in support of the Motion to Suppress on October 19, 2009.

Clerk’s No. 90. The Government filed a Resistance to the Motion to Suppress on January 12,

2010. Clerk’s No. 106. The Government filed a Resistance to the Motion to Dismiss on January

19, 2010. Clerk’s No. 108. The Court held a hearing on the matters on January 20, 2010.

Clerk’s No. 110. Defendants filed a Reply to the Resistance to the Motion to Suppress on

January 25, 2010. Clerk’s No. 114. Defendants also filed a document entitled “Defendants’

Supplemental Statement in Support of Motion to Suppress” on January 27, 2010. Clerk’s No.

115. The matters are fully submitted.


       1
         Defendants’ Motion to Dismiss incorporated, by reference, aspects of their prior
Motions to Dismiss (Clerk’s Nos. 19, 42), as well as the responses and subsequent replies to
those Motions (Clerk’s Nos. 22, 24, 50, 54).
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                       I.   FACTUAL AND PROCEDURAL HISTORY

       According to the Government, Defendant Vision Systems is a New Jersey based

information technology consulting firm that conspired to fraudulently obtain immigration

documents in order to facilitate the entry of alien workers, who would otherwise not be entitled to

enter or remain in the United States. See generally Clerk’s No. 59. The Government also asserts

that Defendant Viswa Mandalapu, the president of Vision Systems, and Defendant Chandra

Mandalapu, an officer in the corporation, participated in this conspiracy through various overt

acts. Id.

       Much of the evidence against Defendants stems from a multi-year investigation by Special

Agent Gustavo Ponce (“Agent Ponce”) of the Department of Homeland Security, Bureau of

Immigration and Customs Enforcement (“ICE”). Tr. at 113. During the course of his

investigation, on February 11, 2009, Agent Ponce led an approximately twenty member team in

searching the New Jersey office of Defendant Vision Systems, pursuant to a search warrant

(“Warrant”). Id. at 110-11, 114. The Warrant authorized the Government to search for and seize

evidence of immigration fraud, money laundering, mail fraud, and wire fraud. Hr’g Ex. 2.

During the execution of the search, Agent Ponce and his team seized the majority of the

company’s paper records, primarily immigration, financial and personnel records, and made

digital copies of nearly, if not all, of the company’s computer hard drives. Tr. at 111, 119, 121.

       Based at least in part upon this evidence, on August 27, 2009, a grand jury returned a

second superceding indictment (“Indictment”) against Defendants, charging them with

committing seventeen crimes. Clerk’s No. 59. The Indictment also provided a notice of

forfeiture. Id. More specifically, Count One generally alleges that Defendants conspired to


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fraudulently obtain immigration documents, namely H1-B visas and/or alien registration receipt

cards, i.e., “green cards,” by making materially false statements to the Government, in violation

of 18 U.S.C. § 371. Counts Two through Nine generally allege that Defendants committed mail

fraud related to this scheme by mailing, via FedEx, documents to the Iowa Department of

Workforce Development that contained material misstatements, in violation of 18 U.S.C. § 1341.

Counts Ten through Twelve further allege Defendants committed mail fraud, in violation of 18

U.S.C. § 1341, by making similar misrepresentations to the United States Citizenship and

Immigration Services (“USCIS”). Counts Thirteen through Seventeen generally allege that

Defendants Viswa Mandalapu and/or Chandra Mandalapu made false statements to the

Government related to the aforementioned scheme, in violation of either 18 U.S.C. § 1001 or §

1546. Finally, Count Eighteen contains a Notice of Forfeiture, pursuant to 18 U.S.C. § 981 and

28 U.S.C. § 2461.

       Defendants now contest nearly every Count contained in the Indictment and challenge the

validity of the Warrant, as well as the manner in which Agent Ponce executed it, in their two

Motions. Defendants request that the Court dismiss the mail fraud charges contained in Counts

Two through Nine because the Government “has not charged a cognizable mail fraud theory.”

Defs.’ Br. in Supp. of Mot. to Dismiss at 5-10. Alternatively, Defendants argue that the Court

should dismiss these Counts because they are “gilded,” that is, they represent the Government’s

attempt to cure a defect in a previous indictment that runs afoul of the Speedy Trial Act. Id. at

10-14. Additionally, Defendants request that the Court dismiss the mail fraud charges contained

in Counts Ten through Twelve because they fail to allege proper venue and fail to allege any

wrongdoing. Id. at 14-18. Defendants also request that the Court dismiss the forfeiture allegation


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in Count Eighteen because it is impermissibly vague and because it is predicated upon the fatally

flawed mail fraud Counts. Id. at 18-19. Moreover, Defendants request that the Court suppress

any evidence of the February 11, 2009 search because the Warrant is fatally overbroad and

insufficiently particular and because Agent Ponce exceeded the scope of the Warrant by failing to

comply with its nominal restrictions. See Defs.’ Br. in Supp. of Mot. to Suppress. The

Government denies all of Defendants’ assertions, arguing that the Indictment and search complied

with all governing laws.

                                    II. LAW AND ANALYSIS

                                       A.    Motion to Dismiss

       The sufficiency of an indictment is a matter of law to be determined by the Court. United

States v. Hance, 501 F.3d 900, 906 (8th Cir. 2007) (quoting United States v. Dolan, 120 F.3d 856,

864 (8th Cir. 1997)). Under Federal Rule of Criminal Procedure 7, an indictment must contain “a

plain, concise, and definite written statement of the essential facts constituting the offense

charged.” In interpreting this provision, the Eighth Circuit has repeatedly held:

       An indictment is legally sufficient on its face if it contains all of the essential elements
       of the offense charged, fairly informs the defendant of the charges against which he
       must defend, and alleges sufficient information to allow a defendant to plead a
       conviction or acquittal as a bar to a subsequent prosecution.

United States v. Carter, 270 F.3d 731, 736 (8th Cir. 2001) (citing United States v. Wessels, 12

F.3d 746, 750 (8th Cir. 1993)). An indictment ordinarily need not contain every fact pertaining to

a charge so long as it states the essential elements of an offense in a manner that provides

adequate notice to a defendant. Hance, 501 F.3d at 906 (“Typically an indictment is not

sufficient only if an essential element of the offense is omitted from it.”) (quoting United States v.

Cuervo, 354 F.3d 969, 985 (8th Cir. 2004)). If an indictment fails to state an offense or is

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defective in some other fashion, a defendant may move to strike all or part of the indictment

under Federal Rule of Criminal Procedure 12(b)(3)(B).

       1.      Mail fraud as alleged in Counts Two through Nine.

       As both parties agreed in the hearing, the Government is pursuing the mail fraud charges

contained in Counts Two through Nine on the theory that Defendants schemed to deprive United

States workers out of two property rights, namely their right to notice provided for in the H1-B

visa regulations and their rights in employment. Tr. at 10-11. Defendants challenge the validity

of the Government’s theory, asserting that the two enumerated rights are not property within the

meaning of 18 U.S.C. § 1341.

       Title 18 U.S.C. § 1341 provides in relevant part: “Whoever, having devised . . . any

scheme or artifice to defraud, or for obtaining money or property by means of false or fraudulent

pretenses, representations or promises [uses the mails in furtherance of the scheme] shall be fined

[or] imprisoned . . . or both.” To establish mail fraud under § 1341, the Government must prove

that a defendant:

       (1) voluntarily and intentionally devised or participated in a scheme to obtain money
       or property by means of false representations or promises, (2) entered into the scheme
       with the intent to defraud, (3) knew it was reasonably foreseeable that the mails would
       be used, and (4) used the mails in furtherance of some essential step in the scheme.

United States v. Kelly, 152 F.3d 881, 887 (8th Cir. 1998) (citation omitted). Since McNally v.

United States, 483 U.S. 350 (1987), the Supreme Court has generally held that this statute is

“‘limited in scope to the protection of property rights.’”2 Cleveland v. United States, 531 U.S. 12,


       2
          The one exception to this general rule stems from Congressional action to overturn the
specific holding in McNally. After McNally, Congress enacted 18 U.S.C. § 1346 in order to
expand the reach of the mail fraud statute to cases involving “the intangible right of honest
services.” United States v. Cleveland, 531 U.S. 12, 19-20 (2000). The Court need not, however,

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18 (2000) (quoting McNally, 483 U.S. at 360). These property rights may be both tangible and

intangible. Carpenter v. United States, 484 U.S. 19, 25-26 (1987) (stating that “McNally did not

limit the scope of § 1341 to tangible as distinguished from intangible property rights” before

holding that “[c]onfidential business information has long been recognized as property”).

Whether the object of the scheme is property within the meaning of § 1341 is determined by

whether it is property in the hands of the victim, not the alleged schemer. Cleveland, 531 U.S. at

26-27 (“We conclude that § 1341 requires the object of the fraud to be ‘property’ in the victim’s

hands . . . .”).

        Under the facts of this case, the Court does not believe that any right to notice that

American workers may possess under the H1-B regulatory scheme is capable of giving rise to a

property interest within the meaning of § 1341. The H1-B visa program was designed to allow

nonimmigrant professionals to enter the United States temporarily for employment in specialty

occupations. See 20 C.F.R. § 655.700.3 In order to obtain an H1-B employee, an employer must

first file a Labor Condition Application with the Department of Labor. 20 C.F.R. § 655.730. As

part of this application process, the employer must provide:

        notice of the filing of the labor condition application to the bargaining representative
        of the employer’s employees in the occupational classification in which the H-1B
        nonimmigrants will be employed or are intended to be employed in the area of



consider whether this case falls within the ambit of the honest services doctrine because the
Government is not pursuing this theory. Tr. at 41 (“As far as the [M]otion to [D]ismiss is
concerned, the Government has tried to be clear from the outset [that] this is not an honest
services case.”).
        3
          Although some of the regulations governing the H1-B visa program have changed
significantly since the alleged inception of this conspiracy in 2003, the underlying substance of
those regulations remain mostly intact. Accordingly, the Court will not delve into the temporal
permutations of the various H1-B regulations because it is not material to its analysis.

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       intended employment, or, if there is no such bargaining representative, [post] notice
       of filing in conspicuous locations in the employer’s establishment(s) in the area of
       intended employment . . . .

20 C.F.R. § 655.734. Even assuming that this provision gives rise to an individual notice right for

American workers, the Court cannot see how this right could constitute a sufficient property

interest within the meaning of the mail fraud statute because it is not excludable, transferable, or

otherwise controllable.4 See Carpenter, 484 U.S. at 26 (“Confidential information acquired or

compiled by a corporation in the course and conduct of its business is a species of property to

which the corporation has the exclusive right and benefit . . . .”); United States v. Henry, 29 F.3d

122, 115 (3d Cir. 1994) (holding that “competing banks’ interest in a fair bidding opportunity

does not meet this test,” in part, because the condition that the bidding process would be fair is

“not a grant of a right of exclusion, which is an important aspect of traditional property”); United

States v. Granberry, 908 F.2d 278, 280 (8th Cir. 1990) (“And the right to control a thing, for

example, money, is an integral part of the property right in the thing itself. When we say that we


       4
           Additionally, the Government’s theory of property is admittedly novel, which mitigates
against a finding of a sufficient interest because the scope of the mail fraud statute is determined
in part by historical concepts of property rights. Pasquantino v. United States, 544 U.S. 349, 356
(2005) (holding that “Canada’s right to uncollected excise taxes” constitutes property under the
similarly construed wire fraud statute, in part, because “[t]he common law of fraud confirms this
characterization of Canada’s right to excise taxes. The right to be paid money has long been
thought to be a species of property.”); Cleveland, 531 U.S. at 23, 24 (rejecting the
Government’s theories of property rights partially because “they stray from traditional concepts
of property”); United States v. Henry, 29 F.3d 112, 155 (3d Cir. 1994) (“Thus, to determine
whether a particular interest is property for purposes of the fraud statutes, we look to whether the
law traditionally has recognized and enforced it as a property right.” (citing United States v.
Evans, 844 F.2d 36, 41 (2d Cir. 1988), for the proposition: “That the right at issue . . . has not
been treated as a property right in other contexts and that there are many basic differences
between it and common-law property are relevant considerations in determining whether the
right is property under the federal fraud statutes.”)); United States v. Granberry, 908 F.2d 278,
280 (8th Cir. 1990) (stating that “the indictment must still allege that the injured party has been
deprived of something that fairly deserves the label of property under traditional usage”).

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own something, one of the things that we mean is that we can determine what to do with it. We

can either keep it or transfer it to someone else. And we can choose those persons to whom we

will transfer it.”); United States v. Doherty, 867 F.2d 47, 60 (1st Cir. 1989) (“Getting jobs by false

pretenses falls within the prohibition of § 1341 because it ‘deprived’ the Commonwealth ‘of

control over how its money was spent.’” (citing McNally, 107 U.S. at 360)). In other words, the

right to H1-B notice lacks all the traditional indicia of property that other courts have found

determinative when analyzing whether something is property within the meaning of the mail

fraud statute. Accordingly, and in light of the Supreme Court’s command to construe any

ambiguity in the definition of property narrowly, the Court holds that notification rights under the

H1-B regulatory scheme are insufficient as a matter of law to constitute property under § 1341.5

Cleveland, 531 U.S. at 25 (“Moreover, to the extent that the word property is ambiguous as

placed in § 1341, we have instructed that ambiguity concerning the ambit of criminal statutes

should be resolved in favor of lenity.” (internal quotations and citations omitted)).

       The Court likewise concludes that the purported right of displaced workers in the

employment that they would have obtained if Defendants had not fraudulently secured

immigration documents for foreign workers does not constitute property within the meaning of §

1341. According to the Government, Defendants secured employment contracts for foreign

workers by depriving United States workers of their aforementioned notice rights, thereby

precluding American workers from applying for and securing those employment contracts. Pl.’s


       5
           The Court’s conclusion is only strengthened by the Government’s failure to provide
any legal authority for its position on H1-B notice rights. Pl.’s Br. in Supp. of its Resistance to
Defs.’ Mot. to Dismiss at 10 (stating without support that “A U.S. workers intangible right to
notice . . . constitute[s] property for purposes of 18 U.S.C. § 1341.”). Indeed, the Government
did not even attempt to analogize H1-B notice rights to any recognized property right.

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Br. in Supp. of its Resistance to Defs.’ Mot. to Dismiss at 13-14. Defendants also allegedly

deprived American workers of employment opportunities not only indirectly by the

aforementioned scheme, but also directly by improperly refusing to hire domestic applicants,

some of whom responded to newspaper ads for employment, in favor of alien workers. Id. at 12.

The Government asserts that this conduct deprived American workers of their property rights

because employment, including lost job opportunities, falls within the definition of property under

Granberry, 908 F.2d 278, and United States v. Sorich, 523 F.3d 702 (7th Cir. 2008). The Court

disagrees.

        In Granberry, the Government charged the defendant with mail fraud for obtaining

employment from a school district as a school bus operator by fraudulently concealing a prior

murder conviction on his job application. 908 F.2d at 279. According to the Government in

Granberry, the school district would not have hired Granberry if it had known about the prior

conviction. Id. The defendant moved to dismiss the indictment for failure to state an offense

under § 1341, and the district court granted the motion, finding no sufficient property interest. Id.

The Eighth Circuit reversed, holding, in part, that “[a]n employment contract is property.” Id. at

280. The Eighth Circuit reasoned that Granberry had deprived the school of money and property

because the school district was entitled to an employee who conformed to its employment

requirements, even though the school district would have paid another, qualified driver the same

amount of money. Id. (“What the School District wanted was a competent school-bus driver who

was truthful and had not been convicted of a felony, and this is not what it got. The School

District has been deprived of money in the very elementary sense that its money has gone to a

person who would not have received it if all of the facts had been known.”).


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        Likewise, in Sorich, the defendants were convicted of mail fraud for participating in a

hiring scheme that “doled out thousands of city civil service jobs [in Chicago] based on political

patronage and nepotism.” 523 F.3d at 705. Defendants appealed the district court’s denial of a

motion to dismiss, arguing, in part, that “since the city would have filled these jobs and paid these

salaries anyway, it has not suffered a loss.” Id. at 713. In other words, the defendants argued that

they did not commit mail fraud because the City of Chicago suffered no monetary or property

loss. The Seventh Circuit rejected this argument, holding that “jobs are property for purposes of

mail fraud” and reasoning that “the city paid for, and was cheated out of, qualified civil servants.”

Id. at 723.

        The Court finds that the Government’s reliance on these cases is misplaced. Both

Granberry and Sorich stand for the well-recognized proposition that employment contracts or

jobs may be property under § 1341. Indeed, Defendants do not seriously contest this proposition.

However, under Cleveland, the mere possibility that employment may be property in some

instances does not necessary establish that it is property in every mail fraud case. In Cleveland,

the Supreme Court narrowed the scope of the mail fraud statute by concluding that “§ 1341

requires the object of the fraud to be ‘property’ in the victim’s hands.” 531 U.S. at 26. It is not

sufficient for the object of the fraud to be property in the schemer’s hands.6 Id. at 25 (“[W]e do

not here question that video poker licensees may have property interests in their licenses.”). In

this case, the Government has identified the alleged victims as displaced American workers,



        6
          In applying this principle, the Supreme Court reversed a defendant’s mail fraud
conviction, finding that although the gambling license at issue was likely property in the hands
of the defendant, it was not property in the hands of the issuing State. Cleveland, 531 U.S. at 25-
26.

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unlike the employers who were the victims in Sorich and Granberry.7 Since the employer in this

case is not an alleged victim and is, in fact, a co-defendant, Sorich and Granberry are

distinguishable because those courts measured whether employment is property from a different

perspective, namely that of the victim governmental entity. Here, the Court is deciding whether

employment contracts are property from the generalized perspective of displaced American

workers, some of whom would have allegedly received employment but for Defendants’ scheme.

The Court does not believe that putative displaced workers have a sufficient property interest

because such individuals never possessed any right to the disputed employment. In other words,

Defendants did not deprive these displaced workers of any interest in employment that is

meaningfully excludable, transferable, or controllable.8 At best, these displaced American


       7
          Importantly, the Government did not identify as victims the third-party employers who
provided employment contracts to Defendants. Pl.’s Br. in Supp. of its Resistance to Defs.’ Mot.
to Dismiss at 12-14. Likewise, the Government never alleged that any United States workers
were deprived of rights, including a right to compete, provided for in a collective bargaining
agreement or similar contractual arrangement. See United States v. Douglas, 398 F.3d 407, 417-
18 (6th Cir. 2005) (“The right to compete guaranteed by the collective bargaining agreement in
this case is sufficient to constitute property for purposes of the mail fraud statute.”).
       8
          While not directly dispositive of this issue, the Court’s conclusion draws strength from
a recent unpublished decision by the Federal Circuit holding that an individual, who claimed to
have been improperly terminated or rejected in favor of “H1-B aliens,” did not have “a property
right in employment at any of the accused employers.” Watson v. United States, No. 2007-5051,
2007 WL 1655231, at *3 (Fed. Cir. June 6, 2007). In coming to this conclusion, the court stated:

       Regarding Mr. Watson’s takings claim, the trial court noted that the Fifth
       Amendment requires a plaintiff to possess a private property interest. See, e.g.,
       American Pelagic Fishing Co. v. United States, 379 F.3d 1363 (Fed. Cir. 2004). To
       present a compensable claim, a property interest must include attributes such as the
       ability to exclude others from the use or enjoyment of that property. Members of the
       Peanut Quota Holders Ass’n v. United States, 421 F.3d 1323 (Fed. Cir. 2005). The
       trial court found no evidence of such a private property interest. Indeed, Mr.
       Watson’s only argument on appeal is that the failure of [the] alien labor certification
       officer to adjudicate his claim constitutes a taking. Mr. Watson, however, never had

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workers had prospective employment, i.e., a job opportunity, which is an insufficient “property”

interest under §1341 for the same reasons. Accordingly, the Court holds that the Government’s

alternative displaced worker theory is not cognizable under the law.9 Therefore, the Court must

dismiss Counts Two through Nine.10

       2.       Mail Fraud as alleged in Counts Ten through Twelve.

       Defendants next challenge the validity of Counts Ten through Twelve of the Indictment,

asserting that the Indictment fails to allege proper venue and fails to adequately state a mail fraud

offense. More specifically, Defendants first argue that these Counts are fatally flawed because

“they contain no allegation supporting venue in the Southern District of Iowa.” Br. in Supp. of

Mot. to Dismiss at 15. Alternatively, Defendants argue that these Counts fail to state an offense

because they omit an essential element, namely the allegation that Defendants fraudulently under-


       a property right in employment at any of the accused employers. Stone v. Fed.
       Deposit Ins. Corp., 179 F.3d 1368, 1374 (Fed. Cir. 1999) (observing the federal
       constitution provides property rights protection for public, not private employment).
       Thus, the decision of the certification officer not to investigate the accused
       employers could not have deprived Mr. Watson of a property right.

Id. In accordance with this reasoning, the Court cannot see how the Government can predicate a
mail fraud theory upon a displaced worker’s purported right to employment when that individual
has no cognizable right in that employment.
       9
         The Government seemingly offered several other alterative theories of property,
including a purported collective American right in controlling employment and deprivation of
“other meaningful rights.” Tr. at 41; Pl.’s Br. in Supp. of its Resistance to Defs.’ Mot. to
Dismiss at 12. The Court will not, however, address these theories for two reasons. First, the
Government agreed with Defendants at the outset of the hearing on these matters that it was
proceeding under the theories discussed by the Court. Second, it is not the Court’s role to sift
through the Government’s filings in order to determine which theories it is currently pursuing. If
the Government wishes to advance any of these alternative theories, it must do so unequivocally,
with supporting reasoning and appropriate legal citations and with enough forewarning that
Defendants have an opportunity to respond.
       10
            The Court notes that its decision renders moot Defendants’ gilding arguments.

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represented the number of employees the company had in order to pay a reduced filing fee for the

immigration documents.11 Id. at 17-18. In response, the Government argues that the Indictment

alleges venue because it contains the statement “in the Southern District of Iowa.” Pl.’s Br. in

Supp. of its Resistance to Defs.’ Mot. to Dismiss at 3. The Government further argues it can

substantiate this claim of venue at trial. Id. Moreover, the Government argues that the

Indictment is sufficient because it implicitly alleges that Defendants erroneously understated the

number of employees. Id. at 4.

       a. The adequacy of the venue allegations.

       The Court believes that the Indictment sufficiently alleges proper venue. “Both Rule 18

of the Federal Rules of Criminal Procedure and the Constitution require that a person be tried for

an offense where that offense is committed.” United States v. Cabrales, 524 U.S. 1, 5 (1998).

Proof of venue is, thus, an element of every federal offense that the Government must allege and

prove, although it can be waived.12 United States v. Netz, 758 F.2d 1308, 1312 (8th Cir. 1985)

(“Proof of venue is an essential element of the Government’s case. It may be established either

by direct or circumstantial evidence.” (internal quotations and citations omitted)). “An




       11
           The Court notes that Defendants’ argument in this regard is much more nuanced than
their arguments concerning Counts Two through Nine. In Counts Two through Nine,
Defendants were asserting that the Government was proceeding under flawed theory of mail
fraud, whereas here, Defendants are merely asserting that the Government failed to properly
allege a cognizable mail fraud theory. Accordingly, the Court’s analysis turns on whether the
Indictment provided sufficient notice and not whether the governmental filing fees that give rise
to Counts Ten through Twelve can constitute property.
       12
          However, “[u]nlike the other elements of a crime which must be proved beyond a
reasonable doubt, venue need only be proved by a preponderance of the evidence, in the light
most favorable to the government.” United States v. Delgado, 914 F.2d 1062, 1064 (8th Cir.
1990) (citations omitted).

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indictment alleges proper venue when it alleges facts which, if proven, would sustain venue.”

United States v. Bohle, 445 F.2d 54, 59 (7th Cir. 1971), overruled on other grounds by United

States v. Lawnson, 653 F.2d 299 (7th Cir. 1981). If an indictment fails to allege sufficient facts,

the Defendant must raise the issue or risk waiving it, and the Court has the authority to dismiss

any count that suffers from a defect in venue. Id.; see also United States v. Black Cloud, 590 F.2d

270, 272 (8th Cir. 1979) (“Where lack of proper venue is apparent on the face of an indictment,

venue objections are waived if not made prior to trial.”). In mail fraud cases under § 1341, venue

is proper in either the district in which the letter at issue was mailed or received. United States v.

McGregor, 503 F.2d 1167, 1170 (8th Cir. 1974) (“The Supreme Court and other circuits have

accordingly held that the government may elect to bring [a mail fraud] prosecution in the district

where the letter was mailed or where it was delivered.” (citations omitted)).

       In this case, the Indictment, with respect to Counts Ten through Twelve, alleges that “in

the Southern District of Iowa” the Defendants did “cause to be sent” fraudulent immigration

documents, namely Form I-129s containing material misrepresentations, to processing centers in

Nebraska, Vermont, and California. Clerk’s No. 59 at 35, 42. As a preliminary matter, the Court

finds that these allegations, if proven, can satisfy the venue element for mail fraud under the test

affirmed in McGregor because the Indictment alleges that Defendants sent fraudulent documents

from the Southern District of Iowa. The Court further finds that the Indictment provides

sufficient notice to the Defendants because it states the theory under which the Government will

seek to satisfy the venue element for each offense. Defendants’ argument, that “[c]ounts ten

through twelve nowhere allege that Defendants mailed anything to or from the Southern District




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of Iowa,” is without merit.13 Br. in Supp. of Mot. to Dismiss at 16. Moreover, Defendants’

insistence that the “boilerplate phrase” “in the Southern District of Iowa” is insufficient to allege

venue is also unavailing because the Government is not obliged to allege every fact giving rise to

venue in the Indictment and because this Indictment alleges proper venue and asserts the theory

of venue such that Defendants have adequate notice. Hance, 501 F.3d at 906 (“Typically an

indictment is not sufficient only if an essential element of the offense is omitted from it.”)

(quoting Cuervo, 354 F.3d at 985). Accordingly, the Court finds that the Indictment alleges

proper venue.

       b. The adequacy of the mail fraud allegations.

       The Court also finds that Counts Ten through Twelve allege all the essential elements of

mail fraud and, thus, are cognizable offenses. As stated earlier:

       An indictment is legally sufficient on its face if it contains all of the essential elements
       of the offense charged, fairly informs the defendant of the charges against which he
       must defend, and alleges sufficient information to allow a defendant to plead a
       conviction or acquittal as a bar to a subsequent prosecution.

Carter, 270 F.3d at 736 (citing Wessels, 12 F.3d at 750). In this case, the manner and means

section for Counts Ten through Twelve states, in part, that Defendants:

       caused to be filed Forms I-129 on behalf of Vision Systems Group, Venturisoft Inc.
       and Axiom System Inc. claiming 25 or fewer full-time equivalent employees in order
       to pay a reduced filing fee of $750, as opposed to a filing fee of $1,500 for employers
       with more than 25 full-time equivalent employees.

Clerk’s No. 59 at 32. The Indictment later states in Counts Ten through Twelve that Defendants,

“representing themselves to be agents of Venturisoft Inc.,” sent immigration documents to the


       13
           Defendants’ reliance on United States v. Ramirez, 420 F.3d 134, 143-48 (2d Cir. 2005)
is likewise without merit because, unlike the facts of that case, the Government is prosecuting
Defendants in the district in which they allegedly mailed the fraudulent documents.

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Government indicating “the current number of Venturisoft employees was” “15”, “18,” or “23,”

depending upon the Count. Id. at 45. As the Government concedes, these provisions do not

explicitly state that Defendants committed mail fraud by fraudulently under-representing the

number of employees at a shell company, Venturisoft, in order to pay a reduced filing fee under 8

U.S.C. § 1184(c)(9). However, the Court believes that these excerpts provide a strong

implication of this both because they state Defendants were acting through another entity, and

because there would be no reason to focus on the twenty five employee threshold except to allege

fraudulent under-representation.

       The Court recognizes, though, that the Indictment’s remaining language somewhat

obscures the force of this implication. First, the lengthy Indictment contains explicit allegations

of wrongdoing in other, similar provisions, which weakens the reasonableness of relying on any

implication contained in the allegations. For example, the Indictment also alleges that various

immigration documents contained “false representations as to the work locations for the

nonimmigrant worker” and that other documents “contained representations as to the prevailing

wage for the location in Iowa, rather than the prevailing wage where the worker would actually be

employed.” Clerk’s No. 59 at 32, 34. Second, the Indictment contains numerous statements that,

at most, provide trivial background information regarding the alleged crimes, which again reduces

the reasonableness of relying on any implication because of the difficulty associated with sifting

out seemingly peripheral allegations.14 For example, the Indictment in the same manner and


       14
           The Court’s concern is only heightened by the asymmetry between the two provisions
at issue. The manner and means excerpt refers to Defendant Vision Systems, Venturisoft, and
Axiom filing documents claiming 25 or fewer employees, while Counts Ten through Twelve
only reference Venturisoft filings. Clerk’s No. 59 at 32, 42. This disjuncture increases the
difficulty in determining what crime the Indictment is actually alleging. In fact, the disjuncture

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means section also alleges that Defendant Vision Systems used fraudulent immigration

documents to obtain green cards more quickly in an effort to attract foreign workers, even though,

by the Government’s own account, no mail fraud theory is predicated upon this allegation. Id. at

32; Tr. at 10. Nevertheless, the Court cannot ignore the strong inference created by the cited

excerpts and, thus, finds Counts Ten through Twelve of the Indictment minimally adequate to

meet the low viability threshold because those Counts sufficiently allege, albeit indirectly, all the

elements of mail fraud and provide adequate notice regarding those charges. See United States v.

Sewell, 513 F.3d 820, 821 (8th Cir. 2008) (“An indictment will ordinarily be held sufficient

unless it is so defective that it cannot be said, by any reasonable construction, to charge the

offense for which the defendant was convicted.” (internal quotation and citations omitted)).

       3.      The forfeiture Count.

       Defendants next contest the forfeiture allegation contained in Count Eighteen. Count

Eighteen states, in relevant part: “Upon conviction of any of the offenses . . . set forth in Counts 1

through 12 of this Superseding Indictment, the Defendant shall forfeit to the United States . . . any

property, real or personal, which constitutes or is derived from proceeds traceable to the offense.”

Clerk’s No. 59 at 45 (emphasis added). Defendants assert that this allegation is fatally defective

because it fails to specify which of the three Defendants are subject to forfeiture. Defs.’ Br. in

Supp. of Mot. to Dismiss at 18-19 (“The Defendants cannot discern which of them are ‘the

Defendant’ referenced in count eighteen.”). The Government resists this argument, claiming



appears to have even misled the Government because, in its pleadings relating to Counts Ten
through Twelve, it argues that the “evidence . . . at trial will demonstrate that [the Government]
was defrauded of . . . at least $183,000 due to Axiom System Inc. filings.” Pl.’s Br. in Supp. of
its Resistance to Defs.’ Mot. to Dismiss at 4-5. Such evidence, however, is likely irrelevant
because Counts Ten through Twelve expressly rely only on the Venturisoft filings.

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without citation to any legal authority: “Because all three defendants are included in Counts One

through Twelve, the defendants are on notice that Count Eighteen applies to all three defendants.

Count Eighteen is not fatally vague.” Pl.’s Br. in Supp. of its Resistance to Defs.’ Mot. to

Dismiss at 5.

       The Court finds that Count Eighteen is fatally vague because it fails to specify which

Defendant is subject to forfeiture. According to Federal Rule of Criminal Procedure 32.2(a): “A

court must not enter a judgment of forfeiture in a criminal proceeding unless the indictment or

information contains notice to the defendant that the government will seek the forfeiture of

property as part of any sentence in accordance with the applicable statute.”15 “The ‘essential

purpose’ of notice is to inform the defendant that the government seeks forfeiture so the

defendant can marshal evidence in his defense.” United States v. Silvious, 512 F.3d 364, 370 (7th

Cir. 2008) (citations omitted). In this case, the Court does not believe the Government provided

any of the Defendants with adequate notice. First, the notice of forfeiture failed to identify any

Defendant by name. Second, the notice of forfeiture only states that the property of the

“Defendant” is subject to forfeiture, despite the fact that there are multiple Defendants. While

this may seem like a technicality, the Court views identifying the subject of a forfeiture allegation

as elemental to the viability of the forfeiture because a defendant needs to know, with some

certainty, whether or not his property is subject to forfeiture so that he has the opportunity to

mount a defense. The Government’s argument that all Defendants possess adequate notice



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           During the initial pendency of the Indictment, a provision of Rule 7(c)(2) was still in
effect and provided for substantially similar protections, as the language was virtually identical
to Rule 32.2(a). Although there is no substantive difference, the Court is conducting its analysis
under Rule 32.2(a).

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because they are expressly named in Counts One through Twelve, which are referenced in the

forfeiture allegation, belies the express language of the forfeiture allegation, as it only identifies a

singular Defendant. While the Court may occasionally look past the express language of an

indictment to its substance, the Court cannot simply override the express language of the

Indictment in these circumstances. The Court is also unaware of how any form of de facto notice

can fix such an elemental problem. Accordingly, the Court strikes the forfeiture allegation

contained in Count Eighteen.16

                                       B.   Motion to Suppress

       The Fourth Amendment guarantees “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const., amend IV.

It also mandates that “no Warrants shall issue, but upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the persons or things to be

seized.” Id. “It is well settled under the Fourth and Fourteenth Amendments that a search

conducted without a warrant issued upon probable cause is per se unreasonable . . . subject only

to a few specifically established and well-delineated exceptions.” Schneckloth v. Bustamonte,

412 U.S. 218, 219 (1973) (internal quotations and citations omitted).

       In their Motion to Suppress, Defendants assert that Agent Ponce’s February 11, 2009

search was unreasonable because the Warrant authorized the Government to search and seize

some items without probable cause. Defs.’ Br. in Supp. of Mot. to Suppress at 7. In other words,

Defendants claim that the Warrant is overly broad. Id. (“Because the Warrant’s list of items to

be seized includes records far removed from any probable cause established by the Ponce


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            The Court notes that its decision moots Defendants’ alternative forfeiture argument.

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Affidavit, the Warrant was overbroad.”). Defendants also argue that Agent Ponce’s search was

unreasonable because the Warrant failed to specify, with particularity, what items could be

searched and seized, thereby allowing the Government to rummage through their property for

evidence of criminality. Id. at 18-21; Defs.’ Reply in Supp. of Mot. to Suppress. at 8 (“As set

forth in the Opening Brief, because the Search Warrant authorized the executing agents to seize

virtually every paper or electronic file relating to Vision Systems’ business operations, it is a

constitutionally prohibited general warrant.”). Finally, Defendants assert that Agent Ponce’s

search was unreasonable because he disregarded the limitations in the Warrant, which turned it

into an unreasonable, warrantless search and seizure. Defs.’ Br. in Supp. of Mot. to Suppress at

21-28. More specifically, Defendants claim that the Government flagrantly disregarded the terms

of the Warrant by indiscriminately seizing documents and by failing to follow the protocols

relating to the handling of the seized digital information.17 Id. The Government denies each of

Defendants’ claims.

       1.      The scope of the Warrant.

       A search warrant must be supported by a showing of probable cause to be valid under the

Fourth Amendment. See Illinois v. Gates, 462 U.S. 213, 238-39 (1983). The Government must

make this showing as to each place to be searched and each item to be seized. United States v.

Christine, 687 F.2d 749, 753 (3d Cir. 1982) (“The Fourth Amendment dictates that a magistrate


       17
          Defendants make two additional arguments in the footnotes of their briefs relating to
whether Exhibit A, which described the place to be searched, was properly attached to the
Warrant and whether the Government properly returned the executed Warrant to the issuing
Magistrate. Defs.’ Br in Supp. of Mot. to Suppress at 22 n.14; Defs.’ Reply in Supp. of Mot. to
Suppress at 11 n.9. Based upon the record made at the hearing and the underlying filings, the
Court is unsure if Defendants still wish to pursue these arguments. Accordingly, the Court will
not address them unless Defendants file an appropriate motion directly addressing these issues.

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may not issue a warrant authorizing a search and seizure which exceeds the ambit of the probable

cause showing made to him.”).18 “Probable cause exists to support the issuance of a search

warrant if, based on a totality of the circumstances, ‘there is a fair probability that contraband or

evidence of a crime will be found in a particular place.’” Sherwood v. Mulvihill, 113 F.3d 396,

401 (3d Cir. 1997) (quoting Illinois v. Gates, 462 U.S. at 238). When reviewing a magistrate

judge’s determination of probable cause, the Court must give deference to the magistrate’s

determination because “the duty of a reviewing court is simply to ensure that the magistrate had a

substantial basis for concluding that probable cause existed.” Gates, 462 U.S. at 238 (internal

quotations and citations omitted). If a warrant “authorizes the seizure of items as to which there

is no probable cause,” then the warrant is defective for being “overly broad.” Ninety-Two

Thousand Four Hundred Twenty-Two Dollars and Fifty-Seven Cents, 307 F.3d 137, 149 (3d Cir.

2002) (citations omitted). Finally, even if a warrant is defectively overbroad, any evidence the

Government obtains under the warrant may, nevertheless, be admissible under the good faith

doctrine. Id. at 149 (“Evidence seized pursuant to an overly broad warrant need not be

suppressed if the good faith exception applies.”).

       The Court believes that Agent Ponce’s Affidavit (“Affidavit”) provides adequate support


       18
           Over the objections of the Government, Defendants assert that the Court must apply
Third Circuit law, instead of Eighth Circuit law, because the search warrant was issued by a
district court in the Third Circuit. Defs.’ Br. in Supp. of Mot. to Suppress at 5 n.5 (citing United
States v. Restrepo, 890 F. Supp. 180, 191 (E.D.N.Y. 1995), and United States v. Gerena, 667
F.Supp. 911, 926-27 (D. Conn. 1987)). The Court assumes, without deciding, that Third Circuit
law applies to Agent Ponce’s search because the Court agrees, in principle, with the concept that
the validity of a search warrant should be measured by the governing laws of the issuing
jurisdiction. To hold otherwise would risk the integrity of the federal courts because the validity
of a search might then rest solely upon the district of prosecution. See Gerena, 667 F. Supp. at
926-27. The Court notes, however, that this dispute is purely academic given the similarity
between the standards of both Circuits and the Court’s analysis in this case.

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for the Warrant. His Affidavit states that “Defendant Viswa Mandalapu and Chandra Mandalapu

are brothers and the president and the senior vice-president of [Defendant] Vision Systems,

respectively.” Aff. ¶ 18. The Affidavit further states that “Vision Systems’ employee base

consists primarily of aliens.” Id. ¶ 22. The Affidavit also indicates that Vision Systems

established what would appear to be a fully functioning office in Coon Rapids, Iowa. Id. ¶¶ 38

(“Vision Systems calls the Coon Rapids location their ‘Regional Office and Development Center’

on their website.”); 41 (“The mail [received at the Coon Rapid’s location] is then placed into an

express mail package and forwarded to the Vision Systems office in New Jersey by the landlord’s

secretary. As previously indicated, the records obtained from Coon Rapids Municipal Utilities

also show that telephone calls are automatically forwarded to the New Jersey Office.”). The

Affidavit additionally states: “From 2003 to 2007, Vision Systems submitted approximately 56

Form 1-129s to [the Government] reporting that the alien beneficiary of each would work in

Iowa.” Id. ¶ 55. Moreover, the Affidavit states: “From December 2004 to July 2008, Vision

Systems caused to be sent . . . a quarterly Employer’s Contribution and Payroll Report to the Iowa

Workforce Development in Des Moines, Iowa claiming to employ an average of 8 workers in

Iowa each quarter between January 2004 and June 2008.” Id. ¶ 61.

       The Affidavit then indicates that the Coon Rapids office is a shell office and that no

Vision System employees work in Iowa. Id. ¶¶ 40 (“Surveillance by agents at the Coon Rapids

location has shown no employees working at the location.”); 41 (“Questioning of persons that

work in the reception area for the Coon Rapids building owner reveal that no Vision Systems

employee has ever actually worked in Coon Rapids.”). In addition, the Affidavit indicates that

Defendant Vision Systems did not even have authority to conduct business in Iowa during part of


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the time it claimed to have Iowa employees. Id. ¶ 36 (“On or about August 7, 2006, the Iowa

Secretary of State revoked Vision Systems’ corporate Certificate of Authority. . . . As a result of

this revocation, Vision Systems was not authorized to do business in the State of Iowa.”).

Moreover, the Affidavit details three specific examples of when Defendant Vision Systems

claimed that an employee worked in Iowa, despite the fact that the employee possessed an out of

state driver’s licence. Id. ¶¶ 63-77. The Affidavit also indicates the extensive scope of this

suspected immigration scheme. First, the Affidavit indicates that a large portion of Defendant

Vision Systems’ revenue was likely derived from the scheme. Id. ¶ 48 (“An initial analysis by

agents of Vision Systems’ financial records has revealed that approximately 50% of Vision

Systems’ monthly income is from payments received from third party companies, the majority of

which are either other IT companies or staffing companies that appear to be hiring Vision

Systems’ employees in violation of the terms of the H1B [sic] visa. The staffing companies

appear to be subcontracting Vision System’s employees to the actual clients.”).19 Second, the

Affidavit creates a strong inference that Defendants have been hiding their ill-gotten gains

through transfers to related corporations, including Venturisoft, or perhaps even overseas. Id. ¶¶

14-18, 46, 47, 53.

       Although the Court could distill additional incriminating statements from the Affidavit,

the Court firmly believes that the foregoing statements provide a substantial basis for the



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          Defendants challenge the propriety of relying on paragraph 48 of the Affidavit,
arguing that it contains “unsubstantiated allegations and statements of Special Agent Ponce’s
‘opinion’ that Vision Systems and Viswa engaged in criminal wrongdoing.” Defs.’ Br. in Supp.
of Mot. to Suppress at 8. The Court disagrees because Agent Ponce states the basis for his
conclusion, namely the “analysis.” While thin, the Court does not believe Agent Ponce was
required to elaborate further on this point for the magistrate to rely upon it.

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magistrate’s finding of probable cause. The magistrate found that probable cause existed to

believe that Defendants were involved in: immigration fraud, in violation of 18 U.S.C. § 1546;

money laundering, in violation of 18 U.S.C. § 1956; mail fraud, in violation of 18 U.S.C. § 1341;

wire fraud in violation of 18 U.S.C. § 1343; and conspiracy to commit immigration fraud and

money laundering, in violation of 18 U.S.C. § 371. Hr’g Ex. 2 at 1. The Affidavit supports the

magistrate’s conclusions because the previous excerpts indicate that Defendants were

systematically filing fraudulent immigration documents, routinely employing foreign workers in

violation of their visas, funneling money into other entities or out of the country in an effort to

avoid detection, and conspiring to do so.20 Moreover, the probable cause arising from these

statements justifies the expansive list of documents to be searched and seized in the Warrant

because of the complexity of the scheme, the extent to which the scheme had infected Defendant

Vision Systems’ operations, and the distribution of the criminal proceeds through the company

and Defendants Viswa and Chandra Mandalaupu’s finances, as well as that of the related

companies. United States v. Am. Investors of Pittsburgh, Inc., 879 F.2d 1087, 1106 (3d Cir.

1989) (“The fact that the warrant authorized a search for a large amount of documents and records

does not necessarily render the search invalid so long as there exists a sufficient nexus between

the evidence to be seized and the alleged offenses.”). While the Court would have preferred a

more confined search, it cannot conclude that there was no substantial basis to believe that

probable cause existed to search and seize any of the items articulated in the Warrant.



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           The Court’s conspiracy conclusion primarily stems from Defendants Chandra and
Viswa Mandalapus’ positions within Defendant Vision Systems, as well as their connections to
the related companies, mostly Venturisoft, which engaged in large transactions with Defendant
Vision Systems.

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       Defendants’ arguments to the contrary are unpersuasive mostly in light of the deferential

review standard. First, Defendants argue that the Affidavit is defective because it improperly

relies on Agent Ponce’s unsubstantiated opinion. Defs.’ Br. in Supp. of Mot. to Suppress at 8.

However, the Court’s analysis does not rest upon Agent Ponce’s opinions, even though some of

his opinions appear sufficiently substantiated. Second, Defendants argue that the Affidavit is

defective once the irrelevant sections, namely those relating to background information or failing

to allege an impropriety, are discarded. Id. However, the Court finds these provisions relevant

because they provide the context for the Government’s subsequent allegations of wrongdoing and

help to establish the alleged conspiracy in this case. Third, Defendants assert that the probable

cause was insufficient to justify the search and seizure of such a large volume of business and

personal documents, including financial records.21 Id. at 10-18. However, while the scope of the

Warrant was admittedly broad, the Court does not believe the scope was impermissibly broad

because even the more questionable categories of documents identified by the Warrant are

supported by probable cause, at least under the deferential review standard. Moreover, even

assuming no probable cause existed, the good faith exception would apply with full force to any

potential defect in this aspect of the Warrant because the Warrant is not so lacking in probable

cause that a reasonable officer would have known it was defective. Accordingly, the Court holds

that the Warrant was not defective for being overly broad.

       2.      The particularity of the Warrant.

       “The Fourth Amendment provides that warrants must ‘particularly describ[e] the place to



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         The Court notes that Defendants identified 34 separate categories of documents within
the Warrant. Defs.’ Br. in Supp. of Mot. to Suppress at 10.

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be searched and the persons or things to be seized.’” United States v. Yusuf, 461 F.3d 374, 393

(3d Cir. 2006) (quoting U.S. Const., amend. IV). This particularity requirements “makes general

searches . . . impossible and prevents the seizure of one thing under a warrant describing another.

As to what is to be taken, nothing is left to the discretion of the officer executing the warrant.”

Marron v. United States, 275 U.S. 192, 196 (1927). In other words, the Fourth Amendment

proscribes a general warrant, that is, a warrant that “essentially authorize[s] ‘a general exploratory

rummaging in a person’s belongings.’”22 Yusuf, 461 U.S. at 467 (quoting Coolidge v. New

Hampshire, 403 U.S. 443, 467 (1971)). Whether a warrant is sufficiently particular is a case-

specific determination that will turn on the circumstances at hand. Am. Investors of Pittsburgh,

879 F.2d at 1106 (“Here, given the range of information required to unravel the laundering

scheme and the extent of participation by the parties, the warrant was as specific as circumstances

would allow, however broad the requirements of the search might be. We cannot see how any

more precise language in the affidavit could have limited the scope of the search authorized by

the magistrate, despite the fact that the language of the warrant was broader than that of the

affidavit.”); see also Yusuf, 461 F.3d at 395. Previously, courts have found the following

language in warrants to be impermissibly vague:


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          In drawing a distinction between an overbreath challenge and a particularity challenge,
the Yusuf court noted:

       There is a legal distinction between a general warrant, which is invalid because it
       vests the executing officers with unbridled discretion to conduct an exploratory
       rummaging through the defendant’s papers in search of criminal evidence, and an
       overly broad warrant, which describes in both specific and inclusive general terms
       what is to be seized, but authorizes the seizure of items as to which there is no
       probable cause.

461 F.3d at 393 n.19 (internal quotations and citations omitted).

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       (1) evidence of “smuggled goods,” Boyd v. United States, 116 U.S. 616 [] (1886); (2)
       evidence of “obscene materials,” Marcus v. Search Warrant, 367 U.S. 717 [] (1961);
       (3) evidence of “books, records, pamphlets, cards, lists, memoranda, pictures,
       recordings, and other written instruments concerning the Communist Party of Texas,”
       Stanford v. Texas, 379 U.S. 476 [] (1965); (4) evidence of “illegally obtained films,”
       United States v. Cook, 657 F.2d 730 (5th Cir. 1981); and (5) evidence of “stolen
       property,” United States v. Giresi, 488 F. Supp. 445 (D.N.J. 1980), aff’d, 642 F.2d
       444 (3d Cir. 1981).

Yusuf, 461 F.3d at 393.

       In this case, the Court believes the Warrant is sufficiently particular given the complexity

and extent of the suspected immigration scheme. The Warrant, as set forth in Attachment B,

authorized the Government to review virtually all of Defendants’ business and personal records,

thereby making this an admittedly broad warrant without much specificity. However, as

discussed supra, the Affidavit indicates that the suspected scheme was complex and that any

evidence pertaining to it would be disbursed throughout the company’s records, whether it be in

the employee personnel records, the company’s financial documents, or the Defendants’

correspondence, both internally and externally with other private and public entities. Indeed, the

Affidavit contained allegations that a significant portion of Vision Systems’ revenue stemmed

from this scheme and, accordingly, most company records would seemingly contain evidence of

the scheme.23 Aff. ¶ 48 (“An initial analysis by agents of Vision Systems’ financial records has



       23
           The Court’s conclusion draws strength from the Eighth Circuit’s decision in United
States v. Kail, where the Circuit held that systemic fraud throughout a business will lower the
particularity requirement for a search warrant. 804 F.2d 441, 445 (8th Cir. 1986) (“While the
search warrant in this case was broad in the sense that it allowed inspectors to seize almost all of
the business records of Coin & Stamp Gallery, we would conclude that under the particular facts
of this case the scope of the warrant was justified. This is because it would not be possible
through a more particular description to separate those business records that would be evidence
of fraud from those that would not since there was probable cause to believe that fraud
permeated the entire business operation.”).

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revealed that approximately 50% of Vision Systems’ monthly income is from payments received

from third party companies, the majority of which are either other IT companies or staffing

companies that appear to be hiring Vision Systems’ employees in violation of the terms of the

H1B [sic] visa.”). Moreover, the Affidavit indicated that the non-corporate Defendants, by virtue

of their positions in Defendant Vision Systems, involvement in related companies, and overseas

banking, would likely have evidence of at least the suspected money laundering scheme disbursed

throughout their personals records, including financial records and communication documents.

Consequently, the Court does not believe it was practicable for the magistrate to refine the

categories of documents the Government could search and seize beyond that which he did in the

Warrant. Defendants’ specific objection to Section A(c) of Attachment B is unpersuasive because

each of those types of documents could reasonably be expected to contain evidence of the

extensive scheme and because, taken as a whole, the Attachment limits the search to the

aforementioned crimes. Defs.’ Br. in Supp. of Mot. to Suppress at 19; Warrant, Attach. B.

Therefore, the Court holds that the Warrant was sufficiently particular.

       3.      The execution of the Warrant.

       “The general touchstone of reasonableness which governs Fourth Amendment analysis

[also] governs the method of execution of the warrant.” United States v. Ramirez, 523 U.S. 65, 71

(1998). An officer executing a search warrant must be careful to scrupulously observe the

limitations set forth in a search warrant. Bivens v. Six Unkown Named Agents of Fed. Bureau of

Narcotics, 403 U.S. 388, 395 n.7 (1971) ( “[T]he Fourth Amendment confines an officer

executing a search warrant strictly within the bounds set by the warrant.”). Indeed, “[i]t is

incumbent on the officer executing a search warrant to ensure the search is lawfully authorized


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and lawfully conducted.” Groh v. Ramirez, 540 U.S. 551, 563 (2004). “Hence, the seizure of

items not described in the warrant violates the Fourth Amendment–and the items should be

suppressed–unless an exception to the warrant requirement applies.” United States v. Legg, 18

F.3d 240, 242 (4th Cir. 1994) (citing Horton v. California, 496 U.S. 128, 133-34 (1990)). “A

flagrant disregard for the limitations of a search warrant might make an otherwise valid search an

impermissible general search and thus require the suppression or return of all evidence seized

during the search.” Marvin v. United States, 732 F.2d 669, 674-75 (8th Cir. 1984) (citations

omitted); Am. Investors of Pittsburgh, Inc., 879 F.2d at 1107 (“What we focus upon is whether

the officers’ conduct overreached to the extent that it rendered an otherwise valid warrant so

general in nature that it failed to authorize a legal search.”). “The Supreme Court, however, has

expressly dictated that the flagrant disregard standard applies only where the government exceeds

the scope of the authorized search in terms of the places searched, and not to cases in which the

government indulges in excessive seizures.” United States v. Decker, 956 F.2d 773, 779 (8th Cir.

1992) (citing Waller v. Georgia, 467 U.S. 39, 43 n.3 (1984)).

       a. The document seizure.

       With respect to indiscriminately seizing documents, the Court finds that any malfeasance

by the Government does not justify suppressing all of the fruits of the search. On direct

examination, Agent Ponce testified that: he had a copy of the search warrant; he generally

explained its contents to the other individuals participating in the search, all of whom seemed to

understand his briefing; he was aware of a site review24 meant to ensure that only documents

falling under the search warrant were seized; and to his understanding, the search complied with


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            The record is unclear on exactly what the site review entailed.

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all of the terms of the Warrant.25 Tr. at 111-12. On cross examination, he additionally testified

that he answered questions for searching agents throughout the day. Tr. at 133. However, on

cross examination, he also testified that he did not know how many, if any, of the other agents

conducting the search read the Warrant before entering the office. Id. at 116. Agent Ponce

further testified that his briefing only included general descriptions of items to be sought, instead

of the more narrow, sometimes time specific, categories of documents contained in the Warrant.26


       25
            Agent Ponce specifically testified:

       Q. Did you have a copy of the search warrant present at that time?
       A. Yes.
       Q. And did you explain to the other agents the contents of the search warrant?
       A. Yes.
       Q. And did they understand what was being searched during the execution of that
       search warrant?
       A. Yeah. I believe so. Yes. There weren’t any questions.
       Q. And during the execution of the search warrant, was there, in fact, a review done
       of the premises in order to try to determine and seize only the items that were
       covered under the search warrant?
       A. Yes.
        ...
       Q. To the best of your recollection, was the execution of the search warrant . . . on
       February 11, 2009, in compliance with the Court’s order as set forth in the search
       warrant?
       ...
       A. Yes, it was.

Tr. at 111-12.
       26
           For example, Agent Ponce testified that he instructed Agents to look for immigration
documents and financial records in general, even though the Warrant specifically authorized the
taking of only certain immigration documents from “January 2002” and on, and certain financial
records from the “2002 through 2008 tax years.” Tr. at 117 (“Q. All right. Now, you told them
as a general proposition that they were looking for immigration documents, personnel
documents, and financial records; correct? A. Yes. Q. Did you in any way narrow the scope of
whose immigration documents they were to look for? A. No, I don’t think so. Q. Did you in
any way narrow the scope of whose personnel documents they were supposed to look for? A.
No. Q. Did you in any way narrow the scope or explain what kind of financial records they

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Id. at 116-17; Hr’g Ex. 2 at 3-4. In addition, he testified that his discussions with other agents

failed to include any information as to which were not subject to search and seizure. Id. at 117

(“Q. Now, in that meeting where you were instructing the people, what things did you tell them

not to take? A. I don’t think we really talked about what not to take, but what to take.”). Agent

Ponce, likewise, testified that he did not know if the individuals actually conducting the search

either knew what items fell within the ambit of the Warrant or complied with the limitations in

the Warrant. Id. at 129-31. Agent Ponce finally testified that the Government seized a large

volume of documents, nearly 100 boxes, that required two postal trucks to transport. Id. at 118.

Moreover, Special ICE Agent Christopher Doyle (“Agent Doyle”) testified that he participated in

the February 11, 2009 search by imaging hard drives and that he had to ask for a copy of the

Warrant to read because there was no briefing by the case agents. Id. at 73 (“Q. Right. Did

anyone try to verbally tell you, or orally tell you what was in the search warrant? A. No, that’s

why I read the search warrant.”). Agent Doyle even stated that the case agent who handed him

the Warrant to read was “irritated” by his request. Id. at 72.

       In light of this evidence, the Court does not believe that the Government flagrantly

disregarded the limitations contained in the Warrant. The evidence strongly indicates that Agent

Ponce failed to adequately explain the nuances of the Warrant to his team and failed to monitor

their compliance with its restrictions, which suggests that his search team might not have adhered

to the Warrant. United States v. Heldt, 668 F.2d 1238, 1261 (D.C. Cir. 1981) (“Warrants are not

self-executing; they require agents to carry them out. In order for a warrant’s limitations to be




were supposed to be looking for? A. Bank statements, checkbooks–bank statements, primarily,
and any other financial-related documents. . . .”); Hr’g Ex. 2 at 3-4.

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effective, those conducting the search must have read or been adequately apprised of its terms.”).

The Court cannot, however, draw this conclusion here because the only other testifying member

of the search team, Agent Doyle, stated that he compensated for the lack of instruction and

oversight by personally reading the Warrant and attempting to follow its precepts.27

Consequently, the Court is uncertain what, if any, actual impact Agent Ponce’s lack of oversight

produced, especially in light of the fact that he was answering searching agents questions all

day.28 Moreover, the mere fact the Government seized a large volume of documents,

approximately 100 boxes, provides virtually no insight as to whether the Government

indiscriminately seized documents because the Warrant’s scope was extensive, accounting for the

sheer magnitude of the suspected scheme. Indeed, the Court would expect the Government to

seize a large volume of documents. Finally, Defendants’ only direct evidence of governmental

impropriety stems from affidavits submitted by each of the non-corporate Defendants, who

allegedly saw Agent Ponce and his team execute the search. The affidavits state that the

Government began indiscriminately seizing documents in the afternoon. Clerk’s No. 90.

However, the Court cannot trust the veracity of their statements because neither of the non-

corporate Defendants subjected themselves to cross examination. Accordingly, and even in light

of the following discussion on the Government’s partial mishandling of the electronically stored




       27
        The Court notes that Agent Doyle focused on imaging hard drives, not seizing
documents, but his experience is nonetheless relevant because it shows a level of compensation
by a member of Agent Ponce’s search team.
       28
           The Court also notes that there was another lead investigator, Agent Cress, on the
scene of the search, but without more information on his role, the Court cannot draw any firm
conclusions about the impact of his presence outside of the fact that he also answered questions
from searching agents. Tr. at 117, 133.

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information, the Court finds that the Government did not flagrantly disregard the Warrant when

searching and seizing documents.29

       b. The electronic data seizure.

       With respect to the electronically seized information, the Court believes that the

Government’s reckless disregard for the Warrant’s specific procedures regarding the handling of

digital information after the February 11, 2009 search requires suppression of this evidence. The

Warrant in this case expressly authorized the Government to make digital images of electronic

storage devices, including hard drives, under limited circumstances. Hr’g Ex. 2, Attach. B,

B(b)(iii) (“If it is practical, and the digital device cannot be searched on site in a reasonable

amount of time and without jeopardizing the ability to preserve data, the computer personnel will

make a forensically sound image of the data contained on the digital device (a ‘data image’)

during the execution of this search and shall seize the data image rather than the digital device

itself.”). The Warrant, however, also expressly established a limiting protocol for the

Government to follow when handling the digital images. More specifically, the Warrant required

the Government to make an initial search of any digital image within sixty days or obtain a court

order extending the time, stating in relevant part:

       If the computer personnel . . . make a data image pursuant to subparagraph iii above,
       the computer personnel will initially search the digital device or data image within a


       29
           Moreover, even if the searching agents had engaged in “excessive seizures,” the
remedy would not be suppression of the entire search because the Government had the authority
under the Warrant to search the places in which it allegedly seized an excessive number of
documents. Waller, 467 U.S. at 43 n.3 (“Petitioners do not assert that the officers exceeded the
scope of the warrant in the places searched. Rather, they say only that the police unlawfully
seized and took away items unconnected to the prosecution. . . . In these circumstances, there is
certainly no requirement that lawfully seized evidence be suppressed as well.” (citations
omitted)).

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       reasonable amount of time not to exceed 60 days from the date of execution of the
       warrant. If, after conducting such an initial search, the case agents determine that the
       digital device or data image contains any data falling within the list of items to be
       seized pursuant to this warrant, the government will either (1) return the digital
       device, keeping a data image for further analysis, provided that, prior to such return,
       the owner and user(s) of the digital device stipulate individually and in writing to the
       authenticity and accuracy of the data image or (2) seek an order of the Court allowing
       the government to retain the original digital device for further analysis. If the digital
       device or data image does not contain any data falling within the list of the items to
       be seized pursuant to this warrant, the government will return the digital device or
       delete the data image. If the government needs additional time to determine whether
       the digital device or data image contains any data falling within the list of items to be
       seized pursuant to this warrant, it may seek an extension of the time period from the
       Court within the original sixty day period from the date of execution of the warrant.

Ex. 2, Attach. B, B(b)(vi).

       Despite this express, unambiguous language, the record before the Court indicates that the

Government failed to adhere to the protocol because it failed to properly search Defendants’

electronic data within 60 days or request an time extension. During its February 11, 2009 search

of Defendant Vision Systems’ office, the Government made digital images of 21 hard drives. Tr.

at 92. The Government then transferred those images to a computer expert stationed in Omaha,

who proceeded to verify the integrity of the images, extract all files matching the search criteria

Agent Ponce sent to him, and send the extracted files to Agent Ponce on May 4, 2009. Id. 92, 94;

Hr’g Ex. 8. The expert, however, never personally determined whether any data on the images

fell within the scope of the Warrant. Tr. at 98 (“Q. You never determined yourself whether data

on the hard drives fell within the items to be seized as listed in the search warrant? A. No. I

just–no.”). He merely extracted files based upon Agent Ponce’s search criteria, which is alone

insufficient to determine if any data fell within the ambit of the Warrant because the search

criteria were over-inclusive and not tailored to the limitations set forth in the Warrant. Hr’g Ex.

A (stating that the search terms included “all email files,” “Word (or Word type) documents

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opened/modified in the last year,” and “spreadsheets opened/modified in the last year”); Tr. at 97.

Consequently, the Government failed to conduct an adequate initial search of the data images

within the 60 day time frame mandated by the protocol because Agent Ponce did not even receive

the images until May of 2009.30 Tr. at 124. Moreover, the Government never presented any

evidence that it sought an extension of time. Indeed, Agent Ponce, the lead governmental

investigator, testified he was simply unaware of this explicit Warrant requirement. Id. at 136 (“Q.

Did you understand that the review of everything on the computers had to be done within 60

days? A. No. I can’t recall having that deadline, a 60-day deadline.”).

       The Court believes that the Government’s utter disregard for the protocol explicitly set

forth in the Warrant requires suppression under the facts of this case. In United States v. Gerber,

the Eleventh Circuit held that “completing a search shortly after the expiration of a search warrant

does not rise to the level of a constitutional violation and cannot be the basis for suppressing

evidence seized so long as probable cause continues to exist, and the government does not act in

bad faith,” which seemingly includes reckless conduct. 994 F.2d 1556, 1560-61 (11th Cir. 1993)

(cautioning that its decision not be “misunderstood to be providing a precedent for careless

attention to the acquisition of warrants, including their duration”). In applying this principle, the

Eleventh Circuit upheld the Government’s search underneath a vehicle’s hood three days after the

authorizing federal search warrant expired because: probable cause still existed to search the

vehicle; the Government was unaware that the warrant would expire, due in part to the warrant



       30
         The record indicates that a “taint team” did review the computer data at some point to
determine if it contained privileged communications. Tr. at 126, 135. The taint team did not,
however, review the data to determine if it fell within the scope of the Warrant. Id. at 124-26,
135. Accordingly, the Government cannot rely on the search by the taint team.

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expiring within a day of its issuance rather than in a typical ten day period; and the delay was due

to the Government’s desire to avoid damaging the vehicle by waiting until the next business day

when a mechanic would be able to assist them.31 Id.

       Similarly, the Tenth Circuit, in United States v. Sims, upheld a search of an individual’s

office and computer one day after “the warrant had expired by its own terms” because “there was

no showing that the one-day delay was the result of any intentional disregard of the terms of the

warrant” and because “there is no evidence [that the delay] had any effect on the Government’s

probable cause to search.” 428 F.3d 945, 955 (10th Cir. 2005). In reaching this conclusion, the

Tenth Circuit adopted a slightly different analytical approach by applying its jurisprudence on

technical violations of Federal Rule of Criminal Procedure 41, which governs federal search

warrants, to technical violations of a search warrant’s own express terms. Id. (“Although we are

here dealing with a violation of the warrant itself, rather than a violation of Rule 41 per se, we

find the same analysis applies to technical violations of the warrant.”). The Tenth Circuit

standard stems from a widely accepted Ninth Circuit case, which held:

       “Unless a clear constitutional violation occurs, noncompliance with Rule 41 requires
       suppression of evidence only where (1) there was ‘prejudice’ in the sense that the
       search might not have occurred or would not have been so abrasive if the rule had
       been followed, or (2) there is evidence of intentional and deliberate disregard of a
       provision in the Rule.”

United States v. Hugoboom, 112 F.3d 1081, 1088 (10th Cir. 1997) (quoting United States v.

Stephenson, 648 F.2d 1231, 1235 (9th Cir. 1981)). While this underlying standard does not



       31
            The Eighth Circuit appeared to apply a more rudimentary form of the First Circuit test
in United States v. Gibson. 123 F.3d 1121, 1124-25 (8th Cir. 1997) (upholding a search four-
days after the issuance of a warrant that stated “make immediate search” because probable cause
still existed and because the Government provided a reasonable explanation for the delay).

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reference reckless conduct and while the Tenth Circuit did not consider recklessness in Sims,

most, if not all, circuits applying the Stephenson approach interpret the standard to require

suppression when the Government violates Rule 41 in bad faith, which includes reckless conduct.

United States v. Freeman, 897 F.2d 346, 349 (8th Cir. 1990) (“This general refusal to apply the

exclusionary rule to violations of Rule 41 provisions, absent a constitutional infirmity or showing

of prejudice or reckless disregard, has been adopted in other circuits.” (collecting cases from the

Seventh, Ninth, Tenth, and Eleventh Circuits)); see also United States v. Martinez-Zayas, 857

F.2d 122, 136-37 (3rd Cir. 1988) (applying the substantively identical Burke test to require

suppression when reckless disregard or bad faith is shown) overruled on other grounds by United

States v. Chapple, 985 F.2d 729 (3d Cir. 1993); United States v. Comstock, 805 F.2d 1194, 1207

(5th Cir. 1986) (“Consequently, we hold that, where there is no constitutional violation nor

prejudice in the sense that the search would likely not have occurred or been as abrasive or

intrusive had Rule 41 been followed, suppression in these circumstances is not appropriate if the

officers concerned acted in the affirmative good faith belief that the warrant was valid and

authorized their conduct. Good faith in this context implies not only that Rule 41 was not

knowingly and intentionally violated, but also that the officers did not act in reckless disregard or

conscious indifference to whether it applied and was complied with.”). Indeed, the Eighth Circuit

recently re-affirmed this approach in United States v. Mutschelknaus. 592 F.3d 826, 829-30 (8th

Cir. 2010) (“[N]oncompliance with Rule 41 does not automatically require exclusion of evidence

in a federal prosecution. Instead, exclusion is required only if a defendant is prejudiced or if

reckless disregard of proper procedure is evident.” (internal quotation and citations omitted)).

Accordingly, the Court believes that whether it applies the Eleventh Circuit’s or the Tenth


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Circuit’s approach to violations of a search warrant’s express terms, suppression is required when

the Government acts in bad faith, that is, where it either intentionally or recklessly disregards the

express terms of the search warrant.

       The Court believes that the Government’s execution of the electronic portion of the

Warrant was in bad faith because the          the failure to adhere to the temporal restrictions in

the protocol stems from Agent Ponce’s gross recklessness. Just as in Gerber, the Government

commenced searching Defendants’ electronic documents during a time period articulated by the

Warrant, namely on February 11, 2009, when the searching agents created the data images. The

Government likewise did not finish searching the images until a time period after that authorized

by the Warrant, namely May 2009 or thereafter.32 Unlike Gerber, though, the source of delay in

this case was not a reasonable reaction to an unanticipated hindrance. The source of the delay

was due to Agent Ponce’s ignorance about the Warrant’s temporal restrictions on searching

electronic data that was contained in the protocol. Tr. at 136 (“Q. Did you understand that the

review of everything on the computers had to be done within 60 days? A. No. I can’t recall

having that deadline, a 60-day deadline.”). The Court finds such a failure in knowledge

inexcusable under the facts of this case and, at best, the product of a highly reckless course of

action because Agent Ponce indicated he read the Warrant, explained its contents to his search

team, and participated in the search of the electronic data. Tr. at 116, 124, 136. Indeed, Agent

Ponce was the lead Government investigator, and as such, he should have been keenly aware of

Warrant’s requirements, especially since the 60 day time frame is ten times the standard ten-day




       32
            The record is unclear on when Agent Ponce finished his search of Defendants’ data.

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window that the Government had at that time to execute a warrant under Rule 41.33 The

Government attempts to negate Agent Ponce’s failure by stating he relied in good faith upon the

protocol, which was only meant to apply to seized computer hardware. Id. at 174. The Court,

however, finds the Government’s argument unpersuasive because no reasonable interpretation of

the unambiguous protocol could support Agent Ponce’s actions. The Court likewise finds the

Government’s argument that it was unreasonable to expect Agent Ponce to search the data images

within 60-days unpersuasive because the Government failed to even seek an extension of the time

as the protocol expressly provides. Id. Accordingly, the Court believes that Agent Ponce acted

recklessly in deciding when to search Defendants’ electronic data and believes that this

recklessness towards the express terms of the Warrant produced a temporal violation of the

Warrant.34 Consequently, the Court finds that the Government cannot rely upon the Warrant to


       33
            Federal Rule of Criminal Procedure 41 has since been amended to provide for a 14 day
window.
       34
           Agent Ponce’s recklessness in deciding when to conduct his electronic search is
consistent with his other conduct during the course of executing the Warrant. Besides his
seemingly reckless conduct while overseeing the search of Defendants’ offices, the record
additionally indicates that Agent Ponce acted recklessly while conducting the actual search of
Defendants’ electronic files because he did not restrict his search terms to those that necessarily
fell within the ambit of the Warrant. Instead, Agent Ponce searched for files pertaining to his
overall investigation, thereby risking suppression of all evidence derived from his searches,
including non-electronic evidence. In Agent Ponce’s own words:

       Q. Well, if Agent Hernandez[,the Omaha forensic expert,] testified that he sent the
       images to you in May, would you have any basis to disagree with that?
       A. No. Sounds about right.
       Q. So would these search terms have been run against the documents that you got,
       or the images you got from Hernandez in May and thereafter?
       A. Yes.
       Q. And would that have been the first time that anybody within the Federal
       Government actually started looking at those documents in the sense of reading the
       words in them to see what the documents were and what they said?

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justify Agent Ponce’s search. Seeing no exception to the general warrant requirement, the Court

views Agent Ponce’s searches of Defendants’ electronic data as warrantless and impermissible.35

Therefore, the Court grants in part Defendants’ Motion to Suppress. The Government may not



       A. As far as I know, yes.
       Q. How did your group develop this list of terms?
       A. How exactly? It’s based on the investigation, what we were looking for, to make
       it simpler, to find what we needed.
       Q. So, for example, the first term, “bench,” where does that come from?
       A. From interviews with workers and prior investigations.
       Q. And is there something in your warrant that establishes probable cause to believe
       that a document containing the word “bench” would contain evidence of a crime?
       A. In the warrant? I’d have to go back over the warrant. I’m not sure. I don’t think
       it would.
       Q. How about the word “account,” is there something in your warrant that would
       establish probable cause to believe that the documents containing the word “account”
       would contain evidence of a crime?
       A. Could you repeat?
       Q. Is there something in your–I’m just trying to understand how you developed this
       list.
       A. Uh-huh.
       Q. Is there–was the list developed based upon the things contained in your warrant
       application?
       A. Yes.
       Q. Or was it based on a broader understanding of the case that you had?
       A. A combination of both. I mean–
       Q. So it was not just based upon the warrant application, it was based upon other
       investigative work that you had done?
       A. Right.

Tr. at 125-26. Additionally, Agent Ponce’s conduct in executing the electronic portion of the
Warrant indicates that there might be a more subtle flaw in the Warrant, namely that some of the
probable cause underlying the Warrant had become stale, which theoretically could also erode
the justification for the Warrant’s lack of particularity.
       35
          The Court in United States v. Brunette reached an identical conclusion for
substantially similar reasons in a case also involving the Government’s failure to timely search
seized electronic data. 76 F. Supp. 2d 30, 42 (D. Me. 1999) (“The Government has offered no
legitimate reason for its delay. Therefore, because the Government failed to adhere to the
requirements of the search warrant and subsequent order, any evidence gathered from the
Leading Edge computer is suppressed.”).

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use any evidence derived from the data images.36

                                        III.   CONCLUSION

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART both

Defendants’ Motion to Dismiss (Clerk’s No. 81) and Defendants’ Motion to Suppress (Clerk’s

No. 87). Specifically, the Court hereby dismiss Counts Two through Nine, as well as the

forfeiture allegation contained in Count Eighteen.37 The Court also suppresses all fruits derived

from the Government’s search of Defendants’ data images.

       IT IS SO ORDERED.

       Dated this _24th_ day of March, 2010.




       36
          The Court’s decision renders moot Defendants remaining arguments about the
impropriety of the electronic seizures.
       37
           If the parties still wish for the Court to strike individual allegations contained in the
Indictment, then the parties should file an appropriate motion that precisely identifies each
allegation and articulates the reason that the allegation(s) should be stricken.

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                  EXHIBIT 3
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL D. COHEN                                                      :

                               Plaintiff,                             :

          -v.-                                                        :

UNITED STATES OF AMERICA,                                             :

                              Defendant.                              :

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   THE GOVERNMENT’S OPPOSITION TO MICHAEL COHEN’S MOTION FOR A
                 TEMPORARY RESTRAINING ORDER




                                                            ROBERT S. KHUZAMI
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                                 PRELIMINARY STATEMENT

       On April 9, 2018, agents from the New York field office of the Federal Bureau of

Investigation (“FBI”) executed search warrants for Michael Cohen’s residence, hotel room,

office, safety deposit box, and electronic devices. The searches were authorized by a federal

magistrate judge, who had found probable cause to believe that the premises and devices

searched contained evidence, fruits, and instrumentalities of conduct for which Cohen is under

criminal investigation, namely

                       .

       Cohen now seeks the extraordinary remedy of preventing the United States Attorney’s

Office for the Southern District of New York (“USAO-SDNY”) from reviewing lawfully-

obtained evidence of Cohen’s alleged criminal conduct, and asks that, instead, defense counsel

be permitted to review the materials in the first instance and produce to the USAO-SDNY what

defense counsel deems to be “responsive, non-privileged items.” This request is unprecedented

and is not supported by case law in this Circuit, which has repeatedly found that the

government’s use of a filter team appropriately protects applicable privileges. Cohen’s

alternative request for the appointment of a special master should likewise be denied. It is

premised on a wholly distinguishable case involving a search of the law offices of a practicing

criminal defense attorney, who shared an office with other criminal defense attorneys, in the

district in which the attorney was being prosecuted. Here, Cohen is not a criminal defense

attorney, has no cases with the USAO-SDNY, and is being investigated for criminal conduct that

largely centers on his personal business dealings. Based on information gathered in the

investigation to date, the USAO-SDNY and FBI have reason to believe that Cohen has

exceedingly few clients and a low volume of potentially privileged communications.




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        Moreover, although Cohen’s claims are founded on his expressed concern that attorney-

client privilege will be undermined, he nevertheless asks for far broader relief: He asks to also

be the first to make the determination of whether a document is responsive to the search warrant.

That request for relief, which bears no relation to the claimed justification, belies the true intent

of his motion: To delay the case and deprive the USAO-SDNY of evidence to which it is

entitled.

        To be sure, searches of premises belonging to an attorney raise special concerns, which

impose a need for heightened care, due to the fact that such premises may contain privileged

material. But there can be no dispute that attorneys, like anyone else, may be criminally

investigated for their conduct, and that law enforcement officials may search an attorney’s law

office – or other premises – “pursuant to a valid warrant that is supported by probable cause that

an attorney has been engaging in criminal activity and that the law offices in question contain

evidence of this suspected wrongdoing.” United States v. Stewart, No. 02 Cr. 396 (JGK), 2002

WL 1300059, at *3 (S.D.N.Y. June 11, 2002). That is what happened here: A federal magistrate

judge found that there was probable cause to believe that Cohen’s premises and devices

contained evidence, fruits and instrumentalities that specified federal crimes were committed.

Despite Cohen’s conclusory claims to the contrary, there is nothing inappropriate about the

execution of these warrants.

        The USAO-SDNY and FBI take seriously the obligation to respect attorney-client

privilege. That is why the search warrants in question expressly provide that review of the

seized material “shall be conducted pursuant to established procedures designed to collect

evidence in a manner reasonably designed to protect any attorney-client or other applicable

privilege.” As set forth below, the USAO-SDNY and FBI have established rigorous protocols –




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consistent with common practice in this District – to ensure that the attorney-client privilege is

respected. Furthermore, the USAO-SDNY and FBI have invited Cohen to offer suggestions as

to the USAO’s review process and to provide a list of Cohen’s clients and his own attorneys, to

facilitate the initial segregation of potentially-privileged materials for review (which invitation

has thus far been ignored). These protocols are more than sufficient to protect any privileged

materials that may have been seized. Cohen’s motion should be denied.

I.     FACTUAL BACKGROUND

       As noted, on April 9, 2018, the FBI executed search warrants for Cohen’s residence,

hotel room, office, safety deposit box, and two cell phones. Each warrant was supported by a

detailed affidavit, and authorized by a federal magistrate judge, who found probable cause to

believe that the subject premises and devices contained evidence of




       These searches were carried out as part of an ongoing grand jury investigation being

conducted by the USAO-SDNY and the FBI. 1 Unlike in this case, challenges to search warrants

typically occur after charges have been filed; consequently, facts that are normally set forth in a

charging document are not available to the Court in this case. For that same reason, the USAO-

SDNY is constrained from disclosing certain facts that would provide the Court with a more




       1
         Although Cohen accurately states that the Special Counsel’s Office (“SCO”) referred
this investigation to the USAO-SDNY, the investigation has proceeded independent from the
SCO’s investigation. Cohen’s speculation, see Br. at 10, that the SCO drafted the search
warrants is unfounded. The date in the bottom corner of the attachments is the date that the
USAO-SDNY’s standard form search warrant rider was most recently updated for use by the
office.



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complete factual background. 2 But the riders to the search warrants – copies of which have been

provided to Cohen – identify the federal criminal statutes under which Cohen is being

investigated.

       Although Cohen is an attorney, he also has several other business interests and sources of

income. The searches are the result of a months-long investigation into Cohen, and seek

evidence of crimes, many of which have nothing to do with his work as an attorney, but rather

relate to Cohen’s own business dealings. As set forth below, unlike a search of a traditional law

office, the information gathered thus far in the investigation suggests that the overwhelming

majority of evidence seized during the searches will not be privileged material, but rather will

relate to Cohen’s business dealings.

       Nevertheless, because Cohen holds himself out as a practicing attorney, each of the

search warrants contains the following provision:

   Additionally, review of the items described in this Attachment shall be conducted pursuant
   to established procedures designed to collect evidence in a manner reasonably designed to
   protect any attorney-client or other applicable privilege. When appropriate, the procedures
   shall include use of a designated “filter team,” separate and apart from the investigative
   team, in order to address potential privileges.

       The FBI agents who seized materials pursuant to the search warrants were filter agents

who are not part of the investigative team and have been walled off from those AUSAs or FBI

personnel assigned to the investigation (the “Investigative Team”).

       Moreover, before seeking and obtaining the search warrants, the USAO-SDNY consulted

with the Department of Justice’s Office of Enforcement Operations, consistent with the guidance

provided by the United States Attorney’s Manual. As a part of that consultation, the USAO-



       2
         To the extent the Court has specific factual questions, the Government is prepared to
provide additional information to the Court on an ex parte basis, including the affidavit that
formed the basis for the search warrants.


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SDNY developed a set of instructions for a team of walled-off AUSAs (the “Filter Team”),

which has been tasked with reviewing the materials seized pursuant to the search warrants in the

first instance to identify documents that are subject to the attorney-client privilege (and any other

applicable privilege).

       The Filter Team is composed of AUSAs who have had, and will have, no involvement in

the investigation. The Filter Team is prohibited from disclosing, directly or indirectly, the

substance of any material under its review to the Investigative Team, unless and until the Filter

Team has determined that the material is not privileged.

       As an initial matter, the Filter Team will review and release communications to the

Investigative Team between Cohen and persons with whom Cohen undisputedly does not have

an attorney-client relationship. 3 Based on the information presently known to the USAO, the

Investigative Team has compiled a list of individuals and entities relevant to the investigation

with whom Cohen undisputedly does not have an attorney-client relationship. (The USAO-

SDNY has asked Cohen’s counsel to provide a list of Cohen’s clients and attorneys, but that

invitation has thus far been ignored.) To the extent there are any remaining potentially

privileged documents—i.e., any communications between Cohen and clients known or believed

to have been represented by Cohen, any communications between Cohen and an identified




       3
           The attorney-client privilege protects from disclosure “confidential communications
that pass in the course of professional employment from client to lawyer.” United States v.
Schwimmer, 892 F.2d 237, 243 (2d Cir. 1989). The privilege does not attach to communications
between two or more persons that do not enjoy an attorney-client relationship. Id. Additionally,
it is settled that even where an attorney-client relationship does exist, disclosure of a privileged
communication to a third party waives privilege as to that communication. See Schaeffler v.
United States, 806 F.3d 34, 40 (2d Cir. 2015) (privilege “is generally waived by
voluntary disclosure of the [privileged] communication to another party”); In re Horowitz, 482
F.2d at 81 (“subsequent disclosure to a third party by the party of a communication with his
attorney eliminates whatever privilege the communication may have originally possessed”).


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attorney or law firm known or believed to have represented Cohen—the Filter Team will review

them to determine whether the material is: (1) not privileged, (2) potentially privileged, (3)

requires redaction, and/or (4) potentially meets an applicable exception (for example, the crime-

fraud exception).

       To be clear, under no circumstances will a potentially privileged document or a document

potentially subject to the crime-fraud exception be provided to or described to the Investigative

Team without the consent of the privilege holder or his/her counsel, or the court’s approval. If

the Filter Team is unable to clarify a document’s category, or if there is an exception to the

privilege that applies to particular material, such as the crime-fraud exception, or any waiver of

the privilege – the Filter Team will (1) confer with counsel for the privilege holder at the

appropriate time and before any such material is shared with the Investigative Team and, if no

agreement can be reached, submit the material under seal to an appropriate court for a

determination as to whether the material is privileged; (2) bring the document to a court for

resolution, including by seeking an ex parte determination if appropriate; or (3) if the document

is of obviously minimal probative value, place the document into the “Privileged” category as a

means of efficiently completing the review.

II.    JURISDICTION & STANDARD OF REVIEW

       Cohen contends that his pre-indictment claim is akin to a motion to return property seized

by the government, which, in the pre-indictment context, should be treated as a “civil equitable

proceeding.” (Br. 12). But courts in this District have recognized that this is an “anamolous”

form of jurisdiction, which “is to be exercised with great restraint and caution, since it rests upon

the Court’s supervisory powers over the actions of federal law enforcement officials.” United

States v. Padilla, 151 F.R.D. 232, 234 (W.D.N.Y. 1992); see also Fifth Ave. Peace Parade




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Committee v. Hoover, 327 F. Sup. 238, 242 (S.D.N.Y. 1971) (“such jurisdiction is to be

exercised with great restraint and caution since it rests upon the court’s supervisory power over

the actions of federal law enforcement officials”). Under this standard, courts have declined to

exercise such jurisdiction where “it is far from clear that Plaintiffs’ Fourth Amendment rights

were infringed,” id., and have declined to grant relief where the government took care in the

execution of the search, see National City Trading Corp. v. United States, 635 F.2d 1020, 1026

(2d Cir. 1980).

        To the extent the typical standard for a temporary restraining order applies in this unique

context, “[i]t is well established that in this Circuit the standard for an entry of a TRO is the same

as for a preliminary injunction.” Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y. 2008).

“Generally, to obtain a preliminary injunction, a party must demonstrate (1) irreparable harm in

the absence of the injunction and (2) either (a) a likelihood of success on the merits or (b)

sufficiently serious questions going to the merits to make them a fair grounds for litigation and a

balance of hardships tipping decidedly in the movant’s favor.” Id. (quotation omitted).

III.    THE PROPOSED USE OF A FILTER TEAM IS APPROPRIATE

        1. The Use of a Filter Team is Common Procedure in This District

        The use of a designated filter team, like the one in place here, is a “common procedure”

in this District. United States v. Ceglia, 2015 WL 1499194, at *1 (S.D.N.Y. Mar. 30, 2015); see

also United States v. Patel, No. 16 Cr. 798 (KBF), 2017 WL 3394607, at *7 (S.D.N.Y. Aug. 8,

2017) (noting government use of wall review team as evidence of good faith); United States v.

Lumiere, No. 16 Cr. 483, 2016 WL 7188149, at *7 (S.D.N.Y. Nov. 29, 2016) (noting proposed

use of wall review team); SEC v. Lek Secs. Corp., 17 Civ. 1879 (DLC), 2018 WL 417596, at *4

(S.D.N.Y. Jan. 16, 2018) (SEC’s use of filter team “reflects respect for the privilege”). Indeed,




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the USAO-SDNY currently has numerous pending cases in which it is employing the use of a

filter team to screen for potentially privileged material. This common procedure is sufficient for

this case.

        Moreover, courts in this District have approved the use of Filter Teams over the objection

of defendants, including in cases in which the defendants have sought the appointment of a

special master. For example, in United States v. Winters, No. 06 Cr. 54 (SWK), 2006 WL

2789864 (S.D.N.Y. Sept. 27, 2006), the court specifically found that the USAO-SDNY’s

proposed use of a “‘wall Assistant’ adequately protects the defendant’s asserted privilege.” Id. at

*2. While recognizing the importance of the attorney-client privilege, the court found that it

must be “balanced against competing public policies, including the public’s interest in the

enforcement of criminal law.” Id. at *2. The court explained that the defendant’s proposal for in

camera review did not “adequately account for society’s interest in the enforcement of its

criminal law,” because:

    [t]he documents in question were gathered during the execution of a search warrant whose
    lawfulness and manner of execution have not, to this point, been challenged. The
    Government, having lawfully conducted the initial seizure of evidence, possesses a strong
    interest in prosecuting crimes revealed by the same. In order to fully advance this interest,
    members of a Government privilege team should be permitted to review all allegedly
    privileged documents. Only in this manner can the privilege team acquire information
    necessary to challenge assertions of privilege.

Id. at *2. The same reasoning applies fully in this case. The searches were conducted pursuant

to judicially authorized warrants. The lawfulness and manner of execution have not been




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seriously challenged. 4 And the USAO-SDNY and FBI should be permitted to review documents

they lawfully obtained so long as the Filter Team has screened out privileged documents.

       This last point bears particular relevance in this case, in which Cohen proposes (as his

primary argument) not that a neutral third party conduct the initial review of the seized materials,

but that Cohen’s own counsel conduct the initial review, including for responsiveness. Such a

procedure would stymie the USAO-SDNY’s investigation and block lawful evidence gathering

in accordance with the Government’s judicially-approved Rule 41 search authority. Moreover,

under such a procedure, Cohen’s claims of privilege would likely be “generous.” Already in his

brief to this Court, Cohen’s makes overbroad privilege claims. For example, as described below,

Cohen makes claims about his purported privileged communications involving a law firm (with

which he had a “strategic relationship”), which are inconsistent with the facts we know about his

actual relationship with that firm. In addition, the USAO-SDNY has already received

correspondence from counsel for the Trump Organization (Cohen’s former employer), which

referenced the searches conducted of Cohen’s premises and claimed:

   We consider each and every communication by, between or amongst Mr. Cohen and the
   Trump Organization and each of its officers, directors and employees, to be subject to and
   protected by the attorney- client privilege and/or the work-product privilege.

(emphasis added)).

       In the face of inaccurate and/or overbroad claims of privilege, the USAO-SDNY

would be seriously prejudiced if it were not able, through a Filter Team, to evaluate the

validity of such claims. As Judge Barbara Jones explained in permitting review by a filter



       4
         Cohen himself told a CNN journalist that the FBI agents who conducted the searches
“were all extremely professional, courteous and respectful.” Don Lemon, Michael Cohen to
CNN: FBI Was 'Professional, Courteous, Respectful' In Raids, Counter to Trump’s Depiction,
CNN (Apr. 10, 2018), https://www.cnn.com/2018/04/10/politics/michael-cohen-fbi-
raid/index.html.


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team, “[w]ithout the benefit of such a review, the privilege team would likely be unable to

argue, for example, that no attorney-client privilege attached to the communication because

of the crime-fraud exception, or that a document should be available for use at trial,

regardless of work-product contents, because of necessity and unavailability by other

means.” United States v. Grant, No. 04 Cr. 207 (BSJ), 2004 WL 1171258, at *2 (S.D.N.Y.

May 25, 2004); see also Winters, 2006 WL 2789864, at *2.

       This Court should follow the common procedure in this District and permit the use of a

Filter Team.

       2. Cohen’s Attempts to Distinguish This Case Are Inaccurate

       Cohen makes several attempts to argue that the facts of this case somehow warrant a

variance from this common approach, but none is persuasive.

       Cohen claims that the materials seized include “thousands of privileged documents and

communications related to numerous clients of Mr. Cohen, as well as Mr. Cohen’s privileged

communications with his own attorneys.” (Br. 2). Although the USAO-SDNY and FBI have not

yet reviewed the seized materials, there is considerable reason to doubt that assertion. As an

initial matter, as set forth above, the USAO-SDNY’s investigation relates in significant part to

Cohen’s personal business dealings and finances. Moreover, it is neither apparent (i) that Cohen,

in his capacity as an attorney, has many, or any, attorney-client relationships other than with

President Donald Trump (indeed, he does not specifically identify any in his motion and thus far

has refused to identify any to the USAO-SDNY), nor (ii) that the seized communications will




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include a significant volume of communications with that one identified client. This is so for

several reasons.

       First, Cohen’s claim that he has confidential communications with multiple clients

appears to be exaggerated. For example, Cohen has told at least one witness that he has only

client – President Trump. 5

       Second, Cohen’s claim to have privileged communicatons through a law firm that he

describes as “Law Firm-1” omits facts about his relationship with Law Firm-1 that render it

unlikely that a significant volume of attorney-client privileged material – if any – was seized in

connection with Cohen’s relationship with that law firm. Specifically, on or about March 1,

2017, Cohen—through his wholly-owned entity, Michael D. Cohen & Associates P.C.—entered

into a “Strategic Alliance Agreement” with the law firm (the “Agreement”). 6 Among other

things, the Agreement provided that Cohen would receive a $500,000 annual “strategic alliance

fee” from the law firm. Under certain circumstances, Cohen would also receive a percentage of

the fees charged by the law firm for clients introduced to the law firm by Cohen. The Agreement

also spelled out other aspects of the relationship between Cohen and the law firm, including: (1)

Cohen would be given an office at the law firm; (2) Cohen would maintain his own computer

server system not connected to the law firm’s computer server system; and (3) the law firm would




       5
          And there is reason to doubt that even communications with his only publicly identified
client regarding payments to Stephanie Clifford, who is also known as Stormy Daniels, would be
protected by attorney-client privilege. Among other things, President Trump has publicly denied
knowing that Cohen paid Clifford, and suggested to reporters that they had to “ask Michael”
about the payment. See Kevin Liptak, Trump Says He Didn’t Know About Stormy Daniels
Payment, CNN.com (Apr. 6, 2018), https://www.cnn.com/2018/04/05/politics/donald-trump-
stormy-daniels/index.html.
       6
         Written notice of termination by the law firm was made to Cohen on or about March 2,
2018, although oral discussion of termination preceded that date.


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not have a key to Cohen’s office. In addition, based upon conversations with a representative of

the law firm, the USAO-SDNY understands as follows, in substance and in part: (1) Cohen did

not have an email address associated with the firm; (2) Cohen did not have access to the firm’s

shared drives or document systems—and vice versa; (3) Cohen’s documents were to be kept in a

locked filing cabinet; and (4) Cohen did not have access to any of the firm’s client files.

       A representative of the firm also advised, in substance and in part, that for the duration of

the Agreement, Cohen introduced a sum total of five clients to the firm (the “Five Clients”).

Cohen did not maintain timesheets at the law firm and Cohen did not bill any clients through the

law firm. Thus, the law firm is not aware one way or another whether Cohen billed any of the

Five Clients for services of any kind.

       Cohen was not an employee or partner of the law firm and, according to the law firm’s

representative, maintained complete independence from the firm. To be sure, it is possible that

Cohen was copied on certain attorney-client privileged communications relating to clients of the

firm. But to the extent such documents exist, it is likely – given the relatively short duration of

the Agreement, the limited number of clients involved, and the utterly segregated nature of

Cohen’s relationship with the firm, both electronically and otherwise – that the number of such

communications is small.

       Third,



                         , further belying the notion that Cohen is currently engaged in any

significant practice of law.

       Fourth, the USAO-SDNY has specific reason to doubt that the seized materials will

include the volume and nature of attorney-client communications that Cohen claims. This is




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because the USAO-SDNY has already obtained search warrants – covert until this point – on

multiple different email accounts maintained by Cohen, and has conducted a privilege review of

the materials obtained pursuant to those warrants. The results of that review, as resported by the

USAO’s Filter Team, indicate that Cohen is in fact performing little to no legal work, and that

zero emails were exchanged with President Trump.

       Cohen next relies on the United States Attorney’s Manual (“USAM”) for the argument

that search warrants should not have been executed here, and that a Special Master should be

appointed. That reliance is misplaced, and the conclusions Cohen draws from the USAM are

wrong. As a preliminary matter, it is well settled that the USAM “is not intended to, does not,

and may not be relied upon to create any rights, substantive or procedural, that are enforceable at

law by any party in any matter, civil or criminal.” USAM § 1-1.100; see also United States v.

Piervinanzi, 23 F.3d 670, 682 (2d Cir. 1994) (USAM “guidelines . . . provide no substantive

rights to criminal defendants”); United States v. Ohle, 678 F. Supp. 2d 215, 233 (S.D.N.Y. 2010)

(“the Second Circuit has held that the provisions of the USAM reflect executive branch policy

judgments and do not confer substantive rights on any party”) (quotations and citations omitted).

       Moreover, not only is Cohen’s reliance on the USAM misplaced, but he invokes the

wrong section. Cohen cites to section 9-19.220 of the USAM, which, as Cohen points out,

applies to “attorneys who are not suspects” of a criminal investigations. See Br. at 22; USAM

§ 9-19.220 (noting the procedure to be followed when privileged materials are sought from a

“disinterested third party”). Cohen, however, is not the disinterested third party contemplated by

the USAM. The applicable provision is that which applies when the attorney is a “suspect,

subject or target” of the investigation. As a result, as the USAM observes, “[t]here are occasions

when effective law enforcement may require the issuance of a search warrant for the premises of




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an attorney who is a subject of an investigation, and who also is or may be engaged in the

practice of law on behalf of clients.” USAM § 9-13.420 (emphasis added). This was such an

occasion, and the USAO-SDNY followed the applicable guidelines in the USAM for the search

of premises of a subject attorney by, among other things, consulting with the Department of

Justice’s Office of Enforcement Operations, implementing safeguard procedures in the warrant

and during the execution of searches, and considering and rejecting “less intrusive means.” Id.

       The USAO-SDNY had good cause to execute search warrants at Cohen’s premises and

seize certain electronic devices, in lieu of “less intrusive means.” Id.




                                                             Accordingly, the nature of the USAO-

SDNY’s investigation and the nature of the offenses—which sound in fraud and evidence a lack

of truthfulness—weighed heavily in favor of the USAO-SDNY’s decision to execute search

warrants. Furthermore, in the course of its investigation, the USAO-SDNY has learned that




                                                                           As a result, absent a

search warrant, these records could have been deleted without record, and without recourse for

the law enforcement. 7



       7
         The service of a subpoena also necessarily implicates the Fifth Amendment’s act-of-
production privilege. “[A]lthough the Fifth Amendment may protect an individual from
complying with a subpoena for the production of his personal records in his possession because


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       That Cohen cites to his purported cooperation with Congressional investigations does not

alter that conclusion. It appears that Cohen was not a target of those investigations.

Additionally, while Cohen claims in his motion to have been cooperative, he offers no support

for this assertion. Publicly, Cohen suggested the opposite, telling Time Magazine that he

declined a voluntary request from Congress because it was “too broad.” See Alana Abramson,

House Intelligence Committee Issues Subpoenas for Michael Cohen and Michael Flynn, Time

(May 31, 2017), https://www.cnn.com/2018/04/10/politics/michael-cohen-fbi-raid/index.html.

       Cohen also states that the SCO “had requested that the Trump Organization produce all

of Mr. Cohen’s communications that were within the Trump Organization’s custody, possession,

or control,” and that Cohen objected “on the grounds that [the request] called for production of

privileged communications, among other things.” (Br. 8-9). Although in the ordinary course, the

USAO-SDNY would not comment on investigative requests or demands made to third parties,

particularly those from a separate office undertaking its own, independent investigation, in light

of the representations made by Cohen’s counsel, USAO-SDNY contacted the SCO about these

representations and understands they are not accurate. In particular, the SCO did not request that

the Trump Organization produce “all communications” by Cohen in the Trump Organization’s



the very act of production may constitute a compulsory authentication of incriminating
information, a seizure of the same materials by law enforcement officers differs in a crucial
respect [that] the individual against whom the search is directed is not required to aid in the
discovery, production, or authentication of incriminating evidence.” Andresen v. Maryland, 427
U.S. 463, 473-74 (1976). Had the USAO-SDNY served Cohen with a subpoena, he may have
been entitled to asset a Fifth Amendment objection to compliance. Indeed, in civil litigation
involving Cohen, he has invoked the Fifth Amendment to obtain a stay. See David Voreacos,
Trump Lawyer Cohen Says He Intends to Seek Halt to Stormy Daniels Case, Bloomberg (Apr.
12, 2018), https://www.bloomberg.com/news/articles/2018-04-12/trump-lawyer-cohen-intends-
to-seek-halt-to-stormy-daniels-case. Cohen has given no indication of how he would have
responded to a grand jury subpoena, but to the extent his response would have been consistent
with his recent filing in the civil litigation, it is an additional reason why service of a subpoena
would have been futile.


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possession or control irrespective of subject matter or privilege. Indeed, the request made by the

SCO was considerably narrower, and specifically omitted, among other things, any documents

that were protected by privilege or of a purely personal nature. Cohen nonetheless objected to

that request for documents and, after discussions between Cohen’s counsel and the SCO, the

SCO decided not to seek production at that time. That Cohen sought to preclude the Trump

Organization from producing these third party communications belies both (i) his general

assertion of cooperation, and (ii) his stated principal interest in protecting attorney-client

communications. Indeed, a careful review of Cohen’s motion papers reveals that he does not

purport to have personally produced any documents to the SCO.

       Lastly, Cohen argues that the USAM suggests that a special master should be appointed

here. As discussed below, the appointment of a special master is neither required nor appropriate

in these circumstances. The USAM does not alter that analysis. It merely lists a special master,

along with, notably, “a privilege team,” as one possible reviewer of potentially privileged

material. See USAM § 9-13.420(F). There is nothing in the USAM that expresses a preference

for review of potentially privileged material by a special master, or that indicates that use of a

special master is necessary here.

       3. Cohen Offers No Support for His Request to View the Seized Materials First

       Cohen advances the novel proposition, without any precedent or legal basis, that Cohen’s

own counsel should undertake the initial review of the returns of lawfully executed search

warrants. The USAO is aware of no precedent for such an unconventional practice. This Court




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should not accept Cohen’s invitation to make new law and convert a duly authorized search

warrant into a subpoena.

       The two cases Cohen cites do not support his proposed approach. One, a case from the

District of Kansas, involved a motion for the return of property seized during a search warrant.

The court granted that motion, after finding that “the seizure in question grossly exceeded the

scope of the search warrant.” Matter of 636 S. 66th Terrace, Kansas City, Kan., 835 F. Supp.

1304 (D. Kan. 1993). The second case relied on by Cohen involved a search that the court

described as a “government rampage” that “potentially or actually invaded the privacy of every

client of the . . . firm.” See Klitzman, Klitzman and Gallagher v. Krut, 744 F.2d 955, 961 (3d

Cir. 1984). Critically, in that case, the court found that “the government took not one step to

minimize the extent of the search or to prevent the invasion of the clients’ privacy guaranteed by

the attorney-client privilege.” Id. Here, by contrast, the USAO-SDNY and FBI did not seek

broad authority to seize all files of a law firm, but rather specific categories of documents for

which probable cause existed. Moreover, as discussed herein, the USAO-SDNY and FBI have

established a rigorous protocol to honor the attorney-client privilege. In no way do either of

these cases stand for the novel proposition for which they are cited.

       In attempting to align this case with these precedents, Cohen briefly suggests that the

seizure of materials from his premises was overbroad. But unlike in Matter of 636 S. 66th

Terrance and Klitzman, the search warrants here were narrowly tailored. Cohen claims that the

seized materials contain privileged documents relating to communications with President Trump

and other clients. That suggestion, though, as noted above, is undermined by the fact that Cohen

apparently rarely emailed with President Trump, and has identified no other clients with whom

he has an attorney-client relationship. In fact, when questioned about this very issues, Cohen’s




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counsel declined to identify Cohen’s other clients, and instead chose to file this motion.

Similarly, as noted above, Cohen exaggerates the extent to which he had an attorney-client

relationship with the law firm described above.

       Cohen also suggests that the USAO-SDNY seized personal communications with

Cohen’s family and medical records. Notably, this assertion does not appear in the sworn

affidavit of Cohen’s counsel, Todd Harrison, and to the extent the unsworn claim is true, it is

likely because such records exist on Cohen’s electronic devices, which were expressly covered

by the search warrants. Thus, Cohen’s claims of over-seizure are overblown. And to the extent

records covered by the attorney-client privilege were seized during the searches, they will be

reviewed, as described herein, pursuant to a rigorous filter protocol.

       Cohen’s novel proposal would set a dangerous precedent. It would permit subjects or

targets of an investigation, who have not yet been indicted, to delay government investigations

into their criminal conduct by giving them, and not the government, the authority to make a

unilateral determination not only of what is privileged, but also of what is “responsive” to the

warrant. See Br. at 1 (asking the court to “have all seized items be made available to Mr.

Cohen’s counsel to conduct a review of the documents in the first instance and produce to the

government all responsive, non-privileged items”). Cohen provides no suggestions how as to

how the USAO-SDNY would ever be able to challenge defense counsel’s representation of a

document as non-responsive. Given that the crimes being investigated involve acts of

concealment by Cohen, the USAO-SDNY sought and obtained a search warrant – rather than

using a subpoena – so that it would not have have to rely on Cohen to accurately make such a

production. See United States v. Roberts, 852 F.2d 671, 676 (2d Cir. 1988) (“[W]e can deplore

but not ignore the possibility that the recipient of a subpoena may falsely claim to have lost or




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destroyed the documents called for, or may even deliberately conceal or destroy them after

service of the subpoena.”).

       Moreover, even were Cohen to narrow his request to focus only on privilege

determinations, his already demonstrably overbroad claims of privilege evidence that this would

result in extensive delay and will prevent law enforcement from seeing evidence to which it is

entitled. This Court should not permit Cohen to stall the investigation of his conduct in this

manner. See United States v. Bilzerian, 926 F.2d 1285, 12923 (2d Cir. 1991) (“[T]he attorney-

client privilege cannot at once be used as a shield and a sword. A defendant may not use the

privilege to prejudice his opponent’s case or to disclose some selected communications for self-

serving purposes.” (internal citations omitted)).

       4. The Court Should Not Appoint a Special Master

       As an alternative, Cohen argues that the Court should appoint a special master to conduct

the privilege review. The Court should deny this alternative request.

       Cohen principally relies on United States v. Stewart. But as the foregoing establishes,

this case is fundamentally different from Stewart. Stewart was a criminal defense attorney who

represented numerous defendants being prosecuted by the USAO-SDNY. She shared an office

with other criminal defense attorneys who similarly represented numerous defendants being

prosecuted by the USAO-SDNY. When agents executed a search warrant on her office, they

seized files not just from her own office, but also hard drives and networking hardware from

common areas of the office that had been used by other attorneys. 2002 WL 1300059, at *3.

This fact raised significant Sixth Amendment concerns for numerous defendants in pending

criminal cases, as multiple courts have recognized in distinguishing Stewart. See, e.g., United

States v. Grant, No. 04 Cr. 207 (BSJ), 2004 WL 1171258, at *3 (S.D.N.Y. May 25, 2004)




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(“[U]nlike the situation in Stewart, there are no Sixth Amendment concerns in this case. The

seized documents were not in the files of a criminal defense lawyer, and relate to civil, not

criminal, litigation that predates the indictment in this case.”); United States v. Kaplan, No. 02

Cr. 883 (DAB), 2003 WL 22880914, at *11 (S.D.N.Y. Dec. 5, 2003) (“Stewart is of little aid to

the Defendant here, since in this case Defendant is a civil litigation attorney, the seized files are

materials pertaining to civil cases, and the Sixth Amendment concerns implicated in Stewart are

clearly not present here.”).

       Here, unlike in Stewart, Cohen appears to practice only civil law, such that no Sixth

Amendment concerns are raised by the seizure of any of his client files. In addition, for the reasons

set forth above, there is reason to believe that Cohen has few actual representations, and that the

amount of potentially privileged material as to those representation will be low. Moreover, to the

extent that any privileged documents were seized in this case, they were seized from Cohen – the

person whose conduct gave rise to the federal magistrate judge’s finding that there was probable

cause to believe the premises contained evidence of federal crimes. This is significant: In National

City Trading Corp. v. United States, 635 F.2d 1020 (2d Cir. 1980), the Second Circuit denied a

motion for return of property where materials were seized from a business that included an

attorney’s office. In describing the reasonableness of the search, the Second Circuit pointed out

that the facts were distinguishable from cases where a warrant is issued to search a lawyer’s office

to obtain evidence of a client’s criminal activity. In National City, “the lawyer actually permitted

the allegedly criminal business operation to take place at his office.” Id. at 1025. Here, the warrant




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authorized seizure of materials from Cohen, because the judge found probable cause to believe

that such materials would include evidence of Cohen’s own crimes.

       Moreover, Stewart was exceptional because the search swept-up files for multiple

criminal defendants with cases pending before the USAO-SDNY, which was the office

investigating Stewart herself. There was thus no way for the USAO to effectively establish a

filter team, because the filter AUSAs may well have had cases involving the clients (whose

names were unknown to the USAO-SDNY) of the other attorneys in the defendant’s law suite.

Thus, the filter attorneys might have inadvertantly been exposed to the privileged files of the

very defendants they were prosecuting. 2002 WL 1300059, at *7. No such concern exists here,

where Cohen is not a criminal lawyer at all, let alone in any pending criminal case in this Court.

       Appointment of a special master would also run the risk of creating significant delay in an

ongoing criminal investigation, as even the author of Stewart recognized. In the related case of

United States v. Sattar, the defendants asked Judge Koeltl to appoint another special master for a

different privilege review. Judge Koeltl denied the request, noting that the appointment of a special

master would cause “undue delay,” and lamenting that the special master in Stewart was appointed

in June 2002 but had yet, as of September 15, 2003 – 15 months later – to prepare a report. 2003




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WL 22137012, at *22 (S.D.N.Y. Sept. 15, 2003). Such a delay in this case would unacceptably

prolong and impede an ongoing criminal investigation in a case of national interest.

         This case is thus a far cry from Stewart, and is more in line with the cases in this District

that have approved the use of a Filter Team, such as Grant and Winters, described above. This

Court should not deviate from this common, well-accepted practice.

                                       CONCLUSION

         For the reasons set forth above, the Government respectfully requests that the Court deny

Cohen’s motion. 8

Dated:       April 13, 2018
             New York, New York

                                                Respectfully submitted,

                                                ROBERT S. KHUZAMI
                                                Attorney for the United States,
                                                Acting Under Authority Conferred
                                                by 28 U.S.C. § 515


                                     By:
                                                Thomas A. McKay
                                                Rachel Maimin
                                                Nicolas Roos
                                                Assistant United States Attorneys




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       In light of the Court’s order, dated April 12, 2018, addressing Cohen’s sealing request,
the USAO does not respond herein to Cohen’s request for sealing.


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                  EXHIBIT 4
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  [Not Virus Scanned] [Not Virus Scanned] Adams:
  additional requested information
  From:    Ann.Bildtsen@usdoj.gov
  To:      LWade@wc.com, GMaier@wc.com
  Cc:
  Sent:    2/2/2018 5:27:10 PM
                        2008 Amended Adams.pdf      2009 Amended Adams.pdf
                        2010 Amended Adams.pdf      MN Rev Correspondence dated 8-24-11.pdf
  Attachments:
                        MN Rev Correspondence dated 10-11-11.pdf   Embedded email.pdf
                        2007 Amended Adams.pdf

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protected data. Please ensure you know who the message is coming from and that it is virus
scanned by your desktop antivirus software.
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protected data. Please ensure you know who the message is coming from and that it is virus
scanned by your desktop antivirus software.
Lance and Gloria:

I understand that you requested the dates the prosecution team provided certain information to Criminal
Investigator Brandon Belich in this matter. I can provide the following:

    1) On 1/5/18 I produced to you a pdf file titled 1.31.09 email. Postal Inspector Kroells provided this
       email to Belich on 3/15/16.
    2) On 1/5/18 I produced to you a pdf file titled 1.30.09 emails. Postal Inspector Kroells provided these
       emails to Belich on 3/15/16.
    3) On 1/5/18 I produced to you a pdf file titled Additional 21 pages #1. AUSA David Maria provided this
       information to Belich on the following dates:
           a. Page 1: 5/5/16
           b. Pages 2 3: 10/11/16
           c. Pages 4 7: 5/25/16
           d. Pages 8 11: 1/20/17
           e. Pages 12 22: 9/7/16.

Finally, I attach 7 additional pdfs. AUSA Maria provided these materials to Belich on 9/7/16. I redacted a
portion of the file titled Embedded email containing AUSA Marias correspondence to Belich.

I am not copying the prosecution team on this email, but will share with them the cover email without the
attachments.

I am sending this email securely. Please let me know if you have any questions. Thank you.

Ann M. Bildtsen | Assistant United States Attorney




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Deputy Civil Chief
                                                                                  Logout
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                  EXHIBIT 7
                             CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 86 of 203
U.S. v. Adams            Log Showing Documents Outside the Scope of the Warrant (Personal or Family) Viewed Three or More Times


Name       Action   Object Type   User Name            Timestamp                 Details
00000116   View     Document      Khan, Jennifer       7/8/2016 3:32:15 PM EDT
00000116   View     Document      Maria, David         5/27/2016 12:40:24 PM EDT
00000116   View     Document      Maria, David         8/30/2016 2:53:06 PM EDT
00030889   View     Document      Kroells, Christine   5/11/2016 4:16:08 PM EDT
00030889   View     Document      Maria, David         5/20/2016 10:00:20 AM EDT
                                                                                 <Message><![CDATA[The print dialog box was invoked for
00030889   Print    Document      Maria, David         5/20/2016 10:04:55 AM EDT Viewer.]]></Message>
00031991   View     Document      Kroells, Christine   5/10/2016 2:34:43 PM EDT
00031991   View     Document      Maria, David         9/19/2016 11:05:36 AM EDT
00031991   View     Document      Maria, David         10/17/2016 5:19:17 PM EDT
00215682   View     Document      Kroells, Christine   5/11/2016 5:05:36 PM EDT
00215682   View     Document      Maria, David         5/4/2016 3:27:24 PM EDT
00215682   View     Document      Maria, David         9/23/2016 9:48:42 AM EDT
00231205   View     Document      Maria, David         5/4/2016 3:56:07 PM EDT
00231205   View     Document      Maria, David         9/23/2016 9:49:42 AM EDT
00231205   View     Document      Maria, David         9/23/2016 9:49:46 AM EDT
                                                                                 <Message><![CDATA[The print dialog box was invoked for
00231205   Print    Document      Maria, David         9/23/2016 9:50:48 AM EDT Viewer.]]></Message>
00231254   View     Document      Maria, David         5/4/2016 3:56:55 PM EDT
00231254   View     Document      Maria, David         5/4/2016 3:57:01 PM EDT
00231254   View     Document      Maria, David         9/23/2016 9:49:44 AM EDT
00231254   View     Document      Maria, David         9/23/2016 9:57:14 AM EDT
00231290   View     Document      Maria, David         5/4/2016 3:56:58 PM EDT
00231290   View     Document      Maria, David         5/4/2016 3:57:37 PM EDT
00231290   View     Document      Maria, David         9/23/2016 9:57:22 AM EDT
00233130   View     Document      Maria, David         5/4/2016 3:57:56 PM EDT
00233130   View     Document      Maria, David         5/4/2016 3:57:59 PM EDT
00233130   View     Document      Maria, David         9/23/2016 9:57:42 AM EDT
00233166   View     Document      Maria, David         5/4/2016 3:57:57 PM EDT
00233166   View     Document      Maria, David         5/4/2016 3:58:08 PM EDT
00233166   View     Document      Maria, David         9/23/2016 9:57:45 AM EDT
00236493   View     Document      Kroells, Christine   5/31/2016 11:07:54 AM EDT
00236493   View     Document      Kroells, Christine   5/31/2016 11:07:58 AM EDT
00236493   View     Document      Kroells, Christine   5/31/2016 11:09:24 AM EDT
00265191   View     Document      Maria, David         5/4/2016 4:00:48 PM EDT
00265191   View     Document      Maria, David         5/4/2016 4:00:54 PM EDT
00265191   View     Document      Maria, David         9/23/2016 9:59:39 AM EDT



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U.S. v. Adams            Log Showing Documents Outside the Scope of the Warrant (Personal or Family) Viewed Three or More Times


Name       Action   Object Type   User Name            Timestamp                 Details
00269550   View     Document      Kroells, Christine   5/5/2016 2:48:12 PM EDT
00269550   View     Document      Kroells, Christine   11/17/2016 1:03:19 PM EST
00269550   View     Document      Kroells, Christine   11/17/2016 1:40:39 PM EST
00269550   View     Document      Kroells, Christine   11/17/2016 1:40:47 PM EST
00271138   View     Document      Kroells, Christine   5/5/2016 2:51:30 PM EDT
00271138   View     Document      Kroells, Christine   11/17/2016 1:16:57 PM EST
00271138   View     Document      Kroells, Christine   11/17/2016 1:17:34 PM EST
00302963   View     Document      Maria, David         5/4/2016 4:08:36 PM EDT
00302963   View     Document      Maria, David         9/23/2016 10:22:46 AM EDT
00302963   View     Document      Maria, David         1/23/2017 10:25:21 AM EST
00302985   View     Document      Maria, David         5/4/2016 4:08:44 PM EDT
00302985   View     Document      Maria, David         9/23/2016 10:22:49 AM EDT
00302985   View     Document      Maria, David         1/23/2017 10:25:25 AM EST
00307049   View     Document      Maria, David         5/4/2016 4:08:48 PM EDT
00307049   View     Document      Maria, David         9/23/2016 10:22:56 AM EDT
00307049   View     Document      Maria, David         1/23/2017 10:25:30 AM EST
00309857   View     Document      Maria, David         5/4/2016 4:09:05 PM EDT
00309857   View     Document      Maria, David         9/23/2016 10:23:14 AM EDT
00309857   View     Document      Maria, David         1/23/2017 10:25:46 AM EST
00312574   View     Document      Maria, David         5/4/2016 4:09:10 PM EDT
00312574   View     Document      Maria, David         9/23/2016 10:23:17 AM EDT
00312574   View     Document      Maria, David         1/23/2017 10:25:48 AM EST
00321944   View     Document      Maria, David         5/4/2016 4:09:11 PM EDT
00321944   View     Document      Maria, David         9/23/2016 10:23:20 AM EDT
00321944   View     Document      Maria, David         1/23/2017 10:25:50 AM EST
00336261   View     Document      Kroells, Christine   5/10/2016 4:06:50 PM EDT
00336261   View     Document      Maria, David         9/16/2016 3:41:13 PM EDT
00336261   View     Document      Maria, David         9/19/2016 11:41:20 AM EDT
00337541   View     Document      Maria, David         5/4/2016 4:09:21 PM EDT
00337541   View     Document      Maria, David         9/23/2016 10:23:32 AM EDT
00337541   View     Document      Maria, David         1/23/2017 10:26:00 AM EST
00337963   View     Document      Maria, David         5/4/2016 4:09:23 PM EDT
00337963   View     Document      Maria, David         9/23/2016 10:23:36 AM EDT
00337963   View     Document      Maria, David         1/23/2017 10:26:03 AM EST
00342602   View     Document      Maria, David         10/17/2016 6:05:04 PM EDT
00342602   View     Document      Maria, David         10/18/2016 5:04:55 PM EDT
00342602   View     Document      Maria, David         10/19/2016 9:42:24 AM EDT



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                  EXHIBIT 8
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U.S. v. Adams              Log Showing Documents Outside the Scope of the Warrant (Non Apollo Business Ventures) Viewed Three or More Times


Name            Action   Object Type   User Name             Timestamp                     Details
00002698        View     Document      Kroells, Christine    5/17/2016 11:17:34 AM EDT
00002698        View     Document      Maria, David          5/17/2016 1:29:02 PM EDT
00002698        View     Document      Maria, David          1/10/2017 11:09:17 AM EST
00002735        View     Document      Maria, David          5/4/2016 3:12:53 PM EDT
00002735        View     Document      Maria, David          1/23/2017 10:20:29 AM EST
00005246        View     Document      Khan, Jennifer        5/5/2016 2:13:01 PM EDT
00005246        View     Document      Kroells, Christine    5/5/2016 1:06:29 PM EDT
00005246        View     Document      Kroells, Christine    5/5/2016 1:09:56 PM EDT
00005246        View     Document      Kroells, Christine    5/5/2016 1:15:23 PM EDT
00009046        View     Document      Kroells, Christine    5/31/2016 10:47:48 AM EDT
00009046        View     Document      Maria, David          5/24/2016 9:43:05 AM EDT
00009046        View     Document      Maria, David          10/17/2016 10:22:43 AM EDT
00030985        View     Document      Kroells, Christine    11/29/2016 4:07:33 PM EST
00030985        View     Document      Maria, David          5/25/2016 3:39:08 PM EDT
00030985        View     Document      Maria, David          5/25/2016 3:41:44 PM EDT
00030985        View     Document      Maria, David          5/25/2016 4:18:46 PM EDT
00030985        View     Document      Maria, David          5/25/2016 4:25:14 PM EDT
00030996        View     Document      Kroells, Christine    5/12/2016 2:58:16 PM EDT
00030996        View     Document      Kroells, Christine    11/29/2016 4:13:05 PM EST
00030996        View     Document      Maria, David          5/25/2016 3:39:51 PM EDT
00030996        View     Document      Maria, David          5/25/2016 4:11:36 PM EDT
00030996        View     Document      Maria, David          5/25/2016 4:18:58 PM EDT
00030996        View     Document      Maria, David          5/25/2016 4:25:25 PM EDT
00030996        View     Document      Maria, David          6/6/2016 11:32:55 AM EDT
00031000        View     Document      Kroells, Christine    5/12/2016 2:58:21 PM EDT
00031000        View     Document      Kroells, Christine    11/29/2016 4:14:50 PM EST
00031000        View     Document      Maria, David          5/25/2016 3:39:54 PM EDT
00031000        View     Document      Maria, David          5/25/2016 4:13:22 PM EDT
00031000        View     Document      Maria, David          5/25/2016 4:19:01 PM EDT
00031000        View     Document      Maria, David          5/25/2016 4:25:26 PM EDT
00043195        View     Document      Maria, David          5/4/2016 3:13:26 PM EDT
00043195        View     Document      Maria, David          9/23/2016 9:44:31 AM EDT
00043195        View     Document      Maria, David          1/23/2017 10:21:18 AM EST
00062085        View     Document      Maria, David          5/4/2016 3:26:17 PM EDT
00062085        View     Document      Maria, David          9/23/2016 9:47:22 AM EDT
00062091        View     Document      Maria, David          5/4/2016 3:26:20 PM EDT
00062091        View     Document      Maria, David          9/23/2016 9:47:25 AM EDT
00067498        View     Document      Maria, David          5/4/2016 3:26:26 PM EDT
00067498        View     Document      Maria, David          9/23/2016 9:47:29 AM EDT



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U.S. v. Adams              Log Showing Documents Outside the Scope of the Warrant (Non Apollo Business Ventures) Viewed Three or More Times


Name            Action   Object Type   User Name             Timestamp                     Details
00080582        View     Document      Kroells, Christine    5/5/2016 2:23:53 PM EDT
00080582        View     Document      Maria, David          5/5/2016 11:19:08 AM EDT
00080582        View     Document      Maria, David          10/5/2016 3:55:37 PM EDT
00094956        View     Document      Kroells, Christine    5/5/2016 2:24:24 PM EDT
00094956        View     Document      Maria, David          5/5/2016 11:19:48 AM EDT
00094956        View     Document      Maria, David          10/5/2016 3:57:08 PM EDT
00098374        View     Document      Maria, David          5/4/2016 3:26:42 PM EDT
00098374        View     Document      Maria, David          9/23/2016 9:47:40 AM EDT
00098374        View     Document      Maria, David          9/23/2016 9:47:52 AM EDT
00098458        View     Document      Kroells, Christine    5/5/2016 2:24:47 PM EDT
00098458        View     Document      Maria, David          5/5/2016 11:20:13 AM EDT
00098458        View     Document      Maria, David          10/5/2016 3:57:13 PM EDT
00098460        View     Document      Kroells, Christine    5/5/2016 2:24:56 PM EDT
00098460        View     Document      Maria, David          5/5/2016 11:20:23 AM EDT
00098460        View     Document      Maria, David          10/5/2016 3:57:19 PM EDT
00098464        View     Document      Kroells, Christine    5/5/2016 2:25:02 PM EDT
00098464        View     Document      Maria, David          5/5/2016 11:20:31 AM EDT
00098464        View     Document      Maria, David          10/5/2016 3:57:23 PM EDT
00155837        View     Document      Maria, David          5/4/2016 3:26:54 PM EDT
00155837        View     Document      Maria, David          5/4/2016 3:27:03 PM EDT
00155837        View     Document      Maria, David          9/23/2016 9:48:03 AM EDT
00170538        View     Document      Kroells, Christine    5/11/2016 3:36:04 PM EDT
00170538        View     Document      Kroells, Christine    5/12/2016 3:41:50 PM EDT
00170538        View     Document      Kroells, Christine    5/12/2016 3:42:14 PM EDT
00170538        View     Document      Maria, David          9/19/2016 11:22:15 AM EDT
00191267        View     Document      Maria, David          5/5/2016 11:24:08 AM EDT
00191267        View     Document      Maria, David          5/5/2016 11:24:12 AM EDT
00191267        View     Document      Maria, David          9/19/2016 11:22:38 AM EDT
00192362        View     Document      Maria, David          5/5/2016 11:24:09 AM EDT
00192362        View     Document      Maria, David          5/5/2016 11:24:26 AM EDT
00192362        View     Document      Maria, David          9/19/2016 11:22:40 AM EDT
00196437        View     Document      Kroells, Christine    5/5/2016 2:26:47 PM EDT
                                                                                           <Message><![CDATA[The print dialog box was invoked for
00196437        Print    Document      Kroells, Christine    5/5/2016 2:28:26 PM EDT       Viewer.]]></Message>
00196437        View     Document      Kroells, Christine    5/5/2016 3:05:31 PM EDT
00196437        View     Document      Kroells, Christine    5/5/2016 3:16:21 PM EDT
00196437        View     Document      Kroells, Christine    5/11/2016 5:05:32 PM EDT
00196437        View     Document      Kroells, Christine    6/28/2016 11:22:40 AM EDT
00196437        View     Document      Maria, David          5/9/2016 4:34:02 PM EDT



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U.S. v. Adams              Log Showing Documents Outside the Scope of the Warrant (Non Apollo Business Ventures) Viewed Three or More Times


Name            Action   Object Type   User Name             Timestamp                     Details
00196437        View     Document      Maria, David          5/9/2016 4:34:05 PM EDT
00196437        View     Document      Maria, David          5/25/2016 11:05:38 AM EDT
00196437        View     Document      Maria, David          8/30/2016 3:44:45 PM EDT
00202953        View     Document      Kroells, Christine    5/10/2016 4:21:19 PM EDT
00202953        View     Document      Maria, David          9/19/2016 11:24:08 AM EDT
00202953        View     Document      Maria, David          9/19/2016 11:24:14 AM EDT
00202953        View     Document      Maria, David          10/5/2016 4:30:17 PM EDT
00204490        View     Document      Kroells, Christine    5/31/2016 12:13:09 PM EDT
00204490        View     Document      Maria, David          5/5/2016 5:00:04 PM EDT
00204490        View     Document      Maria, David          5/9/2016 4:34:04 PM EDT
00204490        View     Document      Maria, David          5/9/2016 4:35:19 PM EDT
00214875        View     Document      Kroells, Christine    5/10/2016 2:38:07 PM EDT
00214875        View     Document      Kroells, Christine    5/10/2016 3:08:14 PM EDT
00214875        View     Document      Kroells, Christine    5/10/2016 5:08:34 PM EDT
00214875        View     Document      Kroells, Christine    5/10/2016 5:10:50 PM EDT
00214875        View     Document      Kroells, Christine    5/11/2016 3:36:08 PM EDT
00214875        View     Document      Kroells, Christine    5/11/2016 5:05:34 PM EDT
00214875        View     Document      Kroells, Christine    5/12/2016 3:42:18 PM EDT
00214875        View     Document      Maria, David          9/7/2016 1:40:46 PM EDT
00214875        View     Document      Maria, David          9/19/2016 11:24:38 AM EDT
00234106        View     Document      Maria, David          5/17/2016 1:44:16 PM EDT
00234106        View     Document      Maria, David          9/7/2016 1:41:58 PM EDT
00234106        View     Document      Maria, David          9/19/2016 11:25:33 AM EDT
00247910        View     Document      Kroells, Christine    5/11/2016 5:05:43 PM EDT
00247910        View     Document      Kroells, Christine    5/31/2016 12:13:52 PM EDT
00247910        View     Document      Maria, David          9/7/2016 1:41:09 PM EDT
00250985        View     Document      Maria, David          8/30/2016 3:52:35 PM EDT
00250985        View     Document      Maria, David          8/30/2016 3:52:42 PM EDT
00250985        View     Document      Maria, David          8/30/2016 3:52:50 PM EDT
00271715        View     Document      Maria, David          5/5/2016 11:33:12 AM EDT
00271715        View     Document      Maria, David          9/23/2016 9:43:11 AM EDT
00271715        View     Document      Maria, David          10/5/2016 4:37:17 PM EDT
00271719        View     Document      Maria, David          5/5/2016 11:33:26 AM EDT
00271719        View     Document      Maria, David          9/23/2016 9:43:31 AM EDT
00271719        View     Document      Maria, David          10/5/2016 4:37:33 PM EDT
00280384        View     Document      Maria, David          5/5/2016 11:35:30 AM EDT
00280384        View     Document      Maria, David          9/16/2016 2:42:02 PM EDT
00280384        View     Document      Maria, David          10/5/2016 4:40:02 PM EDT
00290923        View     Document      Maria, David          5/4/2016 4:07:29 PM EDT



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U.S. v. Adams              Log Showing Documents Outside the Scope of the Warrant (Non Apollo Business Ventures) Viewed Three or More Times


Name            Action   Object Type   User Name             Timestamp                     Details
00290923        View     Document      Maria, David          9/23/2016 10:22:24 AM EDT
00290923        View     Document      Maria, David          1/23/2017 10:24:54 AM EST
00293404        View     Document      Kroells, Christine    5/5/2016 3:27:46 PM EDT
00293404        View     Document      Kroells, Christine    5/5/2016 3:28:23 PM EDT
00293404        View     Document      Kroells, Christine    5/5/2016 3:28:31 PM EDT
00293615        View     Document      Maria, David          5/4/2016 4:31:49 PM EDT
00293615        View     Document      Maria, David          5/4/2016 4:31:52 PM EDT
00293615        View     Document      Maria, David          5/4/2016 4:32:11 PM EDT
00299657        View     Document      Kroells, Christine    5/12/2016 3:17:27 PM EDT
00299657        View     Document      Kroells, Christine    5/12/2016 3:18:50 PM EDT
00299657        View     Document      Kroells, Christine    5/12/2016 3:19:10 PM EDT
00299657        View     Document      Kroells, Christine    5/12/2016 3:20:29 PM EDT
00303659        View     Document      Maria, David          5/4/2016 4:08:45 PM EDT
00303659        View     Document      Maria, David          9/23/2016 10:22:53 AM EDT
00303659        View     Document      Maria, David          1/23/2017 10:25:27 AM EST
00310636        View     Document      Maria, David          5/5/2016 11:41:40 AM EDT
00310636        View     Document      Maria, David          10/5/2016 4:47:04 PM EDT
00310636        View     Document      Maria, David          10/17/2016 11:33:42 AM EDT
00310666        View     Document      Maria, David          5/5/2016 11:41:42 AM EDT
00310666        View     Document      Maria, David          10/5/2016 4:47:09 PM EDT
00310666        View     Document      Maria, David          10/17/2016 11:33:44 AM EDT
00312961        View     Document      Maria, David          5/5/2016 11:41:43 AM EDT
00312961        View     Document      Maria, David          5/25/2016 12:31:04 PM EDT
00312961        View     Document      Maria, David          10/5/2016 4:47:21 PM EDT
00325300        View     Document      Kroells, Christine    5/5/2016 3:19:46 PM EDT
00325300        View     Document      Kroells, Christine    11/29/2016 9:36:42 AM EST
00325300        View     Document      Kroells, Christine    11/29/2016 9:41:57 AM EST
00325405        View     Document      Kroells, Christine    5/5/2016 3:19:50 PM EDT
00325405        View     Document      Kroells, Christine    11/29/2016 9:40:00 AM EST
00325405        View     Document      Kroells, Christine    11/29/2016 9:41:02 AM EST
00326752        View     Document      Kroells, Christine    5/5/2016 3:20:32 PM EDT
00326752        View     Document      Kroells, Christine    5/5/2016 3:20:41 PM EDT
00326752        View     Document      Kroells, Christine    11/29/2016 11:33:29 AM EST
00327226        View     Document      Kroells, Christine    5/5/2016 3:20:34 PM EDT
00327226        View     Document      Kroells, Christine    5/5/2016 3:20:45 PM EDT
00327226        View     Document      Kroells, Christine    11/29/2016 11:52:55 AM EST
00334701        View     Document      Kroells, Christine    5/31/2016 12:16:58 PM EDT
00334701        View     Document      Maria, David          5/4/2016 4:37:31 PM EDT
00334701        View     Document      Maria, David          5/9/2016 4:45:18 PM EDT



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U.S. v. Adams              Log Showing Documents Outside the Scope of the Warrant (Non Apollo Business Ventures) Viewed Three or More Times


Name            Action   Object Type   User Name             Timestamp                     Details
00334701        View     Document      Maria, David          5/9/2016 4:45:24 PM EDT
00334701        View     Document      Maria, David          6/27/2016 2:39:35 PM EDT
00339159        View     Document      Maria, David          5/25/2016 4:28:52 PM EDT
00339159        View     Document      Maria, David          5/25/2016 4:29:10 PM EDT
00339159        View     Document      Maria, David          6/27/2016 2:50:47 PM EDT
00339641        View     Document      Maria, David          5/4/2016 4:09:24 PM EDT
00339641        View     Document      Maria, David          9/23/2016 10:23:39 AM EDT
00339641        View     Document      Maria, David          1/23/2017 10:26:05 AM EST
00355531        View     Document      Kroells, Christine    5/31/2016 11:35:27 AM EDT
00355531        View     Document      Kroells, Christine    5/31/2016 11:38:38 AM EDT
00355531        View     Document      Maria, David          5/9/2016 4:29:25 PM EDT
00356764        View     Document      Kroells, Christine    5/5/2016 3:28:40 PM EDT
00356764        View     Document      Kroells, Christine    5/5/2016 3:28:48 PM EDT
00356764        View     Document      Kroells, Christine    5/5/2016 3:29:02 PM EDT
                                                                                           <Message><![CDATA[The print dialog box was invoked for
00356764        Print    Document      Kroells, Christine    5/5/2016 3:29:06 PM EDT       Viewer.]]></Message>
00358172        View     Document      Maria, David          10/20/2016 10:10:39 AM EDT
00358172        View     Document      Maria, David          10/20/2016 10:10:47 AM EDT
00358172        View     Document      Maria, David          10/20/2016 10:10:51 AM EDT




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                  EXHIBIT 9
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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00000110    View     Document       Maria, David         5/4/2016 11:27:21 AM EDT
00000110    View     Document       Maria, David         5/4/2016 11:27:47 AM EDT
00000110    View     Document       Maria, David         5/9/2016 3:58:20 PM EDT
00000110    View     Document       Maria, David         5/9/2016 4:15:47 PM EDT
00000110    View     Document       Kroells, Christine   5/10/2016 2:42:24 PM EDT
00000110    View     Document       Khan, Jennifer       7/8/2016 3:31:15 PM EDT
00000110    View     Document       Khan, Jennifer       7/13/2016 10:29:05 AM EDT
00000110    View     Document       Belich, Brandon      7/13/2016 12:29:52 PM EDT
00000110    View     Document       Maria, David         8/30/2016 2:52:24 PM EDT
00000110    View     Document       Maria, David         9/19/2016 10:04:07 AM EDT
00000114    View     Document       Maria, David         5/4/2016 11:49:45 AM EDT
00000114    View     Document       Khan, Jennifer       7/8/2016 3:31:37 PM EDT
00000114    View     Document       Khan, Jennifer       7/13/2016 10:29:15 AM EDT
00000114    View     Document       Maria, David         8/30/2016 2:52:41 PM EDT
00000122    View     Document       Maria, David         5/4/2016 11:28:07 AM EDT
00000122    View     Document       Maria, David         5/9/2016 3:59:33 PM EDT
00000122    View     Document       Kroells, Christine   5/10/2016 2:43:14 PM EDT
00000122    View     Document       Kroells, Christine   5/12/2016 3:44:25 PM EDT
00000122    View     Document       Khan, Jennifer       7/8/2016 3:34:18 PM EDT
00000122    View     Document       Maria, David         8/30/2016 2:53:41 PM EDT
00000122    View     Document       Maria, David         9/19/2016 10:04:19 AM EDT
00000125    View     Document       Maria, David         5/4/2016 11:50:28 AM EDT
00000125    View     Document       Khan, Jennifer       5/5/2016 3:18:06 PM EDT
00000125    View     Document       Khan, Jennifer       7/8/2016 3:35:26 PM EDT
00000125    View     Document       Maria, David         8/30/2016 2:53:43 PM EDT
00000145    View     Document       Khan, Jennifer       7/8/2016 3:36:43 PM EDT
00000145    View     Document       Maria, David         8/30/2016 2:54:09 PM EDT
00000145    View     Document       Maria, David         3/9/2017 10:39:11 AM EST
00000146    View     Document       Khan, Jennifer       7/8/2016 3:37:49 PM EDT
00000146    View     Document       Maria, David         8/30/2016 2:54:24 PM EDT
00000163    View     Document       Khan, Jennifer       7/8/2016 3:30:17 PM EDT
00000163    View     Document       Maria, David         8/30/2016 2:55:48 PM EDT
00000163    View     Document       Maria, David         3/1/2017 4:43:51 PM EST
00000192    View     Document       Maria, David         5/4/2016 11:28:20 AM EDT
00000192    View     Document       Maria, David         5/9/2016 3:59:44 PM EDT
00000192    View     Document       Kroells, Christine   5/10/2016 2:43:21 PM EDT
00000192    View     Document       Maria, David         9/19/2016 10:04:21 AM EDT
00000195    View     Document       Maria, David         3/1/2017 4:44:30 PM EST
00000205    View     Document       Maria, David         5/4/2016 11:28:22 AM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00000205    View     Document       Maria, David         5/9/2016 3:59:49 PM EDT
00000205    View     Document       Kroells, Christine   5/10/2016 2:43:26 PM EDT
00000205    View     Document       Maria, David         9/19/2016 10:04:23 AM EDT
00000205    View     Document       Maria, David         9/19/2016 10:04:26 AM EDT
00000219    View     Document       Kroells, Christine   5/5/2016 12:57:43 PM EDT
00000219    View     Document       Khan, Jennifer       5/5/2016 2:08:31 PM EDT
00000219    Print    Document       Khan, Jennifer       5/5/2016 2:09:19 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00000219    View     Document       Khan, Jennifer       5/5/2016 3:18:27 PM EDT
00000219    View     Document       Kroells, Christine   6/28/2016 12:09:40 PM EDT
00000219    View     Document       Kroells, Christine   6/28/2016 12:12:15 PM EDT
00000243    View     Document       Maria, David         5/4/2016 11:28:40 AM EDT
00000243    View     Document       Maria, David         5/9/2016 4:00:04 PM EDT
00000243    Print    Document       Maria, David         5/9/2016 4:00:28 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00000243    View     Document       Kroells, Christine   5/10/2016 2:44:00 PM EDT
                                                                                     <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                     LaserJet 4250 PCL
                                                                                     5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                     printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00000243    Print    Document       Kroells, Christine   5/10/2016 2:44:28 PM EDT    et>none</slipSheet></printDetails></auditElement>
00000243    View     Document       Maria, David         9/19/2016 10:04:25 AM EDT
00000243    View     Document       Maria, David         9/19/2016 10:04:36 AM EDT
00000293    View     Document       Maria, David         5/9/2016 4:00:35 PM EDT
00000293    View     Document       Kroells, Christine   5/10/2016 2:44:35 PM EDT
00000293    View     Document       Maria, David         9/19/2016 10:04:41 AM EDT
00000528    View     Document       Maria, David         5/4/2016 11:28:51 AM EDT
00000528    View     Document       Maria, David         5/9/2016 4:00:39 PM EDT
00000528    View     Document       Kroells, Christine   5/10/2016 2:44:45 PM EDT
00000528    View     Document       Maria, David         5/24/2016 10:16:43 AM EDT
00000528    View     Document       Maria, David         9/19/2016 10:04:46 AM EDT
00000528    Print    Document       Maria, David         9/19/2016 10:05:13 AM EDT   <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001027    View     Document       Maria, David         5/4/2016 11:29:05 AM EDT
00001027    View     Document       Maria, David         5/9/2016 4:01:05 PM EDT
00001027    View     Document       Kroells, Christine   5/10/2016 2:45:16 PM EDT
00001027    View     Document       Maria, David         9/19/2016 10:05:21 AM EDT
00001088    View     Document       Kroells, Christine   5/5/2016 12:58:04 PM EDT
00001088    Print    Document       Kroells, Christine   5/5/2016 12:58:38 PM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001088    View     Document       Khan, Jennifer       5/5/2016 2:38:36 PM EDT
00001088    Print    Document       Khan, Jennifer       5/5/2016 2:39:04 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001088    View     Document       Kroells, Christine   5/5/2016 3:08:49 PM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00001088    View     Document       Khan, Jennifer       5/5/2016 3:18:46 PM EDT
00001088    View     Document       Maria, David         5/27/2016 12:42:35 PM EDT
00001088    View     Document       Maria, David         5/27/2016 12:42:39 PM EDT
00001088    Print    Document       Maria, David         5/27/2016 12:42:54 PM EDT   <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001088    View     Document       Kroells, Christine   6/28/2016 12:11:26 PM EDT
00001088    View     Document       Kroells, Christine   6/28/2016 12:13:50 PM EDT
00001088    View     Document       Maria, David         10/17/2016 3:26:40 PM EDT
00001088    View     Document       Kroells, Christine   11/17/2016 2:47:28 PM EST
00001088    View     Document       Kroells, Christine   11/17/2016 2:56:33 PM EST
00001088    View     Document       Kroells, Christine   11/17/2016 2:57:25 PM EST
00001558    View     Document       Maria, David         5/4/2016 11:29:18 AM EDT
00001558    View     Document       Maria, David         5/9/2016 4:01:15 PM EDT
00001558    Print    Document       Maria, David         5/9/2016 4:01:25 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001558    View     Document       Kroells, Christine   5/10/2016 2:45:36 PM EDT
00001558    View     Document       Maria, David         9/19/2016 10:05:24 AM EDT
00001579    View     Document       Maria, David         5/4/2016 11:29:26 AM EDT
00001579    View     Document       Maria, David         5/9/2016 4:01:32 PM EDT
00001579    View     Document       Kroells, Christine   5/10/2016 2:45:55 PM EDT
00001579    View     Document       Kroells, Christine   5/12/2016 3:44:53 PM EDT
00001579    View     Document       Maria, David         9/19/2016 10:05:26 AM EDT
00001663    View     Document       Maria, David         5/5/2016 9:52:36 AM EDT
00001663    View     Document       Khan, Jennifer       5/5/2016 3:19:34 PM EDT
00001663    View     Document       Khan, Jennifer       5/5/2016 3:20:10 PM EDT
00001663    View     Document       Maria, David         5/27/2016 12:46:06 PM EDT
00001884    View     Document       Maria, David         5/4/2016 11:29:57 AM EDT
00001884    View     Document       Maria, David         5/9/2016 4:02:10 PM EDT
00001884    View     Document       Kroells, Christine   5/10/2016 2:46:10 PM EDT
00001884    View     Document       Kroells, Christine   5/12/2016 3:45:25 PM EDT
00001884    View     Document       Maria, David         9/19/2016 10:05:53 AM EDT
00001889    View     Document       Maria, David         5/4/2016 11:30:05 AM EDT
00001889    View     Document       Maria, David         5/9/2016 4:02:15 PM EDT
00001889    View     Document       Kroells, Christine   5/10/2016 2:46:16 PM EDT
00001889    View     Document       Kroells, Christine   5/12/2016 3:45:42 PM EDT
00001889    View     Document       Maria, David         9/19/2016 10:05:59 AM EDT
00001894    View     Document       Maria, David         5/4/2016 11:30:10 AM EDT
00001894    View     Document       Maria, David         5/9/2016 4:02:17 PM EDT
00001894    View     Document       Kroells, Christine   5/10/2016 2:46:26 PM EDT
00001894    View     Document       Kroells, Christine   5/12/2016 3:45:51 PM EDT
00001894    View     Document       Maria, David         9/19/2016 10:06:01 AM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                      Details
00001919    View     Document       Maria, David         5/4/2016 11:30:11 AM EDT
00001919    View     Document       Maria, David         5/5/2016 11:13:01 AM EDT
00001919    View     Document       Maria, David         5/9/2016 4:02:21 PM EDT
00001919    View     Document       Maria, David         5/9/2016 4:02:28 PM EDT
00001919    View     Document       Kroells, Christine   5/10/2016 2:30:51 PM EDT
00001919    View     Document       Kroells, Christine   5/10/2016 2:41:08 PM EDT
                                                                                        <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                        LaserJet 4250 PCL
                                                                                        5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                        printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00001919    Print    Document       Kroells, Christine   5/10/2016 2:41:38 PM EDT       et>none</slipSheet></printDetails></auditElement>
00001919    View     Document       Kroells, Christine   5/10/2016 2:46:31 PM EDT
00001919    View     Document       Kroells, Christine   5/12/2016 3:00:47 PM EDT
00001919    View     Document       Maria, David         9/19/2016 10:06:02 AM EDT
00002689    View     Document       Maria, David         5/4/2016 11:30:23 AM EDT
00002689    View     Document       Maria, David         5/9/2016 4:03:38 PM EDT
00002689    View     Document       Kroells, Christine   5/10/2016 2:48:52 PM EDT
00002689    View     Document       Maria, David         9/19/2016 10:06:35 AM EDT
00002691    View     Document       Maria, David         5/4/2016 11:30:55 AM EDT
00002691    View     Document       Maria, David         5/9/2016 4:03:52 PM EDT
00002691    View     Document       Kroells, Christine   5/10/2016 2:50:03 PM EDT
00002691    View     Document       Maria, David         9/19/2016 10:06:51 AM EDT
00002816    View     Document       Kroells, Christine   5/5/2016 1:01:20 PM EDT
00002816    Print    Document       Kroells, Christine   5/5/2016 1:01:53 PM EDT        <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00002816    View     Document       Khan, Jennifer       5/5/2016 2:27:59 PM EDT
00002816    View     Document       Maria, David         10/17/2016 3:27:25 PM EDT
00003864    View     Document       Maria, David         5/9/2016 4:04:56 PM EDT
00003864    View     Document       Kroells, Christine   5/10/2016 2:55:25 PM EDT
00003864    View     Document       Kroells, Christine   5/10/2016 2:57:43 PM EDT
00003864    View     Document       Maria, David         9/19/2016 10:07:18 AM EDT
00003919    View     Document       Maria, David         5/9/2016 4:05:02 PM EDT
00003919    View     Document       Kroells, Christine   5/10/2016 2:57:49 PM EDT
00003919    View     Document       Maria, David         9/19/2016 10:07:22 AM EDT
00003959    View     Document       Maria, David         5/27/2016 12:47:44 PM EDT
00003959    View     Document       Maria, David         5/27/2016 12:47:48 PM EDT
00003959    View     Document       Kroells, Christine   6/28/2016 12:15:52 PM EDT
00003959    View     Document       Maria, David         10/17/2016 3:27:39 PM EDT
00004162    View     Document       Maria, David         5/4/2016 11:31:04 AM EDT
00004162    View     Document       Maria, David         5/9/2016 4:05:07 PM EDT



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Name        Action   Object Type    User Name            Timestamp                   Details
00004162    View     Document       Kroells, Christine   5/10/2016 2:58:12 PM EDT
00004162    View     Document       Maria, David         9/19/2016 10:07:24 AM EDT
00004164    View     Document       Maria, David         5/4/2016 11:31:15 AM EDT
00004164    View     Document       Maria, David         5/9/2016 4:05:14 PM EDT
00004164    View     Document       Kroells, Christine   5/10/2016 2:58:26 PM EDT
00004164    View     Document       Maria, David         9/19/2016 10:07:30 AM EDT
00004192    View     Document       Maria, David         5/4/2016 11:31:34 AM EDT
00004192    View     Document       Maria, David         5/9/2016 4:05:26 PM EDT
00004192    View     Document       Kroells, Christine   5/10/2016 2:59:00 PM EDT
00004192    View     Document       Maria, David         9/19/2016 10:07:38 AM EDT
00004418    View     Document       Maria, David         5/4/2016 11:31:44 AM EDT
00004418    View     Document       Maria, David         5/9/2016 4:05:46 PM EDT
00004418    View     Document       Kroells, Christine   5/10/2016 2:59:35 PM EDT
00004418    View     Document       Maria, David         9/19/2016 10:07:50 AM EDT
00004970    View     Document       Maria, David         5/4/2016 11:37:38 AM EDT
00004970    View     Document       Maria, David         5/9/2016 4:07:01 PM EDT
00004970    View     Document       Maria, David         5/9/2016 4:07:03 PM EDT
00004970    View     Document       Kroells, Christine   5/10/2016 4:12:59 PM EDT
00004970    View     Document       Khan, Jennifer       7/13/2016 11:00:43 AM EDT
00004970    View     Document       Maria, David         9/19/2016 10:08:45 AM EDT
00004974    View     Document       Maria, David         5/4/2016 11:38:04 AM EDT
00004974    View     Document       Maria, David         5/9/2016 4:07:02 PM EDT
00004974    View     Document       Maria, David         5/9/2016 4:07:12 PM EDT
00004974    Print    Document       Maria, David         5/9/2016 4:07:19 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00004974    View     Document       Kroells, Christine   5/10/2016 4:13:26 PM EDT
00004974    View     Document       Khan, Jennifer       7/13/2016 11:00:15 AM EDT
00004974    View     Document       Maria, David         9/19/2016 10:08:48 AM EDT
00005213    View     Document       Maria, David         5/4/2016 11:38:11 AM EDT
00005213    View     Document       Maria, David         5/9/2016 4:09:30 PM EDT
00005213    View     Document       Khan, Jennifer       7/13/2016 10:32:04 AM EDT
00005213    View     Document       Maria, David         9/19/2016 10:08:52 AM EDT
00005213    View     Document       Maria, David         9/19/2016 10:09:03 AM EDT
00005219    View     Document       Maria, David         5/4/2016 11:38:22 AM EDT
00005219    View     Document       Maria, David         5/9/2016 4:09:37 PM EDT
00005219    View     Document       Khan, Jennifer       7/13/2016 10:31:19 AM EDT
00005219    View     Document       Maria, David         9/19/2016 10:09:05 AM EDT
00005222    View     Document       Maria, David         5/4/2016 11:38:31 AM EDT
00005222    View     Document       Maria, David         5/9/2016 4:09:40 PM EDT
00005222    View     Document       Khan, Jennifer       7/13/2016 10:31:04 AM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                      Details
00005222    View     Document       Maria, David         9/19/2016 10:09:11 AM EDT
00005453    View     Document       Maria, David         5/4/2016 11:38:42 AM EDT
00005453    View     Document       Kroells, Christine   5/5/2016 1:07:07 PM EDT
00005453    View     Document       Kroells, Christine   5/5/2016 1:15:29 PM EDT
00005453    Print    Document       Kroells, Christine   5/5/2016 1:15:55 PM EDT        <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00005453    View     Document       Khan, Jennifer       5/5/2016 2:12:00 PM EDT
00005453    View     Document       Maria, David         9/19/2016 10:09:32 AM EDT
00005504    View     Document       Maria, David         5/4/2016 11:39:06 AM EDT
00005504    View     Document       Kroells, Christine   5/5/2016 1:16:53 PM EDT
00005504    View     Document       Kroells, Christine   5/5/2016 1:17:32 PM EDT
00005504    View     Document       Khan, Jennifer       5/5/2016 2:11:09 PM EDT
00005504    View     Document       Kroells, Christine   5/10/2016 3:04:46 PM EDT
00005504    View     Document       Maria, David         9/19/2016 10:09:34 AM EDT
00005506    View     Document       Kroells, Christine   5/5/2016 1:17:14 PM EDT
00005506    View     Document       Maria, David         5/17/2016 1:29:11 PM EDT
00005506    View     Document       Maria, David         1/10/2017 11:09:25 AM EST
00005522    View     Document       Maria, David         5/4/2016 11:39:31 AM EDT
00005522    View     Document       Kroells, Christine   5/12/2016 3:46:16 PM EDT
00005522    View     Document       Maria, David         9/19/2016 10:09:37 AM EDT
00005593    View     Document       Maria, David         10/17/2016 3:46:10 PM EDT
00005593    View     Document       Maria, David         10/17/2016 3:46:16 PM EDT

                                                                                        <auditElement><printDetails><printRange>1
                                                                                        3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                        8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                        printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00005593    Print    Document       Maria, David         10/17/2016 3:47:02 PM EDT      et>none</slipSheet></printDetails></auditElement>
00005593    View     Document       Maria, David         10/17/2016 3:49:19 PM EDT
00006292    View     Document       Maria, David         5/4/2016 11:41:02 AM EDT
00006292    View     Document       Kroells, Christine   5/10/2016 3:04:55 PM EDT
00006292    View     Document       Kroells, Christine   5/10/2016 3:05:07 PM EDT
00006292    View     Document       Kroells, Christine   5/10/2016 3:06:20 PM EDT
                                                                                        <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                        LaserJet 4250 PCL
                                                                                        5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                        printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00006292    Print    Document       Kroells, Christine   5/10/2016 3:06:38 PM EDT       et>none</slipSheet></printDetails></auditElement>
00006292    View     Document       Kroells, Christine   5/10/2016 3:08:03 PM EDT
00006292    View     Document       Kroells, Christine   5/12/2016 3:46:39 PM EDT



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U.S. v. Adams                  Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action Object Type User Name              Timestamp                   Details
00006292    View Document      Kroells, Christine     5/12/2016 3:47:03 PM EDT
00006292    View Document      Maria, David           9/19/2016 10:09:46 AM EDT

                                                                                  <auditElement><printDetails><printRange>1
                                                                                  1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                  8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                  printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00006292    Print   Document     Maria, David         9/19/2016 10:10:20 AM EDT   et>none</slipSheet></printDetails></auditElement>
00006292    View    Document     Maria, David         9/19/2016 10:11:08 AM EDT
00006293    View    Document     Kroells, Christine   5/10/2016 3:05:16 PM EDT
00006293    View    Document     Kroells, Christine   5/10/2016 3:06:42 PM EDT
                                                                                  <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                  LaserJet 4250 PCL
                                                                                  5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                  printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00006293    Print   Document     Kroells, Christine   5/10/2016 3:06:51 PM EDT    et>none</slipSheet></printDetails></auditElement>
00006293    View    Document     Kroells, Christine   5/12/2016 3:46:51 PM EDT
00006293    View    Document     Maria, David         9/19/2016 10:10:32 AM EDT
00006594    View    Document     Maria, David         5/4/2016 11:42:21 AM EDT
00006594    View    Document     Kroells, Christine   5/10/2016 4:14:10 PM EDT
00006594    View    Document     Kroells, Christine   5/10/2016 4:14:56 PM EDT
00006594    View    Document     Kroells, Christine   5/12/2016 3:47:21 PM EDT
00006594    View    Document     Maria, David         9/19/2016 10:11:57 AM EDT
00006893    View    Document     Maria, David         5/4/2016 11:42:30 AM EDT
00006893    View    Document     Maria, David         5/9/2016 4:16:12 PM EDT
00006893    View    Document     Kroells, Christine   5/10/2016 4:14:59 PM EDT
00006893    View    Document     Maria, David         5/27/2016 12:50:03 PM EDT
00006893    View    Document     Maria, David         5/27/2016 12:50:19 PM EDT
00006893    View    Document     Maria, David         9/19/2016 10:12:04 AM EDT
00006913    View    Document     Maria, David         5/4/2016 11:43:00 AM EDT
00006913    View    Document     Maria, David         5/27/2016 12:50:21 PM EDT
00006913    View    Document     Maria, David         9/19/2016 10:12:11 AM EDT
00006941    View    Document     Maria, David         5/4/2016 11:43:42 AM EDT
00006941    View    Document     Maria, David         5/27/2016 12:50:27 PM EDT
00006941    View    Document     Maria, David         5/27/2016 12:50:42 PM EDT
00006941    View    Document     Maria, David         9/19/2016 10:12:30 AM EDT
00007002    View    Document     Maria, David         5/4/2016 11:43:54 AM EDT
00007002    View    Document     Maria, David         5/27/2016 12:51:02 PM EDT
00007002    View    Document     Maria, David         5/27/2016 12:51:15 PM EDT



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Name        Action   Object Type    User Name            Timestamp                   Details
00007002    View     Document       Maria, David         9/19/2016 10:12:37 AM EDT
00009868    View     Document       Maria, David         5/4/2016 11:45:15 AM EDT
00009868    View     Document       Kroells, Christine   5/5/2016 1:28:31 PM EDT
00009868    View     Document       Maria, David         9/19/2016 10:15:35 AM EDT
00010412    View     Document       Maria, David         5/4/2016 11:45:22 AM EDT
00010412    View     Document       Kroells, Christine   5/10/2016 4:38:20 PM EDT
00010412    View     Document       Maria, David         9/19/2016 10:15:52 AM EDT
00010433    View     Document       Maria, David         5/4/2016 11:46:06 AM EDT
00010433    View     Document       Kroells, Christine   5/10/2016 4:40:37 PM EDT
00010433    View     Document       Kroells, Christine   5/10/2016 4:46:47 PM EDT
00010433    View     Document       Kroells, Christine   5/12/2016 3:48:31 PM EDT
00010433    View     Document       Maria, David         9/19/2016 10:16:02 AM EDT
00010534    View     Document       Maria, David         5/4/2016 11:46:20 AM EDT
00010534    View     Document       Kroells, Christine   5/10/2016 4:46:54 PM EDT
00010534    View     Document       Maria, David         9/19/2016 10:16:07 AM EDT
00010565    View     Document       Kroells, Christine   5/5/2016 1:30:33 PM EDT
00010565    View     Document       Kroells, Christine   5/5/2016 3:19:02 PM EDT
00010565    View     Document       Maria, David         10/17/2016 4:04:27 PM EDT
00013546    View     Document       Maria, David         5/4/2016 11:47:08 AM EDT
00013546    View     Document       Maria, David         5/4/2016 11:48:47 AM EDT
00013546    View     Document       Kroells, Christine   5/12/2016 3:48:56 PM EDT
00013546    View     Document       Maria, David         9/19/2016 10:19:30 AM EDT
00013939    View     Document       Maria, David         5/4/2016 11:48:52 AM EDT
00013939    View     Document       Kroells, Christine   5/12/2016 3:49:14 PM EDT
00013939    View     Document       Maria, David         9/19/2016 10:19:35 AM EDT
00015807    View     Document       Kroells, Christine   5/10/2016 2:32:49 PM EDT
00015807    View     Document       Kroells, Christine   5/10/2016 4:15:19 PM EDT
00015807    View     Document       Maria, David         9/19/2016 10:20:05 AM EDT
00015809    View     Document       Kroells, Christine   5/5/2016 1:48:03 PM EDT
00015809    Print    Document       Kroells, Christine   5/5/2016 1:49:17 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00015809    View     Document       Kroells, Christine   5/10/2016 2:33:05 PM EDT
00015809    View     Document       Maria, David         9/19/2016 10:20:23 AM EDT
00018455    View     Document       Maria, David         5/4/2016 1:02:14 PM EDT
00018455    View     Document       Kroells, Christine   5/10/2016 4:16:40 PM EDT
00018455    View     Document       Maria, David         5/25/2016 12:20:13 PM EDT
00018455    View     Document       Maria, David         9/19/2016 10:21:18 AM EDT
00020127    View     Document       Kroells, Christine   5/10/2016 4:18:39 PM EDT
00020127    View     Document       Kroells, Christine   5/10/2016 4:19:04 PM EDT
00020127    View     Document       Maria, David         9/19/2016 10:22:04 AM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00020127    View     Document       Maria, David         9/19/2016 10:22:29 AM EDT
00021952    View     Document       Kroells, Christine   5/5/2016 2:03:42 PM EDT
00021952    Print    Document       Kroells, Christine   5/5/2016 2:04:19 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00021952    View     Document       Maria, David         10/17/2016 5:17:37 PM EDT
00021952    View     Document       Maria, David         10/17/2016 5:17:44 PM EDT
00041099    View     Document       Maria, David         5/4/2016 3:08:04 PM EDT
00041099    View     Document       Maria, David         5/4/2016 3:13:18 PM EDT
00041099    View     Document       Maria, David         8/30/2016 2:41:17 PM EDT
00041099    View     Document       Maria, David         9/23/2016 9:44:16 AM EDT
00041099    View     Document       Maria, David         1/23/2017 10:20:55 AM EST
00041103    View     Document       Maria, David         5/4/2016 3:08:24 PM EDT
00041103    View     Document       Maria, David         5/4/2016 3:13:20 PM EDT
00041103    View     Document       Maria, David         8/30/2016 2:41:38 PM EDT
00041103    View     Document       Maria, David         9/23/2016 9:44:27 AM EDT
00041103    View     Document       Maria, David         1/23/2017 10:21:13 AM EST
00041107    View     Document       Maria, David         5/4/2016 3:08:40 PM EDT
00041107    View     Document       Maria, David         5/4/2016 3:13:23 PM EDT
00041107    View     Document       Maria, David         8/30/2016 2:41:50 PM EDT
00041107    View     Document       Maria, David         9/23/2016 9:44:28 AM EDT
00041107    View     Document       Maria, David         1/23/2017 10:21:16 AM EST
00045638    View     Document       Maria, David         5/4/2016 3:08:43 PM EDT
00045638    View     Document       Maria, David         5/4/2016 3:14:34 PM EDT
00045638    View     Document       Maria, David         8/30/2016 2:41:53 PM EDT
00045638    View     Document       Maria, David         9/23/2016 9:44:44 AM EDT
00045638    View     Document       Maria, David         1/23/2017 10:21:24 AM EST
00045640    View     Document       Maria, David         5/4/2016 3:08:49 PM EDT
00045640    View     Document       Maria, David         5/4/2016 3:14:38 PM EDT
00045640    View     Document       Maria, David         8/30/2016 2:41:55 PM EDT
00045640    View     Document       Maria, David         9/23/2016 9:44:52 AM EDT
00045640    View     Document       Maria, David         1/23/2017 10:21:28 AM EST
00045650    View     Document       Maria, David         5/4/2016 3:08:51 PM EDT
00045650    View     Document       Maria, David         5/4/2016 3:14:40 PM EDT
00045650    View     Document       Maria, David         8/30/2016 2:42:03 PM EDT
00045650    View     Document       Maria, David         9/23/2016 9:44:54 AM EDT
00045650    View     Document       Maria, David         1/23/2017 10:21:32 AM EST
00045652    View     Document       Maria, David         5/4/2016 3:08:56 PM EDT
00045652    View     Document       Maria, David         5/4/2016 3:14:42 PM EDT
00045652    View     Document       Maria, David         8/30/2016 2:42:10 PM EDT
00045652    View     Document       Maria, David         9/23/2016 9:45:00 AM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00045652    View     Document       Maria, David         1/23/2017 10:21:36 AM EST
00220998    View     Document       Maria, David         5/4/2016 3:09:07 PM EDT
00220998    View     Document       Maria, David         5/4/2016 3:27:33 PM EDT
00220998    View     Document       Maria, David         8/30/2016 2:44:16 PM EDT
00220998    View     Document       Maria, David         9/23/2016 9:48:48 AM EDT
00224239    View     Document       Maria, David         5/4/2016 3:09:11 PM EDT
00224239    View     Document       Maria, David         5/4/2016 3:27:39 PM EDT
00224239    View     Document       Maria, David         8/30/2016 2:44:20 PM EDT
00224239    View     Document       Maria, David         9/23/2016 9:48:55 AM EDT
00270220    View     Document       Maria, David         5/4/2016 4:00:50 PM EDT
00270220    View     Document       Maria, David         5/4/2016 4:01:16 PM EDT
00270220    View     Document       Maria, David         8/30/2016 3:52:43 PM EDT
00270220    View     Document       Maria, David         8/30/2016 3:53:03 PM EDT
00270220    View     Document       Maria, David         9/23/2016 9:59:46 AM EDT
00270358    View     Document       Maria, David         5/4/2016 2:44:07 PM EDT
00270358    View     Document       Maria, David         5/4/2016 2:45:51 PM EDT
00270358    View     Document       Maria, David         9/19/2016 9:59:33 AM EDT
00270801    View     Document       Maria, David         5/5/2016 11:27:04 AM EDT
00270801    Print    Document       Maria, David         5/5/2016 11:28:58 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00270801    View     Document       Kroells, Christine   5/10/2016 4:21:52 PM EDT
                                                                                     <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                     LaserJet 4250 PCL
                                                                                     5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                     printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00270801    Print    Document       Kroells, Christine   5/10/2016 4:23:28 PM EDT    et>none</slipSheet></printDetails></auditElement>
00270801    View     Document       Kroells, Christine   5/12/2016 3:02:37 PM EDT
00270801    View     Document       Maria, David         5/25/2016 12:28:44 PM EDT
00270801    View     Document       Maria, David         5/25/2016 1:41:14 PM EDT
00270801    View     Document       Maria, David         9/19/2016 11:25:45 AM EDT
00270801    View     Document       Maria, David         10/5/2016 3:47:18 PM EDT
00270801    Print    Document       Maria, David         10/5/2016 3:47:56 PM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00270801    View     Document       Maria, David         10/5/2016 4:35:23 PM EDT
00270816    View     Document       Maria, David         5/5/2016 11:29:29 AM EDT
00270816    View     Document       Kroells, Christine   5/10/2016 4:23:33 PM EDT
00270816    View     Document       Kroells, Christine   5/12/2016 3:02:43 PM EDT
00270816    View     Document       Maria, David         5/25/2016 12:29:27 PM EDT
00270816    View     Document       Maria, David         5/25/2016 1:41:17 PM EDT
00270816    View     Document       Maria, David         9/19/2016 11:25:54 AM EDT
00270816    View     Document       Maria, David         10/5/2016 3:48:15 PM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                   Details
00270816    View     Document       Maria, David         10/5/2016 4:35:41 PM EDT
00270821    View     Document       Maria, David         5/5/2016 11:29:49 AM EDT
00270821    View     Document       Kroells, Christine   5/10/2016 4:25:37 PM EDT
00270821    View     Document       Kroells, Christine   5/12/2016 3:03:22 PM EDT
00270821    View     Document       Maria, David         5/25/2016 12:29:30 PM EDT
00270821    View     Document       Maria, David         5/25/2016 1:41:21 PM EDT
00270821    View     Document       Maria, David         9/19/2016 11:25:57 AM EDT
00270821    View     Document       Maria, David         10/5/2016 3:48:33 PM EDT
00270821    View     Document       Maria, David         10/5/2016 4:35:45 PM EDT
00271125    View     Document       Maria, David         5/5/2016 11:31:02 AM EDT
00271125    Print    Document       Maria, David         5/5/2016 11:32:42 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00271125    View     Document       Maria, David         5/25/2016 12:29:32 PM EDT
00271125    View     Document       Maria, David         10/5/2016 4:36:20 PM EDT

                                                                                     <auditElement><printDetails><printRange>1
                                                                                     3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                     8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                     printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00271125    Print    Document       Maria, David         10/5/2016 4:36:48 PM EDT    et>none</slipSheet></printDetails></auditElement>
00271125    View     Document       Kroells, Christine   5/16/2017 9:12:13 AM EDT
00271128    View     Document       Maria, David         5/5/2016 11:32:49 AM EDT
00271128    View     Document       Maria, David         5/25/2016 12:29:33 PM EDT
00271128    View     Document       Maria, David         5/25/2016 12:29:36 PM EDT
00271128    View     Document       Maria, David         10/5/2016 4:36:57 PM EDT
00271128    View     Document       Kroells, Christine   5/16/2017 9:13:04 AM EDT
00271132    View     Document       Maria, David         5/5/2016 11:33:03 AM EDT
00271132    View     Document       Maria, David         5/25/2016 12:29:34 PM EDT
00271132    View     Document       Maria, David         5/25/2016 12:30:03 PM EDT
00271132    View     Document       Maria, David         10/5/2016 4:37:07 PM EDT
00271132    View     Document       Kroells, Christine   5/16/2017 9:14:04 AM EDT
00271589    View     Document       Maria, David         5/4/2016 3:07:20 PM EDT
00271589    View     Document       Kroells, Christine   5/5/2016 2:52:25 PM EDT
00271589    Print    Document       Kroells, Christine   5/5/2016 2:53:54 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00271589    View     Document       Maria, David         8/30/2016 2:40:28 PM EDT
00271589    View     Document       Kroells, Christine   11/17/2016 1:21:48 PM EST
00271907    View     Document       Maria, David         5/4/2016 4:01:27 PM EDT
00271907    View     Document       Maria, David         5/17/2016 1:50:17 PM EDT
00271907    View     Document       Kroells, Christine   6/28/2016 11:44:54 AM EDT
00271907    View     Document       Maria, David         8/30/2016 3:53:04 PM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                    Details
00271907    View     Document       Maria, David         9/23/2016 10:00:07 AM EDT
00271907    View     Document       Maria, David         1/10/2017 11:12:38 AM EST
00271960    View     Document       Maria, David         5/4/2016 4:02:32 PM EDT
00271960    View     Document       Kroells, Christine   6/28/2016 11:44:56 AM EDT
00271960    View     Document       Maria, David         8/30/2016 3:53:06 PM EDT
00271960    View     Document       Maria, David         9/23/2016 10:00:18 AM EDT
00273812    View     Document       Maria, David         5/25/2016 12:30:09 PM EDT
00273812    View     Document       Maria, David         10/17/2016 5:23:33 PM EDT
00273812    View     Document       Maria, David         10/19/2016 10:23:21 AM EDT
00275178    View     Document       Kroells, Christine   6/28/2016 11:51:09 AM EDT
00275178    View     Document       Kroells, Christine   6/28/2016 11:54:39 AM EDT
00275178    View     Document       Maria, David         9/19/2016 11:26:16 AM EDT
00275190    View     Document       Maria, David         5/4/2016 3:05:14 PM EDT
00275190    View     Document       Maria, David         5/9/2016 5:04:28 PM EDT
00275190    View     Document       Maria, David         8/30/2016 2:39:24 PM EDT
00275190    View     Document       Maria, David         1/10/2017 11:07:58 AM EST
00275192    View     Document       Maria, David         5/4/2016 3:06:07 PM EDT
00275192    View     Document       Maria, David         5/9/2016 5:04:37 PM EDT
00275192    View     Document       Maria, David         8/30/2016 2:39:38 PM EDT
00275192    View     Document       Maria, David         1/10/2017 11:08:21 AM EST
00278608    View     Document       Maria, David         5/4/2016 3:06:14 PM EDT
00278608    View     Document       Maria, David         5/9/2016 5:04:39 PM EDT
00278608    View     Document       Maria, David         8/30/2016 2:39:40 PM EDT
00278608    View     Document       Maria, David         1/10/2017 11:08:26 AM EST
00284512    View     Document       Maria, David         5/17/2016 1:50:53 PM EDT
00284512    View     Document       Kroells, Christine   5/31/2016 10:41:06 AM EDT
                                                                                      <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                      LaserJet 4250 PCL
                                                                                      5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                      printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00284512    Print    Document       Kroells, Christine   5/31/2016 10:43:33 AM EDT    et>none</slipSheet></printDetails></auditElement>
00284512    View     Document       Kroells, Christine   6/28/2016 11:26:21 AM EDT
00284512    View     Document       Maria, David         1/10/2017 11:13:20 AM EST
00284626    View     Document       Maria, David         5/25/2016 12:30:14 PM EDT
00284626    View     Document       Maria, David         10/17/2016 5:28:11 PM EDT
00284626    View     Document       Maria, David         10/17/2016 5:29:05 PM EDT
00284626    View     Document       Maria, David         10/17/2016 5:41:39 PM EDT
00284825    View     Document       Maria, David         5/5/2016 11:37:45 AM EDT
00284825    View     Document       Kroells, Christine   5/10/2016 3:09:41 PM EDT



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                    Details
00284825    View     Document       Kroells, Christine   5/10/2016 4:25:56 PM EDT
00284825    View     Document       Kroells, Christine   5/17/2016 4:11:24 PM EDT
00284825    View     Document       Maria, David         9/19/2016 11:35:21 AM EDT
00284825    View     Document       Maria, David         10/5/2016 4:40:47 PM EDT
00284866    View     Document       Maria, David         5/4/2016 3:10:43 PM EDT
00284866    View     Document       Maria, David         5/4/2016 4:02:53 PM EDT
00284866    View     Document       Maria, David         8/30/2016 2:44:22 PM EDT
00284866    View     Document       Maria, David         9/23/2016 10:20:04 AM EDT
00284866    View     Document       Kroells, Christine   11/17/2016 2:31:52 PM EST
00284866    View     Document       Maria, David         1/23/2017 10:24:01 AM EST
00284902    View     Document       Maria, David         5/4/2016 3:10:52 PM EDT
00284902    View     Document       Maria, David         5/4/2016 4:03:03 PM EDT
00284902    View     Document       Maria, David         9/23/2016 10:20:08 AM EDT

                                                                                      <auditElement><printDetails><printRange>1
                                                                                      1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                      8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                      printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00284902    Print    Document       Maria, David         9/23/2016 10:20:32 AM EDT    et>none</slipSheet></printDetails></auditElement>
00284902    View     Document       Maria, David         9/23/2016 10:21:15 AM EDT
00284902    View     Document       Maria, David         11/29/2016 11:42:46 AM EST
00284902    View     Document       Maria, David         1/23/2017 10:24:25 AM EST
00284903    View     Document       Maria, David         5/4/2016 3:10:54 PM EDT
00284903    View     Document       Maria, David         5/4/2016 4:03:08 PM EDT
00284903    View     Document       Maria, David         8/30/2016 2:44:26 PM EDT
00284903    View     Document       Maria, David         9/23/2016 10:20:39 AM EDT
00284903    View     Document       Maria, David         9/23/2016 10:21:12 AM EDT
00284903    View     Document       Maria, David         9/23/2016 10:21:22 AM EDT
00284903    View     Document       Maria, David         11/29/2016 11:43:05 AM EST
00284903    View     Document       Maria, David         1/23/2017 10:24:29 AM EST
00284912    View     Document       Maria, David         5/4/2016 4:03:13 PM EDT
00284912    Print    Document       Maria, David         5/4/2016 4:04:04 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00284912    View     Document       Maria, David         5/4/2016 4:05:58 PM EDT
00284912    View     Document       Kroells, Christine   5/5/2016 3:05:41 PM EDT
00284912    Print    Document       Kroells, Christine   5/5/2016 3:06:06 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00284912    View     Document       Kroells, Christine   5/5/2016 3:15:00 PM EDT




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U.S. v. Adams                  Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action Object Type User Name             Timestamp                   Details
                                                                                 <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                 LaserJet 4250 PCL
                                                                                 5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                 printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00284912    Print   Document    Kroells, Christine   5/5/2016 3:15:16 PM EDT     et>none</slipSheet></printDetails></auditElement>
00284912    View    Document    Maria, David         9/23/2016 10:20:49 AM EDT

                                                                                 <auditElement><printDetails><printRange>1
                                                                                 1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                 8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                 printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00284912    Print   Document    Maria, David         9/23/2016 10:21:07 AM EDT   et>none</slipSheet></printDetails></auditElement>
00284912    View    Document    Maria, David         9/23/2016 10:21:25 AM EDT
00284912    View    Document    Maria, David         1/23/2017 10:24:31 AM EST
00284947    View    Document    Maria, David         5/4/2016 4:05:19 PM EDT
00284947    View    Document    Maria, David         5/4/2016 4:05:57 PM EDT
00284947    View    Document    Maria, David         5/4/2016 4:06:02 PM EDT
00284947    View    Document    Maria, David         9/23/2016 10:21:28 AM EDT
00284947    View    Document    Maria, David         1/23/2017 10:24:34 AM EST
00284947    View    Document    Maria, David         1/23/2017 10:24:38 AM EST
00285408    View    Document    Maria, David         5/4/2016 4:05:39 PM EDT
00285408    View    Document    Maria, David         5/4/2016 4:06:03 PM EDT
00285408    View    Document    Maria, David         5/4/2016 4:06:07 PM EDT
00285408    Print   Document    Maria, David         5/4/2016 4:06:09 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00285408    View    Document    Kroells, Christine   6/28/2016 12:10:26 PM EDT
00285408    View    Document    Kroells, Christine   6/28/2016 12:10:47 PM EDT
00285408    View    Document    Kroells, Christine   6/28/2016 12:12:46 PM EDT
                                                                                 <auditElement><printDetails><printRange>1
                                                                                 1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                 4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotation
                                                                                 s><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slip
00285408    Print   Document    Kroells, Christine   6/28/2016 12:12:57 PM EDT   Sheet>none</slipSheet></printDetails></auditElement>
00285408    View    Document    Maria, David         9/23/2016 10:21:36 AM EDT
00285408    View    Document    Maria, David         1/23/2017 10:24:36 AM EST
00285408    View    Document    Maria, David         1/23/2017 10:24:45 AM EST
00287437    View    Document    Maria, David         5/4/2016 4:06:04 PM EDT
00287437    View    Document    Maria, David         5/4/2016 4:06:22 PM EDT
00287437    Print   Document    Maria, David         5/4/2016 4:06:50 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00287437    View    Document    Kroells, Christine   5/5/2016 3:09:06 PM EDT



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U.S. v. Adams                  Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action Object Type User Name             Timestamp                      Details
                                                                                    <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                    LaserJet 4250 PCL
                                                                                    5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                    printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00287437    Print   Document    Kroells, Christine   5/5/2016 3:09:57 PM EDT        et>none</slipSheet></printDetails></auditElement>
00287437    View    Document    Maria, David         9/23/2016 10:21:43 AM EDT
00287437    View    Document    Maria, David         1/23/2017 10:24:48 AM EST
00288829    View    Document    Maria, David         5/4/2016 4:06:59 PM EDT
00288829    Print   Document    Maria, David         5/4/2016 4:07:11 PM EDT        <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00288829    View    Document    Maria, David         9/23/2016 10:22:05 AM EDT

                                                                                    <auditElement><printDetails><printRange>1
                                                                                    1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM425060
                                                                                    8]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                    printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00288829    Print   Document    Maria, David         9/23/2016 10:22:18 AM EDT      et>none</slipSheet></printDetails></auditElement>
00288829    View    Document    Maria, David         1/23/2017 10:24:51 AM EST
00293684    View    Document    Kroells, Christine   5/12/2016 2:32:59 PM EDT
00293684    View    Document    Kroells, Christine   5/31/2016 11:16:53 AM EDT
00293684    View    Document    Kroells, Christine   6/28/2016 12:21:09 PM EDT
00302833    View    Document    Kroells, Christine   5/5/2016 3:10:39 PM EDT
                                                                                    <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                    LaserJet 4250 PCL
                                                                                    5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                    printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00302833    Print   Document    Kroells, Christine   5/5/2016 3:11:36 PM EDT        et>none</slipSheet></printDetails></auditElement>
00302833    View    Document    Kroells, Christine   5/5/2016 3:17:59 PM EDT
00302833    View    Document    Kroells, Christine   5/11/2016 4:03:32 PM EDT
                                                                                    <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                    LaserJet 4250 PCL
                                                                                    5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                    printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00302833    Print   Document    Kroells, Christine   5/11/2016 4:04:05 PM EDT       et>none</slipSheet></printDetails></auditElement>
00302834    View    Document    Kroells, Christine   5/5/2016 3:11:41 PM EDT
00302834    View    Document    Kroells, Christine   5/5/2016 3:18:06 PM EDT
00302834    View    Document    Kroells, Christine   5/11/2016 4:04:14 PM EDT




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Name        Action Object Type User Name             Timestamp                   Details
                                                                                 <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                 LaserJet 4250 PCL
                                                                                 5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                 printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00302834    Print   Document    Kroells, Christine   5/11/2016 4:04:28 PM EDT    et>none</slipSheet></printDetails></auditElement>
00307075    View    Document    Maria, David         5/4/2016 4:08:50 PM EDT
00307075    View    Document    Maria, David         9/23/2016 10:22:59 AM EDT
00307075    View    Document    Maria, David         1/23/2017 10:25:32 AM EST
00307078    View    Document    Maria, David         5/4/2016 4:09:00 PM EDT
00307078    View    Document    Maria, David         9/23/2016 10:23:07 AM EDT
00307078    View    Document    Maria, David         1/23/2017 10:25:40 AM EST
00307087    View    Document    Maria, David         5/4/2016 4:09:03 PM EDT
00307087    View    Document    Maria, David         9/23/2016 10:23:11 AM EDT
00307087    View    Document    Maria, David         1/23/2017 10:25:44 AM EST
00309919    View    Document    Kroells, Christine   5/10/2016 2:38:14 PM EDT
00309919    View    Document    Kroells, Christine   5/10/2016 2:38:31 PM EDT
                                                                                 <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                 LaserJet 4250 PCL
                                                                                 5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><
                                                                                 printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipShe
00309919    Print   Document    Kroells, Christine   5/10/2016 2:39:24 PM EDT    et>none</slipSheet></printDetails></auditElement>
00309919    View    Document    Maria, David         9/19/2016 11:38:50 AM EDT
00324833    View    Document    Maria, David         5/4/2016 3:06:24 PM EDT
00324833    View    Document    Maria, David         5/4/2016 3:10:57 PM EDT
00324833    View    Document    Maria, David         5/4/2016 4:09:14 PM EDT
00324833    View    Document    Maria, David         5/9/2016 5:04:40 PM EDT
00324833    View    Document    Maria, David         8/30/2016 2:39:51 PM EDT
00324833    View    Document    Maria, David         8/30/2016 2:44:32 PM EDT
00324833    View    Document    Maria, David         9/23/2016 10:23:23 AM EDT
00324833    View    Document    Maria, David         1/10/2017 11:08:30 AM EST
00324833    View    Document    Maria, David         1/23/2017 10:25:52 AM EST
00324835    View    Document    Maria, David         5/4/2016 3:06:39 PM EDT
00324835    View    Document    Maria, David         5/4/2016 3:10:59 PM EDT
00324835    View    Document    Maria, David         5/4/2016 4:09:19 PM EDT
00324835    View    Document    Maria, David         5/9/2016 5:04:43 PM EDT
00324835    View    Document    Maria, David         8/30/2016 2:40:00 PM EDT
00324835    View    Document    Maria, David         8/30/2016 2:44:34 PM EDT
00324835    View    Document    Maria, David         9/23/2016 10:23:28 AM EDT
00324835    View    Document    Maria, David         1/10/2017 11:08:38 AM EST



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U.S. v. Adams                      Log Showing Document Outside the Scope of the Warrant (Warrant Sales Theory) Viewed Three or More Times


Name        Action   Object Type    User Name            Timestamp                    Details
00324835    View     Document       Maria, David         1/23/2017 10:25:57 AM EST
00361439    View     Document       Kroells, Christine   5/31/2016 11:20:01 AM EDT
00361439    View     Document       Maria, David         8/30/2016 2:35:21 PM EDT
00361439    View     Document       Maria, David         9/7/2016 1:48:02 PM EDT
00361439    View     Document       Maria, David         10/19/2016 10:35:49 AM EDT
00361552    View     Document       Kroells, Christine   5/12/2016 4:52:15 PM EDT
00361552    View     Document       Maria, David         5/25/2016 4:29:18 PM EDT
00361552    View     Document       Kroells, Christine   5/31/2016 11:20:03 AM EDT
00361552    View     Document       Maria, David         10/19/2016 10:36:03 AM EDT




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                 EXHIBIT 11
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From: Maria, David (USAMN) 1 [mailto:David.Maria@usdoj.gov]
Sent: Thursday, February 22, 2018 1:21 PM
To: Wade, Lance <LWade@wc.com>; Maier, Gloria <GMaier@wc.com>
Cc: Rank, Timothy (USAMN) <Timothy.Rank@usdoj.gov>; Kokkinen, John (USAMN)
<John.Kokkinen@usdoj.gov>
Subject: RE: U.S. v. Adams

Lance

Our responses are below. Let me know if you have any questions or if there is anything that we
need to discuss.

David


From: Wade, Lance [mailto:LWade@wc.com]
Sent: Wednesday, February 07, 2018 4:00 PM
To: Maria, David (USAMN) 1 <dmaria1@usa.doj.gov>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <TRank@usa.doj.gov>; Kokkinen,
John (USAMN) <jkokkinen@usa.doj.gov>; Wade, Lance <LWade@wc.com>
Subject: RE: U.S. v. Adams

David:

This responds to your email below relating to post-hearing discovery. In it, you
identified three follow-up items. We will first respond to questions regarding
those items, then identify the other discovery issues we discussed in our post-
hearing calls and our understanding of the status of those requests, and, finally,
we will make one additional request  which I believe was made to David
Maclaughlin previously, but I want to make sure it is documented here.

Questions/Comments on Items You Identified

   1. List of documents viewed in Relativity (by document number);

           a. ADAMS RESPONSE: We did agree that you would provide us
              with a list, which we received. However, (as noted below), we
              understood that you were providing us with an unredacted
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         database activity log, which we have not received.


          As you note, we have now provided you with a list of all documents viewed in
      the database. We do not plan on providing an unredacted database activity log.



2. Provide the dates that emails from the Relativity database were sent
   to Brandon Belich;

      a. ADAMS RESPONSE: we received materials from Ann Bildtsen.
         Thank you for the response. We asked for the transmittal emails
         themselves, but you have refused to produce them.

         We do not plan on providing the transmittal emails.


3. Determine (by Taint Team, if necessary) if any Jencks material relating
   to Brandon Belichs testimony at the hearing exists in any IRS Special
   Agent Report (SAR).

      a. GOVERNMENT POSITION: “Brandon Belich was not the agent
         who submitted the SAR to DOJ Tax in this matter, so there exists
         no Jencks material relating to this request.”

      b. ADAMS RESPONSE: Whether or not IRS Special Agent Belich
         was the one who “submitted” the report, if he prepared portions of
         the SAR (we believe he testified he did), it includes his
         statements. Those statements, and emails or word documents that
         reflect sections of the SAR he wrote would similarly include his
         statements. Moreoever, if the SAR discusses Yahoo-derived
         evidence, it is also Brady. Have materials of this kind been
         analyzed for Jencks and Brady purposes?


         As noted, the SAR was signed and submitted by Special Agent Marcus Lane,
         and, accordingly, any “statements” for the purpose of Jencks would be his. If
         Agent Lane testifies at trial, we will disclose his SAR to you. We are unaware
         of any authority to support your assertion above that any input that Belich may
         have had into the SAR before he left would constitute his “statement” for
         Jencks/3500 purposes. To the contrary, as Agent Belich left well before the
         completion of the SAR, even if he was involved in the preparation of portions
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           of the SAR, any such “statements” were not “signed or otherwise adopted or
           approved by him.” See 18 U.S.C. § 3500(e)(1). As to your Brady assertion, it
           is unclear to us how a discussion of “Yahoo-derived evidence” could be could
           be exculpatory in any way or could otherwise fall under Brady. That being
           said, to the extent there is any actual Brady material in the SAR, it will be
           disclosed to you.



Additional Items Discussed, But Not Addressed in Your Correspondence

  4. Yahoo emails shown to witnesses during interviews
        a. ADAMS UNDERSTANDING: It was our understanding that you
           agreed to produce, through the taint team, any Yahoo emails that
           were shown to witnesses during interviews. We asked you to
           identify which documents were shown to which witnesses. You
           refused to identify the witnesses who were shown the documents,
           but agreed to give us the document ID numbers and the dates
           they were shown to witnesses.

           We are reviewing our reports of interviews, and, to the extent that they append or
           reference documents that were shown to witnesses, we will identify those
           documents for you (by document number). As we discussed earlier though, we
           cannot represent that this will be a comprehensive list of all documents that were
           shown to witnesses, because, if the agent drafting the interview report did not
           include such information, we would have no way of knowing with any certainty
           which, if any, documents were shown. (Having not reviewed interview reports in
           quite some time, I do not know one way or another how many reports reference
           documents.)


  5. Jencks Statements/302s
        a. ADAMS UNDERSTANDING: We reiterated our request that you
           disclose these materials now as they likely contain Brady relating
           to the pending motion, and because we are entitled to know if you
           did follow-up searching in the database based on information
           obtained in the interview. You reiterated the governments refusal
           to give us the Jencks statements themselves, but said you will
           prepare a log of the statements  which we understood to mean
           the date of the interview and witness interviewed.

           We do not intend to produce reports of witness interviews at the present time, but
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           we will provide them well in advance of trial. We do not recall discussing on the
           January call that we would provide you with a list of individuals whom we
           interviewed (or dates of those interviews). Again, we do not see how the reports
           could contain Brady relating to the pending motion, but, to the extent that they
           contain actual Brady material, such material will be disclosed to you.


  6. Unredacted Version of Database Activity Spreadsheet
       a. ADAMS UNDERSTANDING: It was our understanding from our
          conversation that you agreed to produce the unredacted log. We
          understand that you are taking the position that you only agreed
          to produce a list of documents you viewed. We maintain that an
          unredacted database activity log is essential to the litigation of the
          forthcoming motions. If the government maintains its refusal to
          provide this, we will need to raise this with the Court soon. Please
          advise of your position, or if you prefer to confer further on this
          before going to the Court.

           As noted above, the government did not promise to provide, nor will it provide, an
           unredacted log of activity in the database, as we have already provided to you the
           full list of documents viewed by the prosecution team. Providing the unredacted
           log, which would reflect when, and how many times I, and other members of the
           team, looked at specific documents, is work product reflecting which documents we
           found to be most important and which documents we reviewed during the
           preparation of the indictment.

           That being said, If the Court finds certain documents to be privileged after the
           current round of briefing has concluded, at that time, we will provide you with the
           specifics as to when, and how many times, we reviewed documents (if any) that are
           found to be privileged.


  7. Emails Transmitting Search Warrants to Agents
       a. ADAMS UNDERSTANDING: you were searching for these emails.

           We did not find any emails transmitting the search warrant to agents after it was
           signed. Agent Kroells retained a copies of the signed versions after she appeared
           before the Magistrate Judge to swear out the affidavits and get the warrants signed.



Additional Items
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    8. Please produce, through the taint team, copies of all Yahoo
       emails/documents that were printed or saved to PDF by members of
       the investigation team.

                We will provide you with a list, by document number, of all emails/documents that
                were printed or saved to PDF.



We stand prepared to meet and confer on any or all of these items. As
explained previously, it would be our preference to record future calls  with
your consent.

--Lance


Lance Wade
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(P) 202-434-5755 | (F) 202-434-5029
´©¿¼»à©½ò½±³ | www.wc.com/lwade


From: Maria, David (USAMN) 1 [mailto:David.Maria@usdoj.gov]
Sent: Tuesday, January 30, 2018 1:06 PM
To: Wade, Lance <LWade@wc.com>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <Timothy.Rank@usdoj.gov>;
Kokkinen, John (USAMN) <John.Kokkinen@usdoj.gov>
Subject: RE: U.S. v. Adams

Lance

I am happy to have a call, but below is my recollection of what we discussed, and what the
government committed to provide, when we spoke. Because of the allegations that you have made
against me in this matter, I have made sure to include others on the calls that we have, as well as the
email communications, and I have confirmed with them that their understanding is the same as
mine in terms of what was discussed and/or what commitments were made. Here is what my notes
reflect we agreed to provide to you:

    1. Provide a list of documents viewed in Relativity (by document number);
          a. STATUS: This was done yesterday by PDF; today in Excel format.
    2. Provide the dates that emails from the Relativity database were sent to Brandon Belich;
          a. NOTE: You requested that any cover emails also be produced, but we did not agree
              to produce such communications.
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           b. STATUS: These materials are being reviewed by Ann Bildtsen, who will be contacting
              you on this if she has not already; my understanding is that she will be providing you
              with the dates of the communications, as well as the documents (or a list of
              documents by ID number) that were communicated on those dates.
    3. Determine (by Taint Team, if necessary) if any Jencks material relating to Brandon Belichs
       testimony at the hearing exists in any IRS Special Agent Report (SAR).
           a. STATUS: Brandon Belich was not the agent who submitted the SAR to DOJ Tax in this
              matter, so there exists no Jencks material relating to this request.

Also, per the voice mail that I left you yesterday, we are putting together a list of any discovery
materials that have not yet been turned over and will hopefully have that completed and to you this
week.

To the extent that you believe that there are communication problems, I would suggest that, after
we meet and confer, you provide us with your understanding of what commitments we made within
a reasonable time period after the meeting/call, and we can confirm your understanding or note any
differences of opinion. That way, there should not be disagreements weeks later as to what was
said.

As noted above, we are happy to have a call to discuss this, and we are available this afternoon or
most of the day tomorrow.

David




From: Wade, Lance [mailto:LWade@wc.com]
Sent: Tuesday, January 30, 2018 10:54 AM
To: Maria, David (USAMN) 1 <dmaria1@usa.doj.gov>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <TRank@usa.doj.gov>; Kokkinen,
John (USAMN) <jkokkinen@usa.doj.gov>
Subject: RE: U.S. v. Adams

David,

When are you available to meet and confer on this and other commitments the government has
made to provide additional post-hearing information? In light of our continued disagreements
regarding the commitments the government has made in telephone calls, I would like to make sure
we have clarity on your positions, document them in writing, and then bring remaining
disagreements to the Court promptly. I have not had troubles of this kind in prior matters, but
perhaps my hearing is failing with age. Given that, I am happy to consent to the recording of these
calls to avoid continued disagreements and miscommunications going forward. Please advise if the
government is willing to do the same.

Thanks.
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--Lance

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From: Maria, David (USAMN) 1 [mailto:David.Maria@usdoj.gov]
Sent: Tuesday, January 30, 2018 11:27 AM
To: Wade, Lance <LWade@wc.com>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <Timothy.Rank@usdoj.gov>;
Kokkinen, John (USAMN) <John.Kokkinen@usdoj.gov>
Subject: RE: U.S. v. Adams

Lance 

We agreed to produce to you a list of all the documents that were viewed in Relativity and not an
unredacted version of the database activity log. This is clear from our proposed timeline to the
Court, which provided that the Government submits list of viewed documents to Adams by Feb. 1,
as well as the Courts Scheduling Order, which provided that the government must disclose a list of
all emails form the accounts at issue that were accessed by the government on or before February 1,
2018.

We complied with that obligation when we sent you the PDF list of viewed documents yesterday.
Per your request, here is that list in Excel format.

Thanks,
David




From: Wade, Lance [mailto:LWade@wc.com]
Sent: Monday, January 29, 2018 8:29 PM
To: Maria, David (USAMN) 1 <dmaria1@usa.doj.gov>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <TRank@usa.doj.gov>; Kokkinen,
John (USAMN) <jkokkinen@usa.doj.gov>; Wade, Lance <LWade@wc.com>
Subject: RE: U.S. v. Adams

David,

We would prefer it in Excel format. Thank you. Also, in our January 12 meet and confer you agreed
to provide the database activity log in unredacted form. When can we get that? We would prefer
that in Excel format as well.
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Thanks.

--Lance

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´©¿¼»à©½ò½±³ | www.wc.com/lwade


From: Maria, David (USAMN) 1 [mailto:David.Maria@usdoj.gov]
Sent: Monday, January 29, 2018 4:16 PM
To: Wade, Lance <LWade@wc.com>
Cc: Maier, Gloria <GMaier@wc.com>; Rank, Timothy (USAMN) <Timothy.Rank@usdoj.gov>;
Kokkinen, John (USAMN) <John.Kokkinen@usdoj.gov>
Subject: U.S. v. Adams

Lance,

Attached is a log of all documents (by doc ID number) that were viewed in Relativity. Let me know if
you want a version of this in Excel instead of as a PDF.

Thanks,
David


David M. Maria
Assistant United States Attorney
District of Minnesota, Criminal Division
600 U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415
V: 612.664.5681 | F: 612.664.5787




This message and any attachments are intended only for the addressee and may contain information that is
privileged and confidential. If you have received this message in error, please do not read, use, copy, distribute, or
disclose the contents of the message and any attachments. Instead, please delete the message and any attachments
and notify the sender immediately. Thank you.
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                 EXHIBIT 12
                                               CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 122 of 203
U.S. v. Adams                                                            EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                5/30/2018
                                                                              E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                         Attorney    Attorney
Row        Doc ID Beg         Date                       Description                      Client      Work               Email From                    Email To              Email CC        Email BCC      Custodian
                                                                                         Privilege   Product


                                       Confidential correspondence with "ESA Tax
                                       Summary for P. Murry" Excel spreadsheet
                                       attachment from Edward Adams to Patrick
                                       Murry, copying Ashley Miller, supplying private
                                       information in an "ESA Tax Summary for
    00224269                           P.Murry" Excel spreadsheet, conveyed to seek                             Edward Adams               Patrick M. Murry         amiller
101 00224270 (attachment)   10/28/2014 legal advice from Foster Brever Wehrly, PLLC.        X                   <edwardsadams@yahoo.com>   <pmurry@murryllc.com>    <amiller@murryllc.com>               Edward_S_Adams
                                       Confidential correspondence from Edward
                                       Adams to Ashley Miller, supplying information
                                       conveyed to seek legal advice from Foster                                edwardsadams               Ashley Miller
102 00224366                10/29/2014 Brever Wehrly, PLLC.                                 X           X       <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                        Edward_S_Adams
                                       Confidential correspondence from Edward
                                       Adams to Ashley Miller, supplying information
                                       conveyed to seek legal advice from Foster                                edwardsadams               Ashley Miller
103 00224368                10/29/2014 Brever Wehrly, PLLC.                                 X           X       <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                        Edward_S_Adams




                                                                                                                      Page 1 of 1
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                 EXHIBIT 13
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From: Edward Adams [mailto:edwardsadams@yahoo.com]
Sent: Wednesday, October 29, 2014 5:33 PM
To: Patrick M. Murry <pmurry@murryllc.com>; amiller@murryllc.com
Subject: Fw: Request Tax Documents
                                                                 ÎÛÜßÝÌÛÜ
The password for the amended attached return is                             . Thanks.


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      Katie Baltera, Client Service Assistant
      Dealerships, CliftonLarsonAllen LLP
      Direct 612-397-3113
      katherine.baltera@CLAconnect.com
      Main 612-376-4500 x13113, Fax 612-376-4850
      220 South Sixth Street, Suite 300, Minneapolis, MN 55402
      CLAconnect.com




From: Û¼©¿®¼ ß¼¿³- Å³¿·´¬±æ»¼©¿®¼-¿¼¿³-à§¿¸±±ò½±³Ã
Sent: Ó±²¼¿§ô Ñ½¬±¾»® ïíô îðïì éæìê ßÓ
To: Þ¿´¬»®¿ô Õ¿¬¸»®·²»
Subject: Î»æ

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    CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 125 of 203




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        Katie Baltera, Client Service Assistant
        Dealerships, CliftonLarsonAllen LLP
        Direct 612-397-3113
        katherine.baltera@CLAconnect.com
        Main 612-376-4500 x13113, Fax 612-376-4850
        220 South Sixth Street, Suite 300, Minneapolis, MN 55402
        CLAconnect.com




From: Û¼©¿®¼ ß¼¿³- Å³¿·´¬±æ»¼©¿®¼-¿¼¿³-à§¿¸±±ò½±³Ã
Sent: Ì«»-¼¿§ô Í»°¬»³¾»® îíô îðïì ïïæîî ßÓ
To: Þ¿´¬»®¿ô Õ¿¬¸»®·²»
Subject: Î»æ Åîðïìñðçñîí ïïæïî ßÓ ó Í»²¬ ª·¿ Ô»¿°Ú×ÔÛÃ Î»¯«»-¬»¼ Ì¿¨ Ü±½«³»²¬-

Ì¸¿²µ §±«ÿÿÿ



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äµ¿¬¸»®·²»ò¾¿´¬»®¿à½´¿½±²²»½¬ò½±³â ©®±¬»æ



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 FROM:      katherine.baltera@claconnect.com
 TO:        edwardsadams@yahoo.com (edwardsadams@yahoo.com)
 SUBJECT: [2014/09/23 11:12 AM - Sent via LeapFILE] Requested Tax Documents
FILE TRANSFER WAITING:
Ý´·½µ ¬¸» -»½«®» ´·²µ ¬± ¼±©²´±¿¼ò
¸¬¬°æññ½´¿½±²²»½¬ò´»¿°º·´»ò²»¬ñ¹»¬ò¶-°á¬ãè¿»êïìðèìèèéíèíïðïìè¿íìçç¿¾½í¿¼ê
øÌÎßÒÍÚÛÎ ÛÈÐ×ÎÛÍ Ñ½¬±¾»® ðéô îðïì ïïæïí ßÓ÷

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RE: Further To Our Conversation . . .                                                                Page 1 of 3




                                                                                                       Logout




  RE: Further To Our Conversation . . .
  From:      Ann.Bildtsen@usdoj.gov
  To:        LWade@wc.com
  Cc:        GMaier@wc.com
  Sent:      1/5/2018 3:48:23 PM
                        1.30.09 emails.pdf       1.31.09 email.pdf       5 pages of email.pdf
  Attachments:
                        17 pages.pdf

Lance:

With regard to your request #1 below, please see the attachments entitled 1.30.09 emails and 1.31.09
email.

With regard to your request #2 below, please see the attachments entitled 5 pages of email and 17 pages.
 These are the emails I could definitively identify from the interview reports and attachments as originating from
the yahoo accounts at issue.

I have not copied David Maclaughlin on this email, but will share a hard copy with him without the attachments
so he is aware I have responded to you.

I am sending this email securely.

Thank you.

Ann M. Bildtsen | Assistant United States Attorney
Deputy Civil Chief
U.S. Attorney's Office | District of Minnesota
600 U.S. Courthouse | 300 South Fourth Street | Minneapolis, MN 55415
T: 612.664.5615 | F: 612.664.5788
ann.bildtsen@usdoj.gov



From: Wade, Lance [mailto:LWade@wc.com]
Sent: Friday, January 05, 2018 1:27 PM
To: Maclaughlin, David (USAMN) <DMaclaughlin@usa.doj.gov>; Maier, Gloria <GMaier@wc.com>
Cc: Bildtsen, Ann (USAMN) <ABildtsen@usa.doj.gov>
Subject: RE: Further To Our Conversation . . .

David/Ann,

Any update on timing?

Lance Wade
Williams & Connolly LLP



https://securemail.usdoj.gov/securereader/read.jsf                                                      1/5/2018
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RE: Further To Our Conversation . . .                                                               Page 2 of 3



725 Twelfth Street, N.W., Washington DC 20005
                                                                                                      Logout
(P) 202 434 5755 | (F) 202 434 5029
lwade@wc.com | www.wc.com/lwade


From: Wade, Lance
Sent: Thursday, January 04, 2018 11:15 PM
To: 'Maclaughlin, David (USAMN)' <david.maclaughlin@usdoj.gov>; Maier, Gloria <GMaier@wc.com>
Cc: 'Bildtsen, Ann (USAMN)' <Ann.Bildtsen@usdoj.gov>
Subject: RE: Further To Our Conversation . . .

David,

Thanks for the email.

Re #1 , much appreciated. We will look forward to a production from Ann.

Re# 2, we appreciate your willingness to provide the emails. However, we stand by our request for a log of the
interviews and the grand jury appearances  the dates they happened, and the witnesses examined. We think
this is relevant for numerous reasons  given that the interviews were being conducted throughout the period
that the investigative team was searching and accessing the Yahoo emails. If you maintain your position on this
one, please bring such a log to the hearing. We may raise this with the court.

Many thanks.

 Lance

Lance Wade
Williams & Connolly LLP
725 Twelfth Street, N.W., Washington DC 20005
(P) 202 434 5755 | (F) 202 434 5029
lwade@wc.com | www.wc.com/lwade


From: Maclaughlin, David (USAMN) [mailto:david.maclaughlin@usdoj.gov]
Sent: Thursday, January 04, 2018 6:17 PM
To: Wade, Lance <LWade@wc.com>; Maier, Gloria <GMaier@wc.com>
Cc: Bildtsen, Ann (USAMN) <Ann.Bildtsen@usdoj.gov>
Subject: Further To Our Conversation . . .

Lance and Gloria,

    1.        We will produce the emails that SA Khan/Inspector Kroells sent to then IRS SA Belich. This seems
            like pure work product to us, but we will give them to you anyway, without waiving work
            product/internal communications privileges as to other matters.

    2.       As for the Yahoo! emails actually shown to witnesses, we agree to identify for you what emails were
            shown to witnesses. We will provide the emails themselves. It does not seem relevant to us, at least
            for Mondays hearing, to identify to whom they were shown. That seems collateral to whether we
            were using, for any purpose, emails outside of the four corners of the warrant.

Im sure we will talk soon.




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RE: Further To Our Conversation . . .                                                                             Page 3 of 3




                                                                                                                    Logout
David




This message and any attachments are intended only for the addressee and may contain information that is privileged and
confidential. If you have received this message in error, please do not read, use, copy, distribute, or disclose the contents of
the message and any attachments. Instead, please delete the message and any attachments and notify the sender
immediately. Thank you.




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RE: Further To Our Conversation . . .                                                                Page 1 of 2




                                                                                                       Logout




  RE: Further To Our Conversation . . .
  From:      Ann.Bildtsen@usdoj.gov
  To:        LWade@wc.com
  Cc:        GMaier@wc.com
  Sent:      1/5/2018 5:47:03 PM
                        12.3.09 9 pages.pdf       9.30.2010 3 pages.pdf         9.9.2011 6 pages.pdf
  Attachments:
                        1.7.2010 4 pages.pdf

Lance and Gloria:

In response to your request number 2 below, attached are four additional pdfs containing emails. I believe this is
my last installment. I have encrypted this email, and will copy David M. only on the cover email, not the
attachments. Thank you.

Ann M. Bildtsen | Assistant United States Attorney
Deputy Civil Chief
U.S. Attorney's Office | District of Minnesota
600 U.S. Courthouse | 300 South Fourth Street | Minneapolis, MN 55415
T: 612.664.5615 | F: 612.664.5788
ann.bildtsen@usdoj.gov




From: Wade, Lance [mailto:LWade@wc.com]
Sent: Friday, January 05, 2018 1:27 PM
To: Maclaughlin, David (USAMN) <DMaclaughlin@usa.doj.gov>; Maier, Gloria <GMaier@wc.com>
Cc: Bildtsen, Ann (USAMN) <ABildtsen@usa.doj.gov>
Subject: RE: Further To Our Conversation . . .

David/Ann,

Any update on timing?

Lance Wade
Williams & Connolly LLP
725 Twelfth Street, N.W., Washington DC 20005
(P) 202 434 5755 | (F) 202 434 5029
lwade@wc.com | www.wc.com/lwade


From: Wade, Lance
Sent: Thursday, January 04, 2018 11:15 PM
To: 'Maclaughlin, David (USAMN)' <david.maclaughlin@usdoj.gov>; Maier, Gloria <GMaier@wc.com>
Cc: 'Bildtsen, Ann (USAMN)' <Ann.Bildtsen@usdoj.gov>
Subject: RE: Further To Our Conversation . . .



https://securemail.usdoj.gov/securereader/read.jsf                                                      1/5/2018
         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 132 of 203
RE: Further To Our Conversation . . .                                                                             Page 2 of 2




                                                                                                                    Logout
David,

Thanks for the email.

Re #1 , much appreciated. We will look forward to a production from Ann.

Re# 2, we appreciate your willingness to provide the emails. However, we stand by our request for a log of the
interviews and the grand jury appearances  the dates they happened, and the witnesses examined. We think
this is relevant for numerous reasons  given that the interviews were being conducted throughout the period
that the investigative team was searching and accessing the Yahoo emails. If you maintain your position on this
one, please bring such a log to the hearing. We may raise this with the court.

Many thanks.

 Lance

Lance Wade
Williams & Connolly LLP
725 Twelfth Street, N.W., Washington DC 20005
(P) 202 434 5755 | (F) 202 434 5029
lwade@wc.com | www.wc.com/lwade


From: Maclaughlin, David (USAMN) [mailto:david.maclaughlin@usdoj.gov]
Sent: Thursday, January 04, 2018 6:17 PM
To: Wade, Lance <LWade@wc.com>; Maier, Gloria <GMaier@wc.com>
Cc: Bildtsen, Ann (USAMN) <Ann.Bildtsen@usdoj.gov>
Subject: Further To Our Conversation . . .

Lance and Gloria,

    1.         We will produce the emails that SA Khan/Inspector Kroells sent to then IRS SA Belich. This seems
             like pure work product to us, but we will give them to you anyway, without waiving work
             product/internal communications privileges as to other matters.

    2.        As for the Yahoo! emails actually shown to witnesses, we agree to identify for you what emails were
             shown to witnesses. We will provide the emails themselves. It does not seem relevant to us, at least
             for Mondays hearing, to identify to whom they were shown. That seems collateral to whether we
             were using, for any purpose, emails outside of the four corners of the warrant.

Im sure we will talk soon.

David




This message and any attachments are intended only for the addressee and may contain information that is privileged and
confidential. If you have received this message in error, please do not read, use, copy, distribute, or disclose the contents of
the message and any attachments. Instead, please delete the message and any attachments and notify the sender
immediately. Thank you.




https://securemail.usdoj.gov/securereader/read.jsf                                                                   1/5/2018
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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    1      00270072    Update      Document        Kroells, Christine   11/17/2016 12:57:25 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    2      00270068    Update      Document        Kroells, Christine   11/17/2016 12:57:39 PM EST    oice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184240</setCh
    3      00380866    Update      Document        Kroells, Christine   11/17/2016 12:58:23 PM EST    oice><setChoice>1184250</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    4      00270064    Update      Document        Kroells, Christine   11/17/2016 1:04:12 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    5      00380895    Update      Document        Kroells, Christine   11/17/2016 1:04:58 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    6      00381008    Update      Document        Kroells, Christine   11/17/2016 1:06:31 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    7      00381019    Update      Document        Kroells, Christine   11/17/2016 1:06:53 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    8      00270179    Update      Document        Kroells, Christine   11/17/2016 1:08:53 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    9      00382713    Update      Document        Kroells, Christine   11/17/2016 1:10:26 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    10     00270527    Update      Document        Kroells, Christine   11/17/2016 1:12:20 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
    11     00387223    Update      Document        Kroells, Christine   11/17/2016 1:20:44 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
    12     00387222    Update      Document        Kroells, Christine   11/17/2016 1:20:54 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    13     00387980    Update      Document        Kroells, Christine   11/17/2016 1:23:01 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    14     00387979    Update      Document        Kroells, Christine   11/17/2016 1:23:12 PM EST     oice></field></auditElement>



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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    15     00271645    Update      Document        Kroells, Christine   11/17/2016 1:23:48 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    16     00271648    Update      Document        Kroells, Christine   11/17/2016 1:24:03 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1037614</setChoice><setChoice>1184235</setCh
                                                                                                      oice><setChoice>1184236</setChoice><setChoice>1184237</setChoice><setC
    17     00001088    Update      Document        Kroells, Christine   11/17/2016 2:57:50 PM EST     hoice>1184250</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1037614</setChoice><setChoice>1184235</setCh
                                                                                                      oice><setChoice>1184237</setChoice><setChoice>1184250</setChoice></field
    18     00419270    Update      Document        Kroells, Christine   11/17/2016 3:02:13 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1037614</setChoice><setChoice>1184235</setCh
                                                                                                      oice><setChoice>1184237</setChoice><setChoice>1184250</setChoice></field
    19     00419269    Update      Document        Kroells, Christine   11/17/2016 3:02:34 PM EST     ></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184240</setChoice><setChoice>1184
    20     00003929    Update      Document        Kroells, Christine   11/17/2016 3:06:29 PM EST     237</setChoice><setChoice>1184250</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184239</setChoice><setChoice>1184
    21     00003928    Update      Document        Kroells, Christine   11/17/2016 3:07:09 PM EST     237</setChoice><setChoice>1184250</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    22     00421322    Update      Document        Kroells, Christine   11/17/2016 3:22:27 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    23     00421407    Update      Document        Kroells, Christine   11/17/2016 3:23:03 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184250</setCh
    24     00421406    Update      Document        Kroells, Christine   11/17/2016 3:23:13 PM EST     oice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184248</setCh
    25     00277641    Update      Document        Kroells, Christine   11/28/2016 2:36:21 PM EST     oice><setChoice>1184250</setChoice></field></auditElement>



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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    26     00318195    Update      Document        Kroells, Christine   11/28/2016 2:42:03 PM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    27     00318309    Update      Document        Kroells, Christine   11/28/2016 2:42:31 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    28     00318331    Update      Document        Kroells, Christine   11/28/2016 2:42:50 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
    29     00393730    Update      Document        Kroells, Christine   11/28/2016 2:48:20 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
    30     00429882    Update      Document        Kroells, Christine   11/28/2016 3:03:36 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    31     00338078    Update      Document        Kroells, Christine   11/28/2016 3:09:22 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    32     00338080    Update      Document        Kroells, Christine   11/28/2016 3:09:40 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    33     00338082    Update      Document        Kroells, Christine   11/28/2016 3:09:52 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    34     00338084    Update      Document        Kroells, Christine   11/28/2016 3:10:01 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    35     00338088    Update      Document        Kroells, Christine   11/28/2016 3:10:09 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184238</setCh
    36     00343914    Update      Document        Kroells, Christine   11/28/2016 3:11:52 PM EST     oice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                             Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184237</setChoice></field></auditEl
    37     00023233    Update      Document        Kroells, Christine   11/28/2016 3:21:36 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184237</setChoice></field></auditEl
    38     00023265    Update      Document        Kroells, Christine   11/28/2016 3:22:16 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184237</setChoice></field></auditEl
    39     00023268    Update      Document        Kroells, Christine   11/28/2016 3:22:32 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice><setC
                                                                                                      hoice>1184239</setChoice><setChoice>1184237</setChoice></field></auditEl
    40     00023287    Update      Document        Kroells, Christine   11/28/2016 3:26:28 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184237</setChoice></field></auditEl
    41     00023476    Update      Document        Kroells, Christine   11/28/2016 3:29:43 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184256</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184243</setChoice></field></auditEl
    42     00023554    Update      Document        Kroells, Christine   11/28/2016 3:30:47 PM EST     ement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
    43     00023554    Update      Document        Kroells, Christine   11/28/2016 3:31:17 PM EST     formatstring=""><setChoice>1184269</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
    44     00023233    Update      Document        Kroells, Christine   11/28/2016 3:31:49 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
    45     00023265    Update      Document        Kroells, Christine   11/28/2016 3:31:57 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184255</setChoice><setChoice>1184267</setCh
                                                                                                      oice><setChoice>1184269</setChoice><unsetChoice>1184256</unsetChoice><
    46     00023268    Update      Document        Kroells, Christine   11/28/2016 3:32:14 PM EST     /field></auditElement>



                                                                                  Page 4 of 18
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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184255</setChoice><unsetChoice>1184256</uns
    47     00023265    Update      Document        Kroells, Christine   11/28/2016 3:32:33 PM EST     etChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184255</setChoice><unsetChoice>1184256</uns
    48     00023233    Update      Document        Kroells, Christine   11/28/2016 3:32:41 PM EST     etChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
    49     00022652    Update      Document        Kroells, Christine   11/28/2016 3:33:15 PM EST     243</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184239</setChoice></field></auditEl
    50     00022997    Update      Document        Kroells, Christine   11/28/2016 3:34:33 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
    51     00023037    Update      Document        Kroells, Christine   11/28/2016 3:35:09 PM EST     243</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    52     00027091    Update      Document        Kroells, Christine   11/28/2016 3:43:02 PM EST     hoice>1184243</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    53     00027212    Update      Document        Kroells, Christine   11/28/2016 3:53:13 PM EST     hoice>1184243</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1037614</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
    54     00324408    Update      Document        Kroells, Christine   11/28/2016 3:54:25 PM EST     246</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184246</setChoice><setChoice>1184
    55     00324448    Update      Document        Kroells, Christine   11/29/2016 8:11:30 AM EST     237</setChoice><setChoice>1184249</setChoice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184269</setChoice><setChoice>1184235</setChoice><setChoice>1184
    56     00324460    Update      Document        Kroells, Christine   11/29/2016 8:14:31 AM EST     243</setChoice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184243</setChoice><setChoice>1184
    57     00324461    Update      Document        Kroells, Christine   11/29/2016 8:15:31 AM EST     237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184269</setChoice><setChoice>1184235</setChoice><setChoice>1184
                                                                                                      236</setChoice><setChoice>1184243</setChoice><setChoice>1184237</setCh
    58     00324464    Update      Document        Kroells, Christine   11/29/2016 8:20:12 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    59     00324469    Update      Document        Kroells, Christine   11/29/2016 8:21:55 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    60     00324468    Update      Document        Kroells, Christine   11/29/2016 8:22:09 AM EST     oice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
    61     00324499    Update      Document        Kroells, Christine   11/29/2016 8:24:29 AM EST     243</setChoice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184269</setChoice><setChoice>1184235</setChoice><setChoice>1184
    62     00324502    Update      Document        Kroells, Christine   11/29/2016 8:25:29 AM EST     236</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
    63     00324507    Update      Document        Kroells, Christine   11/29/2016 8:28:33 AM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184246</setChoice><setChoice>1184237</setChoice><setChoice>1184
    64     00435996    Update      Document        Kroells, Christine   11/29/2016 8:32:36 AM EST     249</setChoice></field></auditElement>



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   Row          Name      Action    Object Type        User Name                 Timestamp                                             Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184246</setChoice><setChoice>1184237</setChoice><setChoice>1184
    65     00436001    Update      Document        Kroells, Christine   11/29/2016 8:34:23 AM EST     249</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    66     00324531    Update      Document        Kroells, Christine   11/29/2016 8:35:20 AM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    67     00324536    Update      Document        Kroells, Christine   11/29/2016 8:37:29 AM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184237</setChoice></field></auditEl
    68     00324683    Update      Document        Kroells, Christine   11/29/2016 8:44:31 AM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
    69     00324718    Update      Document        Kroells, Christine   11/29/2016 8:45:09 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184251</setChoice><setC
    70     00324802    Update      Document        Kroells, Christine   11/29/2016 8:53:28 AM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
    71     00324820    Update      Document        Kroells, Christine   11/29/2016 8:55:11 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    72     00324829    Update      Document        Kroells, Christine   11/29/2016 8:57:09 AM EST     oice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184269</setChoice><setChoice>1184235</setChoice><setChoice>1184
    73     00324830    Update      Document        Kroells, Christine   11/29/2016 9:04:51 AM EST     236</setChoice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1037614</setChoice><setChoice>1184267</setCh
                                                                                                      oice><setChoice>1184269</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184237</setChoice></field></auditEl
    74     00324829    Update      Document        Kroells, Christine   11/29/2016 9:05:17 AM EST     ement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    75     00324860    Update      Document        Kroells, Christine   11/29/2016 9:07:51 AM EST     oice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184246</setCh
    76     00436056    Update      Document        Kroells, Christine   11/29/2016 9:11:06 AM EST     oice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184246</setCh
                                                                                                      oice><setChoice>1184237</setChoice><setChoice>1184249</setChoice></field
    77     00436021    Update      Document        Kroells, Christine   11/29/2016 9:12:07 AM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    78     00324969    Update      Document        Kroells, Christine   11/29/2016 9:13:29 AM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    79     00324970    Update      Document        Kroells, Christine   11/29/2016 9:14:15 AM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice><setC
    80     00324971    Update      Document        Kroells, Christine   11/29/2016 9:15:09 AM EST     hoice>1184237</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
    81     00325143    Update      Document        Kroells, Christine   11/29/2016 9:18:09 AM EST     oice><setChoice>1184256</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
    82     00325149    Update      Document        Kroells, Christine   11/29/2016 9:18:38 AM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184239</setChoice><setChoice>1184
    83     00436128    Update      Document        Kroells, Christine   11/29/2016 9:24:26 AM EST     237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184236</setCh
    84     00027355    Update      Document        Kroells, Christine   11/29/2016 9:26:13 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
    85     00325292    Update      Document        Kroells, Christine   11/29/2016 9:36:09 AM EST     oice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
    86     00325290    Update      Document        Kroells, Christine   11/29/2016 9:36:41 AM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
    87     00325424    Update      Document        Kroells, Christine   11/29/2016 11:03:03 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
    88     00325425    Update      Document        Kroells, Christine   11/29/2016 11:03:46 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
    89     00326041    Update      Document        Kroells, Christine   11/29/2016 11:10:14 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
    90     00326039    Update      Document        Kroells, Christine   11/29/2016 11:10:25 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184238</setChoice></field
    91     00436255    Update      Document        Kroells, Christine   11/29/2016 11:11:17 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    92     00326133    Update      Document        Kroells, Christine   11/29/2016 11:13:40 AM EST    hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
    93     00326135    Update      Document        Kroells, Christine   11/29/2016 11:14:57 AM EST    hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
    94     00326154    Update      Document        Kroells, Christine   11/29/2016 11:16:50 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
    95     00326158    Update      Document        Kroells, Christine   11/29/2016 11:17:10 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184238</setCh
    96     00436271    Update      Document        Kroells, Christine   11/29/2016 11:18:48 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
    97     00027972    Update      Document        Kroells, Christine   11/29/2016 11:20:14 AM EST    oice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184238</setChoice></field
    98     00326300    Update      Document        Kroells, Christine   11/29/2016 11:20:39 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184238</setChoice></field
    99     00326306    Update      Document        Kroells, Christine   11/29/2016 11:21:13 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   100     00028222    Update      Document        Kroells, Christine   11/29/2016 11:23:50 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184238</setCh
   101     00436325    Update      Document        Kroells, Christine   11/29/2016 11:25:27 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184238</setCh
   102     00436354    Update      Document        Kroells, Christine   11/29/2016 11:26:43 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
   103     00028235    Update      Document        Kroells, Christine   11/29/2016 11:28:09 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
   104     00326684    Update      Document        Kroells, Christine   11/29/2016 11:29:43 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
   105     00436435    Update      Document        Kroells, Christine   11/29/2016 11:31:39 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
   106     00028369    Update      Document        Kroells, Christine   11/29/2016 11:32:16 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184253</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice></field
   107     00326717    Update      Document        Kroells, Christine   11/29/2016 11:33:17 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   108     00327050    Update      Document        Kroells, Christine   11/29/2016 11:43:17 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184238</setChoice></field
   109     00327127    Update      Document        Kroells, Christine   11/29/2016 11:45:43 AM EST    ></auditElement>




                                                                                  Page 10 of 18
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   Row          Name      Action    Object Type        User Name                 Timestamp                                             Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184238</setChoice></field
   110     00327129    Update      Document        Kroells, Christine   11/29/2016 11:48:12 AM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184243</setCh
   111     00327239    Update      Document        Kroells, Christine   11/29/2016 11:53:27 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
   112     00327248    Update      Document        Kroells, Christine   11/29/2016 11:53:58 AM EST    hoice>1184243</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184251</setChoice><setChoice>1184243</setChoice><setChoice>1184
   113     00327252    Update      Document        Kroells, Christine   11/29/2016 11:54:40 AM EST    239</setChoice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184243</setCh
   114     00027056    Update      Document        Kroells, Christine   11/29/2016 11:58:53 AM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184246</setChoice><setC
   115     00435903    Update      Document        Kroells, Christine   11/29/2016 11:59:51 AM EST    hoice>1184249</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184246</setChoice><setChoice>1184
   116     00324284    Update      Document        Kroells, Christine   11/29/2016 12:02:25 PM EST    237</setChoice><setChoice>1184249</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1037614</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
   117     00324288    Update      Document        Kroells, Christine   11/29/2016 12:04:09 PM EST    237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184237</setChoice></field></auditEl
   118     00324290    Update      Document        Kroells, Christine   11/29/2016 12:04:35 PM EST    ement>




                                                                                  Page 11 of 18
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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184236</setCh
                                                                                                      oice><setChoice>1184243</setChoice><setChoice>1184239</setChoice><setC
   119     00324292    Update      Document        Kroells, Christine   11/29/2016 12:05:23 PM EST    hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184239</setChoice><setChoice>1184
   120     00324295    Update      Document        Kroells, Christine   11/29/2016 12:05:46 PM EST    237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   121     00324339    Update      Document        Kroells, Christine   11/29/2016 12:14:00 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
   122     00324338    Update      Document        Kroells, Christine   11/29/2016 12:14:15 PM EST    ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice><setC
   123     00324372    Update      Document        Kroells, Christine   11/29/2016 12:16:30 PM EST    hoice>1184237</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184246</setChoice><setChoice>1184
   124     00324390    Update      Document        Kroells, Christine   11/29/2016 12:17:15 PM EST    237</setChoice><setChoice>1184249</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   125     00327597    Update      Document        Kroells, Christine   11/29/2016 12:27:13 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
   126     00328520    Update      Document        Kroells, Christine   11/29/2016 12:57:58 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184254</setCh
   127     00328526    Update      Document        Kroells, Christine   11/29/2016 12:58:18 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   128     00328641    Update      Document        Kroells, Christine   11/29/2016 12:59:52 PM EST    oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   129     00328648    Update      Document        Kroells, Christine   11/29/2016 1:11:41 PM EST     oice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   130     00328668    Update      Document        Kroells, Christine   11/29/2016 1:17:28 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184273</setCh
   131     00328674    Update      Document        Kroells, Christine   11/29/2016 1:20:05 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184235</setChoice><setChoice>1184236</setChoice><setChoice>1184
   132     00328701    Update      Document        Kroells, Christine   11/29/2016 1:23:54 PM EST     237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   133     00328713    Update      Document        Kroells, Christine   11/29/2016 1:32:53 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   134     00328715    Update      Document        Kroells, Christine   11/29/2016 1:46:24 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   135     00328716    Update      Document        Kroells, Christine   11/29/2016 1:54:29 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   136     00328734    Update      Document        Kroells, Christine   11/29/2016 1:55:17 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
   137     00328900    Update      Document        Kroells, Christine   11/29/2016 3:12:16 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
   138     00328919    Update      Document        Kroells, Christine   11/29/2016 3:15:11 PM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   139     00436894    Update      Document        Kroells, Christine   11/29/2016 3:20:06 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184243</setChoice><setChoice>1184237</setChoice></field></auditEl
   140     00330241    Update      Document        Kroells, Christine   11/29/2016 3:24:53 PM EST     ement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
   141     00330878    Update      Document        Kroells, Christine   11/29/2016 3:30:56 PM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice><setC
   142     00330879    Update      Document        Kroells, Christine   11/29/2016 3:32:17 PM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
   143     00330883    Update      Document        Kroells, Christine   11/29/2016 3:32:59 PM EST     hoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
   144     00331062    Update      Document        Kroells, Christine   11/29/2016 3:34:55 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   145     00331274    Update      Document        Kroells, Christine   11/29/2016 3:36:46 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   146     00331273    Update      Document        Kroells, Christine   11/29/2016 3:37:04 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   147     00437048    Update      Document        Kroells, Christine   11/29/2016 3:41:31 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
   148     00331650    Update      Document        Kroells, Christine   11/29/2016 3:44:45 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184237</setChoice></field></auditEl
   149     00030845    Update      Document        Kroells, Christine   11/29/2016 3:49:03 PM EST     ement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1037614</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184240</setChoice><setChoice>1184
   150     00437077    Update      Document        Kroells, Christine   11/29/2016 3:50:57 PM EST     239</setChoice><setChoice>1184237</setChoice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184239</setCh
   151     00437082    Update      Document        Kroells, Christine   11/29/2016 3:52:28 PM EST     oice><setChoice>1184237</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184239</setCh
   152     00437081    Update      Document        Kroells, Christine   11/29/2016 3:53:14 PM EST     oice><setChoice>1184237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
   153     00331821    Update      Document        Kroells, Christine   11/29/2016 4:00:01 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184246</setChoice><setC
                                                                                                      hoice>1184237</setChoice><setChoice>1184249</setChoice></field></auditEl
   154     00437092    Update      Document        Kroells, Christine   11/29/2016 4:03:52 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184255</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184246</setChoice><setChoice>1184237</setChoice><setChoice>1184
   155     00030985    Update      Document        Kroells, Christine   11/29/2016 4:13:04 PM EST     249</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184266</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184246</setChoice><setC
                                                                                                      hoice>1184237</setChoice><setChoice>1184249</setChoice></field></auditEl
   156     00030996    Update      Document        Kroells, Christine   11/29/2016 4:14:50 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice></field
   157     00332036    Update      Document        Kroells, Christine   11/29/2016 4:33:34 PM EST     ></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184256</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184269</setChoice><setChoice>1184268</setChoice><setChoice>1184
                                                                                                      235</setChoice><setChoice>1184236</setChoice><setChoice>1184237</setCh
   158     00332992    Update      Document        Kroells, Christine   11/29/2016 4:56:01 PM EST     oice><setChoice>1184248</setChoice></field></auditElement>

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   159     00333411    Update      Document        Kroells, Christine   11/29/2016 4:58:13 PM EST     oice><setChoice>1184256</setChoice></field></auditElement>




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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details

                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   160     00333448    Update      Document        Kroells, Christine   11/29/2016 4:59:03 PM EST     oice><setChoice>1184256</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
   161     00333448    Update      Document        Kroells, Christine   11/29/2016 5:00:22 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184256</setChoice><setChoice>1184267</setChoice><setC
                                                                                                      hoice>1184268</setChoice><setChoice>1184235</setChoice><setChoice>1184
   162     00031299    Update      Document        Kroells, Christine   11/29/2016 5:02:36 PM EST     236</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   163     00031307    Update      Document        Kroells, Christine   11/29/2016 5:07:57 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184253</setCh
                                                                                                      oice><setChoice>1184266</setChoice><setChoice>1184235</setChoice><setC
                                                                                                      hoice>1184236</setChoice><setChoice>1184237</setChoice></field></auditEl
   164     00031433    Update      Document        Kroells, Christine   11/30/2016 2:14:00 PM EST     ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   165     00437376    Update      Document        Kroells, Christine   11/30/2016 2:20:26 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
   166     00334123    Update      Document        Kroells, Christine   11/30/2016 4:32:50 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184243</setCh
   167     00334144    Update      Document        Kroells, Christine   11/30/2016 4:34:46 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice><setC
   168     00334213    Update      Document        Kroells, Christine   11/30/2016 4:35:18 PM EST     hoice>1184238</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184237</setChoice></field
   169     00334216    Update      Document        Kroells, Christine   11/30/2016 4:36:51 PM EST     ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184243</setChoice><setC
                                                                                                      hoice>1184237</setChoice><setChoice>1184238</setChoice></field></auditEl
   170     00437431    Update      Document        Kroells, Christine   11/30/2016 4:37:39 PM EST     ement>



                                                                                  Page 16 of 18
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   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184267</setChoice><setChoice>1184269</setChoice><setC
                                                                                                      hoice>1184268</setChoice><setChoice>1184235</setChoice><setChoice>1184
   171     00334341    Update      Document        Kroells, Christine   11/30/2016 4:38:54 PM EST     237</setChoice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184243</setCh
   172     00334347    Update      Document        Kroells, Christine   11/30/2016 4:39:16 PM EST     oice></field></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184240</setChoice><setChoice>1184239</setChoice></field></auditEl
   173     00023942    Update      Document        Kroells, Christine   5/16/2017 8:55:56 AM EDT      ement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184268</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   174     00025360    Update      Document        Kroells, Christine   5/16/2017 8:59:28 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   175     00026328    Update      Document        Kroells, Christine   5/16/2017 9:00:10 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   176     00027129    Update      Document        Kroells, Christine   5/16/2017 9:01:35 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   177     00027243    Update      Document        Kroells, Christine   5/16/2017 9:04:26 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184236</setCh
                                                                                                      oice><setChoice>1184237</setChoice><setChoice>1184241</setChoice></field
   178     00384868    Update      Document        Kroells, Christine   5/16/2017 9:11:48 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184236</setCh
                                                                                                      oice><setChoice>1184237</setChoice><setChoice>1184241</setChoice></field
   179     00271125    Update      Document        Kroells, Christine   5/16/2017 9:13:04 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184235</setChoice><setChoice>1184237</setCh
   180     00421726    Update      Document        Kroells, Christine   5/16/2017 9:16:33 AM EDT      oice></field></auditElement>




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                                CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 151 of 203
U.S. v. Adams                                     Log Showing Kroells Updating the Issues Field of Some Documents in Relativity



   Row          Name      Action    Object Type        User Name                 Timestamp                                            Details
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   181     00331670    Update      Document        Kroells, Christine   5/16/2017 9:18:57 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184267</setChoice><setChoice>1184269</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice></field
   182     00334673    Update      Document        Kroells, Christine   5/16/2017 9:20:27 AM EDT      ></auditElement>
                                                                                                      <auditElement><field id="1036720" type="8" name="ISSUES"
                                                                                                      formatstring=""><setChoice>1184252</setChoice><setChoice>1184255</setCh
                                                                                                      oice><setChoice>1184235</setChoice><setChoice>1184236</setChoice><setC
                                                                                                      hoice>1184240</setChoice><setChoice>1184239</setChoice></field></auditEl
   183     00007023    Update      Document        Kroells, Christine   8/21/2017 4:20:57 PM EDT      ement>




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                 EXHIBIT 16
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U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

00018334        Print       Document      Maria, David       5/4/2016 1:01:10 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00018375        Print       Document      Maria, David       5/4/2016 1:02:08 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00018842        Print       Document      Maria, David       5/4/2016 1:02:52 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00020645        Print       Document      Maria, David       5/4/2016 1:06:54 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00023457        Print       Document      Maria, David       5/4/2016 1:19:06 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00224366        Print       Document      Maria, David       5/4/2016 3:04:21 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00225476        Print       Document      Maria, David       5/4/2016 3:10:35 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00224368        Print       Document      Maria, David       5/4/2016 3:55:02 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00284912        Print       Document      Maria, David       5/4/2016 4:04:04 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00285408        Print       Document      Maria, David       5/4/2016 4:06:09 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00287437        Print       Document      Maria, David       5/4/2016 4:06:50 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00288829        Print       Document      Maria, David       5/4/2016 4:07:11 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00299580        Print       Document      Maria, David       5/4/2016 4:07:54 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00299581        Print       Document      Maria, David       5/4/2016 4:08:18 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00299582        Print       Document      Maria, David       5/4/2016 4:08:30 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00030484        Print       Document      Maria, David       5/4/2016 4:44:09 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00018263        Print       Document      Maria, David       5/4/2016 4:50:25 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00324292        Print       Document      Maria, David       5/4/2016 4:55:47 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00324295        Print       Document      Maria, David       5/4/2016 4:56:19 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00385559        Print       Document      Maria, David       5/5/2016 10:15:22 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00385560        Print       Document      Maria, David       5/5/2016 10:15:42 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00397167        Print       Document      Maria, David       5/5/2016 10:38:32 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

00078937        Print       Document      Maria, David       5/5/2016 10:44:27 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00314820        Print       Document      Maria, David       5/5/2016 10:45:11 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00381207        Print       Document      Maria, David       5/5/2016 10:47:38 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00087325        Print       Document      Maria, David       5/5/2016 11:03:00 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00125764        Print       Document      Maria, David       5/5/2016 11:04:12 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00449053        Print       Document      Maria, David       5/5/2016 11:10:59 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00102173        Print       Document      Maria, David       5/5/2016 11:21:07 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00102176        Print       Document      Maria, David       5/5/2016 11:21:53 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00107244        Print       Document      Maria, David       5/5/2016 11:22:45 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00270801        Print       Document      Maria, David       5/5/2016 11:28:58 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00271125        Print       Document      Maria, David       5/5/2016 11:32:42 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00284699        Print       Document      Maria, David       5/5/2016 11:36:41 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00284813        Print       Document      Maria, David       5/5/2016 11:37:37 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00284853        Print       Document      Maria, David       5/5/2016 11:38:31 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00302973        Print       Document      Maria, David       5/5/2016 11:41:02 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00302974        Print       Document      Maria, David       5/5/2016 11:41:21 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00302987        Print       Document      Maria, David       5/5/2016 11:41:32 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00339406        Print       Document      Maria, David       5/5/2016 11:43:44 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00035602        Print       Document      Maria, David       5/5/2016 4:55:46 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00000243        Print       Document      Maria, David       5/9/2016 4:00:28 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00001558        Print       Document      Maria, David       5/9/2016 4:01:25 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00002126        Print       Document      Maria, David       5/9/2016 4:03:10 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

00004974        Print       Document      Maria, David       5/9/2016 4:07:19 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00230218        Print       Document      Maria, David       5/17/2016 1:43:37 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00230222        Print       Document      Maria, David       5/17/2016 1:44:09 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00030889        Print       Document      Maria, David       5/20/2016 10:04:55 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00322032        Print       Document      Maria, David       5/20/2016 10:10:22 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00018542        Print       Document      Maria, David       5/20/2016 10:19:17 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00022655        Print       Document      Maria, David       5/20/2016 10:23:43 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00022886        Print       Document      Maria, David       5/20/2016 10:24:59 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00023610        Print       Document      Maria, David       5/20/2016 10:25:38 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00023911        Print       Document      Maria, David       5/20/2016 10:26:35 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00394063        Print       Document      Maria, David       5/24/2016 10:27:50 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00393647        Print       Document      Maria, David       5/25/2016 11:06:57 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00035879        Print       Document      Maria, David       5/25/2016 12:23:33 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00036253        Print       Document      Maria, David       5/25/2016 12:24:15 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00042819        Print       Document      Maria, David       5/25/2016 12:24:57 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00044964        Print       Document      Maria, David       5/25/2016 12:26:09 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00434120        Print       Document      Maria, David       5/25/2016 3:30:29 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00434117        Print       Document      Maria, David       5/25/2016 3:30:52 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00001088        Print       Document      Maria, David       5/27/2016 12:42:54 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00004082        Print       Document      Maria, David       5/27/2016 12:48:30 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00434120        Print       Document      Maria, David       6/6/2016 11:53:31 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00433199        Print       Document      Maria, David       6/6/2016 11:54:37 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

00433448        Print       Document      Maria, David       6/6/2016 12:10:49 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00433941        Print       Document      Maria, David       6/6/2016 12:29:23 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00433994        Print       Document      Maria, David       6/6/2016 12:41:27 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00433199        Print       Document      Maria, David       6/7/2016 2:34:57 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00336933        Print       Document      Maria, David       6/27/2016 2:13:07 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00336940        Print       Document      Maria, David       6/27/2016 2:13:57 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00336942        Print       Document      Maria, David       6/27/2016 2:14:27 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00336946        Print       Document      Maria, David       6/27/2016 2:15:11 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00359626        Print       Document      Maria, David       6/27/2016 2:17:44 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00362034        Print       Document      Maria, David       6/27/2016 2:18:17 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00448566        Print       Document      Maria, David       6/27/2016 2:55:40 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00190855        Print       Document      Maria, David       7/18/2016 7:05:23 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00141085        Print       Document      Maria, David       8/29/2016 4:45:09 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00081540        Print       Document      Maria, David       8/29/2016 4:49:14 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00221676        Print       Document      Maria, David       8/30/2016 3:51:27 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00052324        Print       Document      Maria, David       9/6/2016 1:15:43 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00053042        Print       Document      Maria, David       9/6/2016 1:17:57 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00061774        Print       Document      Maria, David       9/6/2016 1:21:03 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00067764        Print       Document      Maria, David       9/6/2016 1:22:21 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00362262        Print       Document      Maria, David       9/6/2016 1:37:56 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00036550        Print       Document      Maria, David       9/6/2016 2:10:26 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00260392        Print       Document      Maria, David       9/6/2016 2:16:13 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

00029348        Print       Document      Maria, David       9/7/2016 1:33:31 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00014297        Print       Document      Maria, David       9/9/2016 3:55:20 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00030288        Print       Document      Maria, David       9/16/2016 12:41:49 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00030484        Print       Document      Maria, David       9/16/2016 12:42:36 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00171922        Print       Document      Maria, David       9/16/2016 12:47:06 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00171923        Print       Document      Maria, David       9/16/2016 12:47:26 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00171926        Print       Document      Maria, David       9/16/2016 12:47:45 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00030969        Print       Document      Maria, David       9/16/2016 1:31:22 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00030971        Print       Document      Maria, David       9/16/2016 1:31:55 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

00048130        Print       Document      Maria, David       9/16/2016 1:41:48 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00077430        Print       Document      Maria, David       9/16/2016 1:46:15 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00077431        Print       Document      Maria, David       9/16/2016 1:46:31 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 158 of 203
U.S. v. Adams                                            Log Showing Relativity Print, By User AUSA Maria



Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00061599        Print       Document      Maria, David       9/16/2016 3:14:05 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00336268        Print       Document      Maria, David       9/16/2016 3:42:20 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00429941        Print       Document      Maria, David       9/16/2016 3:44:15 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

00000528        Print       Document      Maria, David       9/19/2016 10:05:13 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00006292        Print       Document      Maria, David       9/19/2016 10:10:20 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           4</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00009295        Print       Document      Maria, David       9/19/2016 10:15:00 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00009294        Print       Document      Maria, David       9/19/2016 10:15:25 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00036479        Print       Document      Maria, David       9/19/2016 11:09:13 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>




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                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 159 of 203
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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00035879        Print       Document      Maria, David       9/19/2016 11:09:54 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00041019        Print       Document      Maria, David       9/19/2016 11:11:35 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00042819        Print       Document      Maria, David       9/19/2016 11:12:39 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

00395233        Print       Document      Maria, David       9/19/2016 11:45:29 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00231205        Print       Document      Maria, David       9/23/2016 9:50:48 AM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00284902        Print       Document      Maria, David       9/23/2016 10:20:32 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00284912        Print       Document      Maria, David       9/23/2016 10:21:07 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00288829        Print       Document      Maria, David       9/23/2016 10:22:18 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00164601        Print       Document      Maria, David       9/23/2016 10:30:16 AM EDT     pSheet>none</slipSheet></printDetails></auditElement>

00270801        Print       Document      Maria, David       10/5/2016 3:47:56 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00026177        Print       Document      Maria, David       10/5/2016 3:51:35 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00107244        Print       Document      Maria, David       10/5/2016 3:58:59 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00107293        Print       Document      Maria, David       10/5/2016 3:59:51 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00176193        Print       Document      Maria, David       10/5/2016 4:07:33 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00179567        Print       Document      Maria, David       10/5/2016 4:10:26 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00179801        Print       Document      Maria, David       10/5/2016 4:10:44 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00180502        Print       Document      Maria, David       10/5/2016 4:11:13 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00183756        Print       Document      Maria, David       10/5/2016 4:13:47 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00184151        Print       Document      Maria, David       10/5/2016 4:14:07 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00184208        Print       Document      Maria, David       10/5/2016 4:14:41 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00184244        Print       Document      Maria, David       10/5/2016 4:14:56 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00184974        Print       Document      Maria, David       10/5/2016 4:16:35 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00189770        Print       Document      Maria, David       10/5/2016 4:19:53 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00190516        Print       Document      Maria, David       10/5/2016 4:21:58 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00200533        Print       Document      Maria, David       10/5/2016 4:28:50 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00212537        Print       Document      Maria, David       10/5/2016 4:30:45 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00271125        Print       Document      Maria, David       10/5/2016 4:36:48 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00284813        Print       Document      Maria, David       10/5/2016 4:40:41 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00284853        Print       Document      Maria, David       10/5/2016 4:41:43 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00338695        Print       Document      Maria, David       10/5/2016 4:50:23 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>




                                                                          Page 10 of 14
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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00341065        Print       Document      Maria, David       10/5/2016 5:07:53 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00341620        Print       Document      Maria, David       10/5/2016 5:08:49 PM EDT      pSheet>none</slipSheet></printDetails></auditElement>

00027129        Print       Document      Maria, David       10/17/2016 10:27:26 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00028531        Print       Document      Maria, David       10/17/2016 10:49:06 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00401898        Print       Document      Maria, David       10/17/2016 11:01:11 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00295636        Print       Document      Maria, David       10/17/2016 11:17:39 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00295685        Print       Document      Maria, David       10/17/2016 11:18:09 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00295727        Print       Document      Maria, David       10/17/2016 11:19:03 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00040090        Print       Document      Maria, David       10/17/2016 11:30:24 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00041020        Print       Document      Maria, David       10/17/2016 11:30:51 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00047083        Print       Document      Maria, David       10/17/2016 11:31:20 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00133040        Print       Document      Maria, David       10/17/2016 11:42:00 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           4</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00004082        Print       Document      Maria, David       10/17/2016 3:28:13 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00004968        Print       Document      Maria, David       10/17/2016 3:38:44 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>




                                                                          Page 11 of 14
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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00005593        Print       Document      Maria, David       10/17/2016 3:47:02 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

00010821        Print       Document      Maria, David       10/17/2016 4:06:21 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00016680        Print       Document      Maria, David       10/17/2016 5:08:00 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00017850        Print       Document      Maria, David       10/17/2016 5:12:45 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00017861        Print       Document      Maria, David       10/17/2016 5:15:51 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00021627        Print       Document      Maria, David       10/17/2016 5:16:50 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00032238        Print       Document      Maria, David       10/17/2016 5:19:50 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00035463        Print       Document      Maria, David       10/17/2016 5:21:35 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>




                                                                          Page 12 of 14
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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           3</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00276687        Print       Document      Maria, David       10/17/2016 5:25:16 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00336902        Print       Document      Maria, David       10/17/2016 5:46:15 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00336976        Print       Document      Maria, David       10/17/2016 6:04:56 PM EDT     pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00272070        Print       Document      Maria, David       10/19/2016 10:22:28 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

00272071        Print       Document      Maria, David       10/19/2016 10:22:51 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           10</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM4250
                                                                                           608]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotation
                                                                                           s><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00288954        Print       Document      Maria, David       10/19/2016 10:28:52 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00315580        Print       Document      Maria, David       10/19/2016 10:32:49 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

00315581        Print       Document      Maria, David       10/19/2016 10:33:35 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




                                                                          Page 13 of 14
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Name            Action      Object Type   User Name          Timestamp                     Details

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00402626        Print       Document      Maria, David       10/19/2016 10:40:08 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           1</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00404002        Print       Document      Maria, David       10/19/2016 10:40:39 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

                                                                                           <auditElement><printDetails><printRange>1
                                                                                           2</printRange><printerName><![CDATA[\\USAMNSUTIL21.usa.doj.gov\USAMNHM42506
                                                                                           08]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations
                                                                                           ><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><sli
00407577        Print       Document      Maria, David       10/19/2016 10:41:14 AM EDT    pSheet>none</slipSheet></printDetails></auditElement>

00443247        Print       Document      Maria, David       10/31/2016 4:49:17 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




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Name            Action      Object Type   User Name            Timestamp                     Details

00001088        Print       Document      Kroells, Christine   5/5/2016 12:58:38 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00002816        Print       Document      Kroells, Christine   5/5/2016 1:01:53 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00003699        Print       Document      Kroells, Christine   5/5/2016 1:02:38 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00003928        Print       Document      Kroells, Christine   5/5/2016 1:02:57 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00003929        Print       Document      Kroells, Christine   5/5/2016 1:11:40 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00003700        Print       Document      Kroells, Christine   5/5/2016 1:13:07 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00005453        Print       Document      Kroells, Christine   5/5/2016 1:15:55 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00010321        Print       Document      Kroells, Christine   5/5/2016 1:30:09 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00015809        Print       Document      Kroells, Christine   5/5/2016 1:49:17 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00021952        Print       Document      Kroells, Christine   5/5/2016 2:04:19 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00026960        Print       Document      Kroells, Christine   5/5/2016 2:13:27 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00027129        Print       Document      Kroells, Christine   5/5/2016 2:14:30 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00027134        Print       Document      Kroells, Christine   5/5/2016 2:16:09 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00196437        Print       Document      Kroells, Christine   5/5/2016 2:28:26 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00271589        Print       Document      Kroells, Christine   5/5/2016 2:53:54 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00284912        Print       Document      Kroells, Christine   5/5/2016 3:06:06 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00287437        Print       Document      Kroells, Christine   5/5/2016 3:09:57 PM EDT       heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00302833        Print       Document      Kroells, Christine   5/5/2016 3:11:36 PM EDT       heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00310849        Print       Document      Kroells, Christine   5/5/2016 3:12:31 PM EDT       heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00314531        Print       Document      Kroells, Christine   5/5/2016 3:13:54 PM EDT       heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284912        Print       Document      Kroells, Christine   5/5/2016 3:15:16 PM EDT       heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00291400        Print       Document      Kroells, Christine   5/5/2016 3:17:55 PM EDT       heet>none</slipSheet></printDetails></auditElement>

00143308        Print       Document      Kroells, Christine   5/5/2016 3:26:30 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00356764        Print       Document      Kroells, Christine   5/5/2016 3:29:06 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00361871        Print       Document      Kroells, Christine   5/5/2016 3:29:29 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00369706        Print       Document      Kroells, Christine   5/5/2016 3:32:53 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00382380        Print       Document      Kroells, Christine   5/5/2016 3:33:35 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00030612        Print       Document      Kroells, Christine   5/10/2016 2:34:33 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00309919        Print       Document      Kroells, Christine   5/10/2016 2:39:24 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00430939        Print       Document      Kroells, Christine   5/10/2016 2:40:11 PM EDT      heet>none</slipSheet></printDetails></auditElement>



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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00001919        Print       Document      Kroells, Christine   5/10/2016 2:41:38 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00000243        Print       Document      Kroells, Christine   5/10/2016 2:44:28 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00002126        Print       Document      Kroells, Christine   5/10/2016 2:48:46 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00006292        Print       Document      Kroells, Christine   5/10/2016 3:06:38 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00006293        Print       Document      Kroells, Christine   5/10/2016 3:06:51 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284810        Print       Document      Kroells, Christine   5/10/2016 3:09:03 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284958        Print       Document      Kroells, Christine   5/10/2016 3:10:34 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284960        Print       Document      Kroells, Christine   5/10/2016 3:13:27 PM EDT      heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Adobe
                                                                                             PDF]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00299397        Print       Document      Kroells, Christine   5/10/2016 3:31:51 PM EDT      lipSheet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00270801        Print       Document      Kroells, Christine   5/10/2016 4:23:28 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00338688        Print       Document      Kroells, Christine   5/10/2016 4:28:20 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00338690        Print       Document      Kroells, Christine   5/10/2016 4:29:09 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00338700        Print       Document      Kroells, Christine   5/10/2016 4:30:18 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00339405        Print       Document      Kroells, Christine   5/10/2016 4:31:29 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00339413        Print       Document      Kroells, Christine   5/10/2016 4:32:02 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00351765        Print       Document      Kroells, Christine   5/10/2016 4:35:19 PM EDT      heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035366        Print       Document      Kroells, Christine   5/10/2016 4:48:48 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 4</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00036253        Print       Document      Kroells, Christine   5/10/2016 4:57:59 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00036479        Print       Document      Kroells, Christine   5/10/2016 5:06:38 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00041021        Print       Document      Kroells, Christine   5/10/2016 5:08:57 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00034903        Print       Document      Kroells, Christine   5/10/2016 5:15:40 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00034927        Print       Document      Kroells, Christine   5/10/2016 5:16:00 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 6</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035190        Print       Document      Kroells, Christine   5/10/2016 5:20:52 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 7</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035213        Print       Document      Kroells, Christine   5/10/2016 5:22:55 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035363        Print       Document      Kroells, Christine   5/10/2016 5:25:54 PM EDT      heet>none</slipSheet></printDetails></auditElement>



                                                                            Page 5 of 15
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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035356        Print       Document      Kroells, Christine   5/10/2016 5:30:12 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 5</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00044776        Print       Document      Kroells, Christine   5/10/2016 5:35:11 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00339019        Print       Document      Kroells, Christine   5/10/2016 5:42:44 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 5</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00445309        Print       Document      Kroells, Christine   5/10/2016 5:46:46 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             16</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00190855        Print       Document      Kroells, Christine   5/11/2016 3:46:24 PM EDT      heet>none</slipSheet></printDetails></auditElement>

00001543        Print       Document      Kroells, Christine   5/11/2016 3:51:11 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00294729        Print       Document      Kroells, Christine   5/11/2016 4:01:34 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 4</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00294882        Print       Document      Kroells, Christine   5/11/2016 4:02:23 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00294881        Print       Document      Kroells, Christine   5/11/2016 4:03:16 PM EDT      heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00302833        Print       Document      Kroells, Christine   5/11/2016 4:04:05 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00302834        Print       Document      Kroells, Christine   5/11/2016 4:04:28 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00027264        Print       Document      Kroells, Christine   5/11/2016 5:04:21 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             10</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00027266        Print       Document      Kroells, Christine   5/11/2016 5:04:41 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284813        Print       Document      Kroells, Christine   5/12/2016 2:29:32 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284814        Print       Document      Kroells, Christine   5/12/2016 2:29:47 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00412017        Print       Document      Kroells, Christine   5/12/2016 2:37:23 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284724        Print       Document      Kroells, Christine   5/12/2016 2:40:47 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284724        Print       Document      Kroells, Christine   5/12/2016 2:40:55 PM EDT      heet>none</slipSheet></printDetails></auditElement>



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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284757        Print       Document      Kroells, Christine   5/12/2016 2:41:23 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284835        Print       Document      Kroells, Christine   5/12/2016 2:41:50 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284927        Print       Document      Kroells, Christine   5/12/2016 2:42:31 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00285935        Print       Document      Kroells, Christine   5/12/2016 2:50:03 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00410941        Print       Document      Kroells, Christine   5/12/2016 2:51:10 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             11</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284726        Print       Document      Kroells, Christine   5/12/2016 2:53:58 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 6</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284737        Print       Document      Kroells, Christine   5/12/2016 2:54:19 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284743        Print       Document      Kroells, Christine   5/12/2016 2:54:37 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 6</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284746        Print       Document      Kroells, Christine   5/12/2016 2:54:53 PM EDT      heet>none</slipSheet></printDetails></auditElement>



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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00285648        Print       Document      Kroells, Christine   5/12/2016 3:07:35 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00285649        Print       Document      Kroells, Christine   5/12/2016 3:07:52 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00285812        Print       Document      Kroells, Christine   5/12/2016 3:09:38 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00295709        Print       Document      Kroells, Christine   5/12/2016 3:16:04 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 4</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00295735        Print       Document      Kroells, Christine   5/12/2016 3:17:57 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00382583        Print       Document      Kroells, Christine   5/12/2016 3:24:33 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00423964        Print       Document      Kroells, Christine   5/12/2016 3:35:46 PM EDT      heet>none</slipSheet></printDetails></auditElement>

00393676        Print       Document      Kroells, Christine   5/12/2016 4:55:41 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00393677        Print       Document      Kroells, Christine   5/12/2016 4:56:04 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00393677        Print       Document      Kroells, Christine   5/12/2016 4:56:24 PM EDT      heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details

00026240        Print       Document      Kroells, Christine   5/17/2016 11:24:02 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00026240        Print       Document      Kroells, Christine   5/17/2016 11:24:23 AM EDT     heet>none</slipSheet></printDetails></auditElement>

00252458        Print       Document      Kroells, Christine   5/17/2016 2:40:43 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00252458        Print       Document      Kroells, Christine   5/17/2016 2:40:58 PM EDT      heet>none</slipSheet></printDetails></auditElement>

00287036        Print       Document      Kroells, Christine   5/17/2016 2:47:02 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00287036        Print       Document      Kroells, Christine   5/17/2016 2:47:17 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00324390        Print       Document      Kroells, Christine   5/17/2016 2:54:37 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 5</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00339303        Print       Document      Kroells, Christine   5/17/2016 3:19:47 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00343987        Print       Document      Kroells, Christine   5/17/2016 3:20:56 PM EDT      heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00421228        Print       Document      Kroells, Christine   5/17/2016 3:23:20 PM EDT      heet>none</slipSheet></printDetails></auditElement>

00383174        Print       Document      Kroells, Christine   5/17/2016 3:52:33 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00352539        Print       Document      Kroells, Christine   5/25/2016 5:11:18 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>



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Name            Action      Object Type   User Name            Timestamp                     Details

00048042        Print       Document      Kroells, Christine   5/25/2016 5:13:55 PM EDT      <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00284512        Print       Document      Kroells, Christine   5/31/2016 10:43:33 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00332992        Print       Document      Kroells, Christine   5/31/2016 10:53:25 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             28</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035793        Print       Document      Kroells, Christine   5/31/2016 11:04:20 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00035882        Print       Document      Kroells, Christine   5/31/2016 11:05:34 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00333653        Print       Document      Kroells, Christine   5/31/2016 11:19:47 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 4</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00053035        Print       Document      Kroells, Christine   5/31/2016 11:21:39 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 4</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00076770        Print       Document      Kroells, Christine   5/31/2016 11:21:53 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00048754        Print       Document      Kroells, Christine   5/31/2016 11:33:18 AM EDT     heet>none</slipSheet></printDetails></auditElement>




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Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00048751        Print       Document      Kroells, Christine   5/31/2016 11:33:33 AM EDT     heet>none</slipSheet></printDetails></auditElement>

00051878        Print       Document      Kroells, Christine   5/31/2016 11:36:05 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
                                                                                             <auditElement><printDetails><printRange>1 3</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00051875        Print       Document      Kroells, Christine   5/31/2016 11:36:40 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00051878        Print       Document      Kroells, Christine   5/31/2016 11:36:55 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00037529        Print       Document      Kroells, Christine   5/31/2016 11:45:46 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00037527        Print       Document      Kroells, Christine   5/31/2016 11:45:59 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00361156        Print       Document      Kroells, Christine   5/31/2016 11:48:19 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00455435        Print       Document      Kroells, Christine   5/31/2016 11:59:25 AM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00081325        Print       Document      Kroells, Christine   5/31/2016 11:59:36 AM EDT     heet>none</slipSheet></printDetails></auditElement>




                                                                           Page 12 of 15
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 179 of 203
U.S. v. Adams                                          Log Showing Relativity Print, By User Inspector Kroells



Name            Action      Object Type   User Name            Timestamp                     Details
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             39</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00095501        Print       Document      Kroells, Christine   5/31/2016 12:01:29 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00095003        Print       Document      Kroells, Christine   5/31/2016 12:04:26 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00095004        Print       Document      Kroells, Christine   5/31/2016 12:04:43 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             31</printRange><printerName><![CDATA[HP LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00095006        Print       Document      Kroells, Christine   5/31/2016 12:05:02 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 2</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00137019        Print       Document      Kroells, Christine   5/31/2016 12:14:37 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00052615        Print       Document      Kroells, Christine   5/31/2016 12:18:03 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00052616        Print       Document      Kroells, Christine   5/31/2016 12:18:18 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00052610        Print       Document      Kroells, Christine   5/31/2016 12:18:59 PM EDT     heet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1 1</printRange><printerName><![CDATA[HP
                                                                                             LaserJet 4250 PCL
                                                                                             5]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotations>
                                                                                             <printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipS
00052611        Print       Document      Kroells, Christine   5/31/2016 12:19:12 PM EDT     heet>none</slipSheet></printDetails></auditElement>



                                                                           Page 13 of 15
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 180 of 203
U.S. v. Adams                                          Log Showing Relativity Print, By User Inspector Kroells



Name            Action      Object Type   User Name            Timestamp                     Details

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             2</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00435551        Print       Document      Kroells, Christine   6/28/2016 11:09:26 AM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00419932        Print       Document      Kroells, Christine   6/28/2016 11:25:05 AM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             2</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00039996        Print       Document      Kroells, Christine   6/28/2016 11:39:46 AM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

00392220        Print       Document      Kroells, Christine   6/28/2016 11:46:29 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

00392914        Print       Document      Kroells, Christine   6/28/2016 11:47:36 AM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             2</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00392914        Print       Document      Kroells, Christine   6/28/2016 11:47:56 AM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00413754        Print       Document      Kroells, Christine   6/28/2016 12:12:37 PM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00285408        Print       Document      Kroells, Christine   6/28/2016 12:12:57 PM EDT     lipSheet>none</slipSheet></printDetails></auditElement>




                                                                           Page 14 of 15
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 181 of 203
U.S. v. Adams                                          Log Showing Relativity Print, By User Inspector Kroells



Name            Action      Object Type   User Name            Timestamp                     Details

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             2</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00413841        Print       Document      Kroells, Christine   6/28/2016 12:13:13 PM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00413852        Print       Document      Kroells, Christine   6/28/2016 12:13:29 PM EDT     lipSheet>none</slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[Hewlett Packard LaserJet
                                                                                             4250]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotatio
                                                                                             ns><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier><s
00002336        Print       Document      Kroells, Christine   6/28/2016 12:15:24 PM EDT     lipSheet>none</slipSheet></printDetails></auditElement>
                                                                                             <auditElement><printDetails><printRange>1
                                                                                             1</printRange><printerName><![CDATA[\\USAMNSUTIL22\USAMNRS5503001]]></print
                                                                                             erName><setOrder>0</setOrder><printAnnotations>True</printAnnotations><printReda
                                                                                             ctions>True</printRedactions><stampIdentifier>None</stampIdentifier><slipSheet>none
00278731        Print       Document      Kroells, Christine   11/2/2016 2:09:19 PM EDT      </slipSheet></printDetails></auditElement>

                                                                                             <auditElement><printDetails><printRange>1
                                                                                             5</printRange><printerName><![CDATA[RightFax Fax
                                                                                             Printer]]></printerName><setOrder>0</setOrder><printAnnotations>True</printAnnotat
                                                                                             ions><printRedactions>True</printRedactions><stampIdentifier>None</stampIdentifier>
00324536        Print       Document      Kroells, Christine   11/30/2016 2:06:48 PM EST     <slipSheet>none</slipSheet></printDetails></auditElement>




                                                                           Page 15 of 15
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 182 of 203
U.S. v. Adams                                              Log Showing Relativity Print, By User Agent Khan



Name            Action      Object Type   User Name            Timestamp                     Details
00000219        Print       Document      Khan, Jennifer       5/5/2016 2:09:19 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00001088        Print       Document      Khan, Jennifer       5/5/2016 2:39:04 PM EDT       <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00044851        Print       Document      Khan, Jennifer       10/31/2016 10:32:23 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00051925        Print       Document      Khan, Jennifer       10/31/2016 10:40:37 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00086172        Print       Document      Khan, Jennifer       10/31/2016 10:51:15 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00131421        Print       Document      Khan, Jennifer       10/31/2016 10:52:17 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00131426        Print       Document      Khan, Jennifer       10/31/2016 10:54:45 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00321341        Print       Document      Khan, Jennifer       10/31/2016 11:04:49 AM EDT    <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>
00442170        Print       Document      Khan, Jennifer       10/31/2016 3:14:39 PM EDT     <Message><![CDATA[The print dialog box was invoked for Viewer.]]></Message>




                                                                             Page 1 of 1
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                 EXHIBIT 17
                                              CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 184 of 203
U.S. v. Adams                                                           EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                    5/30/2018
                                                                             E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                        Attorney    Attorney
Row        Doc ID Beg        Date                       Description                      Client      Work               Email From                   Email To        Email CC   Email BCC      Custodian
                                                                                        Privilege   Product


                                      Confidential communication from Edward
                                      Adams to himself attaching a confidential draft
                                      memorandum for the purpose of obtaining
                                      legal advice from his attorneys at Latham
                                      Watkins, and made in anticipation of litigation
                                      with the SEC and potential criminal
    00210651                          investigation, and subsequently transmitted to                           Edward Adams               Edward Adams
100 00210652 (attachment)   6/18/2014 James Farrell (Latham & Watkins).                    X           X       <edwardsadams@yahoo.com>   <edwardsadams@yahoo.com>                          Edward_S_Adams




                                                                                                                     Page 1 of 1
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 185 of 203
U.S. v. Adams                                    Excerpt of Relativity Activity Log:
                                         In Camera Ex. A (Doc. IDs 00210651 and 00210652)
Name            Action     Object Type    User Name         Timestamp                       Details
00210652        View       Document       Maria, David      5/4/2016 2:58:41 PM EDT
00210651        View       Document       Maria, David      5/4/2016 3:00:14 PM EDT
00210652        View       Document       Maria, David      5/4/2016 3:00:45 PM EDT
00210652        View       Document       Maria, David      5/4/2016 3:02:39 PM EDT
00210652        View       Document       Maria, David      5/4/2016 3:04:37 PM EDT
00210652        View       Document       Maria, David      5/4/2016 3:09:03 PM EDT
00210652        View       Document       Maria, David      5/4/2016 3:27:23 PM EDT
00210652        View       Document       Maria, David      5/4/2016 4:47:33 PM EDT
00210652        View       Document       Maria, David      6/6/2016 11:13:19 AM EDT
00210652        View       Document       Maria, David      8/30/2016 2:42:21 PM EDT
00210652        View       Document       Maria, David      9/16/2016 12:49:46 PM EDT
00210652        View       Document       Maria, David      9/23/2016 9:48:12 AM EDT




                                                           Page 1 of 1
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                 EXHIBIT 18
                                       CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 187 of 203
U.S. v. Adams                                            EXCERPT: Privilege Log of Documents Viewed by Government in Excluded Folder (Not "Seized")
                                                              E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                       Attorney    Attorney
 Row         Doc ID Beg         Date                      Description                   Client      Work                Email From                    Email To        Email CC   Email BCC      Custodian
                                                                                       Privilege   Product


                                         Confidential correspondence with attachment
                                         from Edward Adams to Thomas Brever, Esq.
                                         and Jon Hopeman, Esq., supplying a private                                                      Jon Hopeman
                                         memo, conveyed to seek legal advice from                                                        <jhopeman@felhaber.com>;
       00219514                          Foster Brever Wehrly, PLLC and Felhaber                              Edward Adams               tbrever@fosterbrever.com
 51    00219515 (attachment)   9/23/2014 Larson, Fenlon, & Vogt, P.A.                     X           X       <edwardsadams@yahoo.com>   <tbrever@fosterbrever.com>                          Edward_S_Adams




                                                                                                          Page 1 of 1
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 188 of 203
U.S. v. Adams                                      Excerpt of Relativity Activity Log:
                                           In Camera Ex. J (Doc. IDs 00219514 and 00219515)
Name            Action   Object Type   User Name            Timestamp                     Details
00219515        View     Document      Maria, David         5/5/2016 11:08:32 AM EDT
                                                                                          <auditElement><field id="1036719" type="8"
                                                                                          name="PRIVILEGE"
00219515        Update   Document      Maria, David         5/5/2016 11:09:12 AM EDT
                                                                                          formatstring=""><setChoice>1036722</setChoice
                                                                                          ></field></auditElement>
00219515        View     Document      Kroells, Christine   5/11/2016 3:48:30 PM EDT
00219515        View     Document      Kroells, Christine   5/11/2016 3:57:16 PM EDT
00219515        View     Document      Kroells, Christine   5/11/2016 3:57:22 PM EDT
00219514        View     Document      Kroells, Christine   5/11/2016 3:57:25 PM EDT
00219515        View     Document      Kroells, Christine   5/11/2016 3:57:51 PM EDT




                                                              Page 1 of 1
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                 EXHIBIT 19
                                             CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 190 of 203
U.S. v. Adams                                                        EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                           5/30/2018
                                                                          E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                  Attorney Attorney
Row         Doc ID Beg      Date                      Description                  Client    Work              Email From                      Email To                    Email CC             Email BCC         Custodian
                                                                                  Privilege Product

                                     Confidential communication from Michael
                                     Monahan to Aaron Hartman copying Edward
                                     Adams for the purpose of obtaining legal                                                                                      Edward Adams             Michael Monahan
                                     advice regarding Mack and Rapello civil                          Michael Monahan               Aaron R. Hartman               <edwardsadams@yahoo.co   <michaelrmonahan@
 18 00447095                5/8/2012 litigation.                                     X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>          m>                       yahoo.com>        Michael_Monahan
                                     Confidential communication from Michael
                                     Monahan to Aaron Hartman copying Edward
                                     Adams for the purpose of obtaining legal                                                                                      edwardsadams@yahoo.com Michael Monahan
                                     advice regarding Mack and Rapello civil                          Michael Monahan               Aaron R. Hartman               <edwardsadams@yahoo.co <michaelrmonahan@
 19 00447097                5/9/2012 litigation.                                     X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>          m>                     yahoo.com>        Michael_Monahan
                                     Confidential communication from Aaron
                                     Hartman to Michael Monahan copying Edward
                                     Adams for the purpose of obtaining legal                                                                                      edwardsadams@yahoo.com
                                     advice regarding Mack and Rapello civil                          Aaron R. Hartman              Michael Monahan                <edwardsadams@yahoo.co
 20 00447099                5/9/2012 litigation.                                     X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>    m>                                         Michael_Monahan
                                     Confidential communication from Edward
                                     Adams to Aaron Hartman and Michael                                                             Michael Monahan
                                     Monahan for the purpose of obtaining legal                                                     <michaelrmonahan@yahoo.com>;
    00048044                         advice regarding Mack and Rapello civil                          edwardsadams                  Aaron Hartman                                                             Edward_S_Adams
 21 00447125 (duplicate)   5/10/2012 litigation.                                     X        X       <edwardsadams@yahoo.com>      <AHartman@aoblaw.com>                                                     Michael_Monahan
                                     Confidential communication from Edward
                                     Adams to Aaron Hartman for the purpose of
                                     obtaining legal advice regarding Mack and                        edwardsadams                  Aaron R. Hartman
 22 00048045               5/10/2012 Rapello civil litigation.                       X        X       <edwardsadams@yahoo.com>      <AHartman@aoblaw.com>                                                     Edward_S_Adams
                                     Confidential communication from Michael
                                     Monahan to Aaron Hartman copying Edward
                                     Adams for the purpose of obtaining legal                                                                                      Edward Adams
                                     advice regarding Mack and Rapello civil                          Michael Monahan               Aaron Hartman                  <edwardsadams@yahoo.co
 23 00447124               5/10/2012 litigation.                                     X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>          m>                                         Michael_Monahan
                                     Confidential communication from Aaron
                                     Hartman to Michael Monahan copying Edward
                                     Adams for the purpose of obtaining legal                                                                                      Edward Adams
                                     advice regarding Mack and Rapello civil                          Aaron R. Hartman              Michael Monahan                <edwardsadams@yahoo.co
 24 00447126               5/10/2012 litigation.                                     X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>    m>                                         Michael_Monahan
                                     Confidential communication from Michael
                                     Monahan to Aaron Hartman and Edward                                                            edwardsadams@yahoo.com
                                     Adams for the purpose of obtaining legal                                                       <edwardsadams@yahoo.com>;
                                     advice regarding Mack and Rapello civil                          Michael Monahan               Aaron Hartman
 25 00447128               5/10/2012 litigation.                                     X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>                                                     Michael_Monahan
                                     Confidential communication from Aaron
                                     Hartman to Michael Monahan and Edward                                                          Michael Monahan
                                     Adams for the purpose of obtaining legal                                                       <michaelrmonahan@yahoo.com>;
                                     advice regarding Mack and Rapello civil                          Aaron R. Hartman              edwardsadams@yahoo.com
 26 00447130               5/10/2012 litigation.                                     X        X       <AHartman@aoblaw.com>         <edwardsadams@yahoo.com>                                                  Michael_Monahan




                                                                                                               Page 1 of 4
                                              CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 191 of 203
U.S. v. Adams                                                         EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                  5/30/2018
                                                                           E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                      Attorney Attorney
Row         Doc ID Beg       Date                       Description                    Client    Work              Email From                       Email To             Email CC       Email BCC         Custodian
                                                                                      Privilege Product

    00447133                                                                                                                            Michael Monahan
    00447134 (attachment)             Confidential communication with draft                                                             (michaelrmonahan@yahoo.com)
    00447144 (attachment)             document attachments from Aaron Hartman to                                                        <michaelrmonahan@yahoo.com>;
    00447147 (attachment)             Michael Monahan and Edward Adams for the                                                          Edward Adams
    00447150 (attachment)             purpose of obtaining legal advice regarding                         Aaron R. Hartman              (edwardsadams@yahoo.com)
 27 00447153 (attachment)   5/10/2012 Mack and Rapello civil litigation.                 X        X       <AHartman@aoblaw.com>         <edwardsadams@yahoo.com>                                      Michael_Monahan
    00447156                                                                                                                            Edward Adams
    00447157 (attachment)             Confidential communication with draft                                                             (edwardsadams@yahoo.com)
    00447160 (attachment)             document attachments from Aaron Hartman to                                                        <edwardsadams@yahoo.com>;
    00447169 (attachment)             Michael Monahan and Edward Adams for the                                                          Michael Monahan
    00447172 (attachment)             purpose of obtaining legal advice regarding                         Aaron R. Hartman              (michaelrmonahan@yahoo.com)
 28 00447175 (attachment)   5/10/2012 Mack and Rapello civil litigation.                 X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>                                   Michael_Monahan
    00447178                                                                                                                            Edward Adams
    00447179 (attachment)             Confidential communication with draft                                                             (edwardsadams@yahoo.com)
    00447189 (attachment)             document attachments from Aaron Hartman to                                                        <edwardsadams@yahoo.com>;
    00447192 (attachment)             Michael Monahan and Edward Adams for the                                                          Michael Monahan
    00447195 (attachment)             purpose of obtaining legal advice regarding                         Aaron R. Hartman              (michaelrmonahan@yahoo.com)
 29 00447198 (attachment)   5/10/2012 Mack and Rapello civil litigation.                 X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>                                   Michael_Monahan
                                      Confidential communication from Edward                                                            Aaron R. Hartman
                                      Adams to Aaron Hartman and Michael                                                                <AHartman@aoblaw.com>; Michael
                                      Monahan for the purpose of obtaining legal                                                        Monahan
                                      advice regarding Mack and Rapello civil                             Edward Adams                  (michaelrmonahan@yahoo.com)
 30 00048048                5/11/2012 litigation.                                        X        X       <edwardsadams@yahoo.com>      <michaelrmonahan@yahoo.com>                                   Edward_S_Adams
                                      Confidential communication from Michael
                                      Monahan to Aaron Hartman and Edward                                                               Aaron R. Hartman
                                      Adams for the purpose of obtaining legal                                                          <AHartman@aoblaw.com>; Edward
                                      advice regarding Mack and Rapello civil                             Michael Monahan               Adams (edwardsadams@yahoo.com)
 32 00447204                5/11/2012 litigation.                                        X        X       <michaelrmonahan@yahoo.com>   <edwardsadams@yahoo.com>                                      Michael_Monahan


                                      Confidential communication from Aaron
                                      Hartman to Michael Monahan for the purpose
                                      of obtaining legal advice regarding Mack and
                                      Rapello civil litigation, in response to (and
                                      including) prior communications between
                                      Michael Monahan, Aaron Hartman, and                                 Aaron R. Hartman              Michael Monahan
 33 00447206                5/11/2012 Edward Adams.                                      X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>                                   Michael_Monahan


                                      Confidential communication from Michael
                                      Monahan to Aaron Hartman for the purpose of
                                      obtaining legal advice regarding Mack and
                                      Rapello civil litigation, in response to (and
                                      including) prior communications between                                                                                                       Michael Monahan
    00447208                          Michael Monahan, Aaron Hartman, and                                 Michael Monahan               Aaron R. Hartman                            <michaelrmonahan@
 34 00447210 (duplicate)    5/11/2012 Edward Adams.                                      X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>                       yahoo.com>        Michael_Monahan




                                                                                                                   Page 2 of 4
                                               CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 192 of 203
U.S. v. Adams                                                            EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                  5/30/2018
                                                                              E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                         Attorney Attorney
Row         Doc ID Beg        Date                        Description                     Client    Work              Email From                        Email To            Email CC       Email BCC         Custodian
                                                                                         Privilege Product


                                      Confidential communication from Aaron
                                      Hartman to Michael Monahan for the purpose
                                      of obtaining legal advice regarding Mack and
                                      Rapello civil litigation, in response to (and
                                      including) prior communications between
                                      Michael Monahan, Aaron Hartman, and                                    Aaron R. Hartman              Michael Monahan
 35 00447212                5/11/2012 Edward Adams.                                         X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>                                   Michael_Monahan


                                      Confidential communication from Michael
                                      Monahan to Aaron Hartman for the purpose of
                                      obtaining legal advice regarding Mack and
                                      Rapello civil litigation, in response to (and
                                      including) prior communications between                                                                                                          Michael Monahan
    00447215                          Michael Monahan, Aaron Hartman, and                                    Michael Monahan               Aaron R. Hartman                            <michaelrmonahan@
 36 00447218 (duplicate)    5/11/2012 Edward Adams.                                         X        X       <michaelrmonahan@yahoo.com>   <AHartman@aoblaw.com>                       yahoo.com>        Michael_Monahan
                                      Confidential communication from Edward
                                      Adams to Aaron Hartman for the purpose of
                                      obtaining legal advice regarding Mack and                              edwardsadams                  AHartman@aoblaw.com
 37 00048049                5/11/2012 Rapello civil litigation                              X        X       <edwardsadams@yahoo.com>      <AHartman@aoblaw.com>                                         Edward_S_Adams
                                      Confidential communication from Aaron
                                      Hartman to Michael Monahan for the purpose
                                      of obtaining legal advice regarding Mack and                           Aaron R. Hartman              michaelrmonahan@yahoo.com
 38 00447294                5/11/2012 Rapello civil litigation.                             X        X       <AHartman@aoblaw.com>         <michaelrmonahan@yahoo.com>                                   Michael_Monahan
    00447318
    00447320 (attachment)
    00447329 (attachment)
    00447332 (attachment)             Confidential communication with draft
    00447335 (attachment)             document attachments from Michael Monahan
    00447338 (attachment)             to Josh Reilly, forwarding communication from
    00447341 (attachment)             Aaron Hartman to Michael Monahan, regarding                            Michael Monahan
 39 00447342 (attachment)   5/11/2012 Mack and Rapello civil litigation.                    X        X       <michaelrmonahan@yahoo.com>   Josh Reilly <reill097@umn.edu>                                Michael_Monahan
                                      Confidential communication from Edward
                                      Adams to Aaron Hartman and Michael                                                                   AHartman@aoblaw.com
                                      Monahan for the purpose of obtaining legal                                                           <AHartman@aoblaw.com>; Michael
                                      advice regarding Mack and Rapello civil                                edwardsadams                  Monahan
 40 00048270                5/17/2012 litigation.                                           X        X       <edwardsadams@yahoo.com>      <michaelrmonahan@yahoo.com>                                   Edward_S_Adams
                                      Confidential communication from Edward
                                      Adams to Aaron Hartman and Michael
                                      Monahan, made for the purpose of obtaining                                                           Aaron R. Hartman
                                      legal advice in anticipation of civil litigation                                                     <AHartman@aoblaw.com>; Michael
                                      involving certain Apollo investors (Fink                               Edward Adams                  Monahan
 41 00051841                7/19/2012 litigation).                                          X        X       <edwardsadams@yahoo.com>      <michaelrmonahan@yahoo.com>                                   Edward_S_Adams




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                                                CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 193 of 203
U.S. v. Adams                                                             EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                            5/30/2018
                                                                               E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                           Attorney Attorney
Row        Doc ID Beg         Date                        Description                       Client    Work              Email From                    Email To                        Email CC           Email BCC      Custodian
                                                                                           Privilege Product


                                      Confidential communication with attachment
                                      from Edward Adams to Aaron Hartman, made
                                      for the purpose of obtaining legal advice in
    00051875                          anticipation of civil litigation involving certain                       Edward Adams               Aaron R. Hartman
 42 00051878 (attachment)   7/20/2012 Apollo investors (Fink litigation).                     X        X       <edwardsadams@yahoo.com>   <AHartman@aoblaw.com>                                                      Edward_S_Adams
                                      Confidential communication from Edward
                                      Adams to Cory Manning (Nelson Mullins LLP)
                                      and Joe Lancia, copying Aaron Hartman and                                                                                               AHartman@aoblaw.com
                                      Michael Monahan, for the purpose of obtaining                                                       cory.manning@nelsonmullins.com      <AHartman@aoblaw.com>;
                                      legal advice in connection with civil litigation                                                    <cory.manning@nelsonmullins.com>;   Michael Monahan
                                      involving certain Apollo investors (Fink                                 edwardsadams               Joseph Lancia                       <michaelrmonahan@yahoo.c
 59 00053031                8/15/2012 litigation).                                            X        X       <edwardsadams@yahoo.com>   <jlancia@sciodiamond.com>           om>                                    Edward_S_Adams
                                      Confidential communication from Edward
                                      Adams to Joseph Lancia and Cory Manning
                                      (Nelson Mullins LLP), copying Aaron Hartman                                                                                             AHartman@aoblaw.com
                                      and Michael Monahan, for the purpose of                                                             Joseph Lancia                       <AHartman@aoblaw.com>;
                                      obtaining legal advice in connection with civil                                                     <jlancia@sciodiamond.com>;          Michael Monahan
                                      litigation involving certain Apollo investors                            edwardsadams               cory.manning@nelsonmullins.com      <michaelrmonahan@yahoo.c
 60 00053035                8/15/2012 (Fink litigation).                                      X        X       <edwardsadams@yahoo.com>   <cory.manning@nelsonmullins.com>    om>                                    Edward_S_Adams




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                                  CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 194 of 203
U.S. v. Adams                                           EXCERPT: Privilege Log of Documents Viewed by Government in Excluded Folder (Not "Seized")
                                                             E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                         Attorney    Attorney
 Row         Doc ID Beg    Date                          Description                      Client      Work                Email From                   Email To           Email CC   Email BCC      Custodian
                                                                                         Privilege   Product
                                    Confidential communication from Edward
                                    Adams to Aaron Hartman and Michael
                                    Monahan, made for the purpose of obtaining                                                             Michael Monahan
                                    legal advice in anticipation of civil litigation                                                       <michaelrmonahan@yahoo.com>;
                                    involving certain Apollo investors (Fink                                    Edward Adams               Aaron Hartman
  5    00051832           7/19/2012 litigation).                                            X           X       <edwardsadams@yahoo.com>   <AHartman@aoblaw.com>                                 Edward_S_Adams
                                    Confidential communication from Edward
                                    Adams to Aaron Hartman, made for the
                                    purpose of obtaining legal advice in
                                    anticipation of civil litigation involving certain                          edwardsadams               AHartman@aoblaw.com
  6    00051833           7/19/2012 Apollo investors (Fink litigation).                     X           X       <edwardsadams@yahoo.com>   <AHartman@aoblaw.com>                                 Edward_S_Adams




                                                                                                            Page 1 of 1
                         CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 195 of 203
U.S. v. Adams                                           Excerpt of Relativity Activity Log:
                                           In Camera Ex. U (certain communications with Mr. Hartman)
Name            Action       Object Type         User Name              Timestamp                   Details
00447095        View         Document            Maria, David           5/24/2016 10:14:23 AM EDT
00447097        View         Document            Maria, David           5/24/2016 10:14:26 AM EDT
00447095        View         Document            Maria, David           5/24/2016 10:14:29 AM EDT
00447095        View         Document            Kroells, Christine     5/25/2016 5:09:45 PM EDT
00447097        View         Document            Kroells, Christine     5/25/2016 5:11:48 PM EDT
00447099        View         Document            Kroells, Christine     5/25/2016 5:12:00 PM EDT
00048044        View         Document            Kroells, Christine     5/25/2016 5:14:05 PM EDT
00048045        View         Document            Kroells, Christine     5/25/2016 5:14:51 PM EDT
00447124        View         Document            Kroells, Christine     5/25/2016 5:15:29 PM EDT
00447125        View         Document            Kroells, Christine     5/25/2016 5:15:31 PM EDT
00447126        View         Document            Kroells, Christine     5/25/2016 5:15:33 PM EDT
00447128        View         Document            Kroells, Christine     5/25/2016 5:15:35 PM EDT
00447130        View         Document            Kroells, Christine     5/25/2016 5:15:38 PM EDT
00447156        View         Document            Kroells, Christine     5/25/2016 5:15:51 PM EDT
00447157        View         Document            Kroells, Christine     5/25/2016 5:15:54 PM EDT
00447169        View         Document            Kroells, Christine     5/25/2016 5:15:56 PM EDT
00447172        View         Document            Kroells, Christine     5/25/2016 5:15:56 PM EDT
00447175        View         Document            Kroells, Christine     5/25/2016 5:15:57 PM EDT
00447160        View         Document            Kroells, Christine     5/25/2016 5:16:05 PM EDT
00051832        View         Document            Kroells, Christine     5/31/2016 11:34:15 AM EDT
00051833        View         Document            Kroells, Christine     5/31/2016 11:34:55 AM EDT
00051841        View         Document            Kroells, Christine     5/31/2016 11:35:07 AM EDT
00051832        View         Document            Kroells, Christine     5/31/2016 12:16:17 PM EDT
00051833        View         Document            Kroells, Christine     5/31/2016 12:16:23 PM EDT
00051841        View         Document            Kroells, Christine     5/31/2016 12:16:26 PM EDT
00447099        View         Document            Kroells, Christine     6/28/2016 10:55:11 AM EDT
00447095        View         Document            Kroells, Christine     12/13/2016 4:24:17 PM EST
00447097        View         Document            Kroells, Christine     12/13/2016 4:24:32 PM EST
00447099        View         Document            Kroells, Christine     12/13/2016 4:24:40 PM EST
00447156        View         Document            Kroells, Christine     12/13/2016 4:25:25 PM EST
00447156        View         Document            Kroells, Christine     12/13/2016 4:53:40 PM EST
00447156        View         Document            Kroells, Christine     12/13/2016 4:53:58 PM EST
00048045        View         Document            Kroells, Christine     12/13/2016 4:58:20 PM EST
00447126        View         Document            Kroells, Christine     12/13/2016 4:58:56 PM EST
00447156        View         Document            Kroells, Christine     12/13/2016 4:59:14 PM EST



                                                                      Page 1 of 1
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                 EXHIBIT 20
                                           CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 197 of 203
U.S. v. Adams                                                       EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                  5/30/2018
                                                                         E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                     Attorney Attorney
Row        Doc ID Beg    Date                        Description                      Client    Work              Email From             Email To             Email CC   Email BCC      Custodian
                                                                                     Privilege Product


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
118 00253676            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
119 00253677            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
120 00253678            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
121 00253679            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
122 00253680            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams




                                                                                                                  Page 1 of 3
                                           CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 198 of 203
U.S. v. Adams                                                       EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                  5/30/2018
                                                                         E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                     Attorney Attorney
Row        Doc ID Beg    Date                        Description                      Client    Work              Email From             Email To             Email CC   Email BCC      Custodian
                                                                                     Privilege Product


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
123 00253681            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
124 00253682            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
125 00253683            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
126 00253684            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
127 00253685            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams




                                                                                                                  Page 2 of 3
                                           CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 199 of 203
U.S. v. Adams                                                       EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                  5/30/2018
                                                                         E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                     Attorney Attorney
Row        Doc ID Beg    Date                        Description                      Client    Work              Email From             Email To             Email CC   Email BCC      Custodian
                                                                                     Privilege Product


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
128 00253686            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams


                                  Confidential draft correspondence from
                                  Edward Adams to his counsel in the SEC
                                  investigation for the purpose of obtaining legal
                                  advice, made in anticipation of litigation with
                                  the SEC and criminal investigation, and
                                  subsequently transmitted to John Sikora
                                  (Latham & Watkins) and Jim Kopecky (Kopecky                            Edward Adams
129 00253687            9/10/2015 Schumacher Bleakley & Rosenburg, P.C).                X        X       <edwardsadams@yahoo.com>                                                    Edward_S_Adams




                                                                                                                  Page 3 of 3
                              CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 200 of 203
U.S. v. Adams                                             Excerpt of Relativity Activity Log:
                                                      In Camera Ex. D (draft email to Latham)

Name            Action   Object Type User Name     Timestamp                      Details

00253676        View     Document   Maria, David   9/6/2016 1:30:31 PM EDT

00253677        View     Document   Maria, David   9/6/2016 1:30:46 PM EDT
00253678        View     Document   Maria, David   9/6/2016 1:30:48 PM EDT
00253679        View     Document   Maria, David   9/6/2016 1:30:59 PM EDT
00253680        View     Document   Maria, David   9/6/2016 1:31:02 PM EDT
00253681        View     Document   Maria, David   9/6/2016 1:31:04 PM EDT
00253682        View     Document   Maria, David   9/6/2016 1:31:08 PM EDT
00253683        View     Document   Maria, David   9/6/2016 1:31:10 PM EDT
00253684        View     Document   Maria, David   9/6/2016 1:31:12 PM EDT
00253685        View     Document   Maria, David   9/6/2016 1:31:18 PM EDT
00253686        View     Document   Maria, David   9/6/2016 1:31:19 PM EDT
00253687        View     Document   Maria, David   9/6/2016 1:31:20 PM EDT




                                                                    Page 1 of 1
CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 201 of 203




                 EXHIBIT 22
                                              CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 202 of 203
U.S. v. Adams                                                          EXCERPT: Revised Privilege Log of Documents Viewed by Government in "For Review" Folder                                                 5/30/2018
                                                                            E. Adams Personal Attorney Client Privilege or Attorney Work Product Protection


                                                                                         Attorney Attorney
Row        Doc ID Beg         Date                       Description                      Client    Work                Email From                  Email To                Email CC        Email BCC      Custodian
                                                                                         Privilege Product


                                       Confidential correspondence with "ESA Tax
                                       Summary for P. Murry" Excel spreadsheet
                                       attachment from Edward Adams to Patrick
                                       Murry, copying Ashley Miller, supplying private
                                       information in an "ESA Tax Summary for
    00224269                           P.Murry" Excel spreadsheet, conveyed to seek                          Edward Adams               Patrick M. Murry           amiller
101 00224270 (attachment)   10/28/2014 legal advice from Foster Brever Wehrly, PLLC.        X                <edwardsadams@yahoo.com>   <pmurry@murryllc.com>      <amiller@murryllc.com>               Edward_S_Adams
                                       Confidential correspondence from Edward
                                       Adams to Ashley Miller, supplying information
                                       conveyed to seek legal advice from Foster                             edwardsadams               Ashley Miller
102 00224366                10/29/2014 Brever Wehrly, PLLC.                                 X        X       <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                          Edward_S_Adams
                                       Confidential correspondence from Edward
                                       Adams to Ashley Miller, supplying information
                                       conveyed to seek legal advice from Foster                             edwardsadams               Ashley Miller
103 00224368                10/29/2014 Brever Wehrly, PLLC.                                 X        X       <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                          Edward_S_Adams
                                       Confidential correspondence from Ashley
                                       Miller, to Edward Adams posing questions to
                                       obtain information to facilitate legal advice                         Ashley Miller              Edward Adams
104 00224409                10/29/2014 from Foster Brever Wehrly, PLLC.                     X        X       <amiller@murryllc.com>     <edwardsadams@yahoo.com>                                        Edward_S_Adams

                                       Confidential correspondence from Edward                                                          Patrick M. Murry
                                       Adams to Patrick Murry and Ashley Miller,                                                        <pmurry@murryllc.com>;
                                       supplying information conveyed to seek legal                          Edward Adams               amiller@murryllc.com
105 00224497                 11/4/2014 advice from Foster Brever Wehrly, PLLC.              X                <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                          Edward_S_Adams

                                       Confidential correspondence from Edward
                                       Adams to Patrick Murry and Ashley Miller,
                                       supplying information conveyed to seek legal                          Edward Adams               amiller@murryllc.com
106 00224725                 11/8/2014 advice from Foster Brever Wehrly, PLLC.              X                <edwardsadams@yahoo.com>   <amiller@murryllc.com>                                          Edward_S_Adams
                                       Confidential correspondence from Edward
                                       Adams to Patrick Murry, supplying information
                                       conveyed to seek legal advice from Foster                             Edward Adams               Patrick M. Murry
107 00224879                11/10/2014 Brever Wehrly, PLLC.                                 X                <edwardsadams@yahoo.com>   <pmurry@murryllc.com>                                           Edward_S_Adams




                                                                                                                     Page 1 of 1
                             CASE 0:17-cr-00064-DWF-KMM Doc. 149 Filed 06/01/18 Page 203 of 203
U.S. v. Adams                                            Excerpt of Relativity Activity Log:
                                   Privileged Murry LLC Documents Viewed or Converted After December 6, 2016
Name            Action           Object Type      User Name                Timestamp                   Details
00224366        View             Document         Maria, David             1/23/2017 10:22:29 AM EST
                Conversion                                                                             <auditElement><runAuditId>2037299</runAu
00224366                         Document         Maria, David             1/23/2017 10:22:32 AM EST
                Complete                                                                               ditId></auditElement>
                Conversion                                                                             <auditElement><runAuditId>2037300</runAu
00224368                         Document         Maria, David             1/23/2017 10:22:33 AM EST
                Complete                                                                               ditId></auditElement>
                Conversion                                                                             <auditElement><runAuditId>2037300</runAu
00224409                         Document         Maria, David             1/23/2017 10:22:33 AM EST
                Complete                                                                               ditId></auditElement>
                Conversion                                                                             <auditElement><runAuditId>2037300</runAu
00224497                         Document         Maria, David             1/23/2017 10:22:34 AM EST
                Complete                                                                               ditId></auditElement>
00224270        View             Document         Kroells, Christine       4/27/2017 2:22:58 PM EDT




                                                                       Page 1 of 1
